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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 GLORIA EATON, individually and )           FILE NO.: ________________
 on behalf of all others similarly )        NOTICE OF REMOVAL OF
 situated,                         )        CIVIL ACTION UNDER 28
                                   )        U.S.C. § 1441(a)
            Plaintiff,             )
                                   )        (DIVERSITY JURISDICTION
  v.                               )        AND FEDERAL QUESTION
                                   )        JURISDICTION)
 THE LITIGATION PRACTICE           )
 GROUP, P.C.,                      )        (Removed from the State Court of
                                   )        the State of Georgia, County of
            Defendant.             )        DeKalb, Case No. 22A00366)
                                   )
                                   )        JURY TRIAL DEMANDED


                           NOTICE OF REMOVAL


      PLEASE TAKE NOTICE that Defendant The Litigation Practice Group,

P.C. (hereinafter “LPG”) hereby removes the above-captioned action to this Court

from the State Court of the State of Georgia, County of DeKalb (Case No.

22A00366) (hereinafter “State Action”). As set forth herein, LPG has complied with

the statutory requirements for removal under 28 U.S.C. §§ 1441 and 1446, and this

Court has both federal question jurisdiction and diversity jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1332(a)(1), respectively.




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                     I. PROCEDURAL REQUIREMENTS

1. The State Action was commenced by Plaintiff filing a lawsuit in Georgia State

     Court, DeKalb County, on January 28, 2022. A copy of Plaintiff’s Complaint is

     attached at Exhibit A. A copy of all other process, pleadings, and items in

     possession of Defendant from the State Action is attached at Exhibit B, as

     required by 28 U.S.C. § 1446(a).

2.   This Notice is timely, as it is filed within one year of the State Action’s

     commencement on January 28, 2022, and within 30 days of receipt of the

     Plaintiff’s Complaint, which was on February 3, 2022.         See 28 U.S.C. §

     1446(b)(1).

3. The State Action is properly removed to the United States District Court for the

     Northern District of Georgia, Atlanta Division, as that is the “district and

     division embracing the place where [the State Action] is pending.” See 28

     U.S.C. § 1441(a); see also 28 U.S.C. § 90(a)(2) (listing DeKalb County as within

     the Atlanta Division of the Northern District of Georgia).

4. LPG will promptly file a copy of this Notice of Removal with the clerk of the

     Georgia State Court, DeKalb County, and will serve a copy on the other parties

     to the State Action, as required by 28 U.S.C. § 1446(d).




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                               II. BACKGROUND

5. The Plaintiff, Gloria Eaton, proposes a class action for alleged violations of the

    Georgia Debt Adjustment Act (“GDAA”), O.C.G.A. § 18-5-1 et seq and The

    Credit Repair Organizations Act (“CROA”), 15 U.S.C. § 1679.                 [See

    Complaint.]

6. The Plaintiff proposes that the class action as to the GDAA claim is on behalf

    of all Georgia residents who have done business with LPG from July 1, 2003

    to the present. [Complaint, ¶ 1.]

7. The Plaintiff proposes that the class action as to the CROA claim is on behalf

    of all Georgia residents who have done business with LGP within the five years

    preceding the filing of this Complaint. [Complaint, ¶ 1.]

8. The Plaintiff alleges that LPG is a credit repair organization as that term is

    defined under 15 U.S.C. § 1679a(1). [Complaint, ¶ 12.]

9. The Plaintiff contends that LPG received payments from Plaintiff for the

    purpose of improving her credit record, credit history, or credit rating.

    [Complaint, ¶ 13.]

10. Plaintiff contends that LPG violated CROA by paying itself moneys it received

    from Plaintiff for services not yet rendered, and, therefore, Plaintiff and the




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   class members are entitled to recover damages pursuant to 15 U.S.C. §

   1679g(a)(1). [Complaint, ¶¶ 16, 20.]

11. The Plaintiff contends that LPG services debtors in the management of their

   debts and contracts with debtors for a fee to affect the adjustment, compromise,

   or discharge of any account, note or other indebtedness of the debtor.

   Accordingly, the Plaintiff contends that LPG is a debt adjuster as that term is

   defined under O.C.G.A. § 18-5-1 asserting [Complaint, ¶¶ 22-23.]

12. The Plaintiff alleges that LPG accepted from the Plaintiff a charge, fee, or

   contribution that was 100% retained by LPG as a fee. Plaintiff contends that

   the retention of all payments by Plaintiff and the class violated the GDAA

   because the sums were in an amount in excess of the statutorily allowed 7.5%

   permitted by the GDAA to be retained from funds paid by Plaintiff.

   [Complaint, ¶ 33.]

13. Plaintiff contends that due to LPG’s violations of the GDAA, LPG is liable to

   the Plaintiff and the class members pursuant to O.C.G.A. § 18-5-4(b)(2) in an

   amount equal to the total of all fees, charges, and/or contributions paid by

   Plaintiff and the class members to LPG. [Complaint, ¶ 34.]




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                        III. GROUNDS FOR REMOVAL

   A. Federal Question Jurisdiction Under 28 U.S.C. § 1441(a)

14. “The district courts shall have original jurisdiction of all civil actions arising

     under the Constitution, laws, or treaties of the United States.” [See 28 U.S.C.

     § 1331.]

15. “Under 28 U.S.C. § 1331, a federal court may exercise jurisdiction over a case

     if it presents a question of federal law. Federal-question jurisdiction may be

     based on a civil action alleging a violation of the Constitution, or asserting a

     federal cause of action established by a congressionally created expressed or

     implied private remedy for violations of a federal statute.” Citimortgage, Inc.

     v. Dhinoja, 705 F.Supp.2d 1378, 1381 (N.D. Ga. 2010) (internal citations and

     quotation marks omitted).

16. “The presence or absence of federal-question jurisdiction is governed by the

     ‘well-pleaded complaint rule,’ which provides that federal jurisdiction exists

     only when a federal question is presented on the face of the plaintiff’s properly

     pleaded complaint. The rule makes the plaintiff the master of the claim; he or

     she may avoid federal jurisdiction by exclusive reliance on state law.”

     Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987).




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17. The Plaintiff asserts that LPG violated CROA, and requests relief pursuant to

    15 U.S.C. § 1679g(a)(1). [See Complaint, ¶¶ 16, 20.] Accordingly, the

    Plaintiff’s Complaint presents a federal question on its face, giving this Court

    jurisdiction over this action pursuant to 28 U.S.C. § 1331.

   B. There Is Complete Diversity Between the Parties

18. This Court has original jurisdiction over this action pursuant to 28 U.S.C. §

    1332 because there is complete diversity between the parties and the amount

    in controversy exceeds $75,000.00, exclusive of interest and costs.

19. The Plaintiff presumably is now, and was at the commencement of this action,

    a citizen of the State of Georgia. [Complaint, ¶ 2.]

20. Defendant LPG is now, and was when the State Action was filed, a citizen of

    the State of California. [Complaint, ¶¶ 3-4.]

21. Defendant LPG is a P.C. incorporated in the State of California with its

    principle place of business in California.

22. There are no other parties to the lawsuit.

   C. The Amount In Controversy Exceeds $75,000.00

23. The Plaintiff claims that as a result of LPG’s alleged violation of the GDAA,

    she and the members of the proposed class are entitled to recover actual

    damages and punitive damages pursuant to 15 U.S.C. § 1679g(a)(1) and 15


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    U.S.C. § 1679g(a)(2)(A) respectively, as well as attorney’s fees and costs

    pursuant to 15 U.S.C. 1679g(a)(3). [Complaint, ¶ 20.]

24. The Plaintiff claims that as a result of LPG’s alleged violation of CROA, she

    and the members of the proposed class are entitled to recover in an amount

    “equal to the total of all fees, charges, and/or contributions paid by Plaintiff and

    the Class Members to the Defendant, plus statutory damages in the amount of

    $5,000.00 per Class Member.” [Complaint, ¶ 34.]

25. The serious allegations made by the Plaintiff in the Complaint, as well as

    Plaintiff’s class action proposals, makes clear that this exceeds the $75,000.00

    amount in controversy requirement.

                       IV. RESERVATION OF RIGHTS

26. LPG denies the allegations contained in Plaintiff’s Complaint, and files this

    Notice of Removal without waiving any defenses, objections, exceptions, or

    obligations that may exist in LPG’s favor.

      Respectfully submitted this 4th day of March, 2022.

                                       HUFF, POWELL & BAILEY

                                       /s/ Devon G. Zawko
                                       ______________________________
                                       DANIEL J. HUFF
                                       Ga. Bar No. 374860




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                                      DAVID D. MACKENZIE
                                      Ga. Bar No. 796972
                                      DEVON G. ZAWKO
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                        CERTIFICATE OF SERVICE

      This is to certify that I have this day presented the within and foregoing

NOTICE OF REMOVAL in Times New Roman 14-point font to the Clerk of Court

by filing and uploading to the CM/ECF system and by depositing same in the United

States Mail with sufficient postage thereon to assure delivery to the following

attorneys of record:

          James W. Hurt, Jr.                          James M. Feagle
           HURT STOLZ, P.C.                           Chelsea R. Feagle
       1551 Jennings Mill Road                     SKAAR & FEAGLE, LLP
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      Watkinsville, Georgia 30677                  Tucker, Georgia 30084
         jhurt@hurtstolz.com                    jfeagle@skaarandfeagle.com


      This 4th day of March, 2022.

                                       HUFF, POWELL & BAILEY

                                       /s/ Devon G. Zawko
                                       ______________________________
                                       DANIEL J. HUFF
                                       Ga. Bar No. 374860
                                       DAVID D. MACKENZIE
                                       Ga. Bar No. 796972
                                       DEVON G. ZAWKO
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                                   EXHIBIT A

                         STATE COURT COMPLAINT




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                                   EXHIBIT B

 OTHER STATE COURT DOCUMENTS IN POSSESSION OF DEFENDANT




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                     Exhibit Exhibits 13 - 27 Page 31 of 350



                     IN THE STATE COURT OF DEKALB COUNTY
                               STATE OF GEORGIA

GLORIA EATON, individually and on
                               )
Behalf of all others similarly situated,
                               )
                               )
     Plaintiff,                )
                               )                    CIVIL ACTION NUMBER: 22A00366
v.                             )
                               )
THE LITIGATION PRACTICE GROUP, )
PC.                            )
                               )
     Defendant.                )
                               )

                                           SUMMONS

TO THE ABOVE NAMED DEFENDANT:

       You are hereby summoned and required to file with the Clerk of said Court and

serve upon the Plaintiff’s attorney, whose name and address is:


                     JAMES W. HURT, JR.
                     HURT STOLZ, P.C.
                     1551 JENNINGS MILL ROAD, UNIT 3100B
                     WATKINSVILLE, GEORGIA 30677

an answer to the Complaint which is herewith served upon you, within thirty (30) days

after service of this summons upon you, exclusive of the day of service. If you fail to do so,

judgment by default will be taken against you for the relief demanded in the complaint.
                                       1/28/2022
     This ____________ day of ___________________________, 2022.



                                             Clerk of State Court
                                                   /s/ Monica Gay
                                             By:
                                             Deputy Clerk




                                           Exhibit "13"
       Case 1:22-cv-00917-JPB
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                                                                                 STATE COURT OF
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                                        COMPLAINT

  I.     JURISDICTION AND VENUE

                6XEMHFW PDWWHU MXULVGLFWLRQ LV FRQIHUUHG XSRQ WKLV &RXUW E\  86& 

   D DQG  E DQG  86&    D  DQG 

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   II.   PARTIES

                3ODLQWLII '(%5$ 35,&( LV DQ DGXOW LQGLYLGXDO UHVLGLQJ DW WKH DERYH

  FDSWLRQHG DGGUHVV

                'HIHQGDQW /,7,*$7,21 35$&7,&( *5283 3&                     ³/3*´  LV

  &DOLIRUQLD ODZ ILUP ZLWK SULQFLSDO RIILFHV DW WKH DERYH FDSWLRQHG DGGUHVV LQ &DOLIRUQLD

  DQG LV D SURIHVVLRQDO FRUSRUDWLRQ FRQGXFWLQJ EXVLQHVV LQ WKH &RPPRQZHDOWK RI

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  GRLQJ EXVLQHVV DV D GHEW VHWWOHPHQW DQG FUHGLW UHSDLU RUJDQL]DWLRQ DW WKH DERYH FDSWLRQHG

  DGGUHVV DW DOO WLPHV PDWHULDO DOVR GRLQJ EXVLQHVV DV DQ DWWRUQH\ DGPLWWHG WR SUDFWLFH RI

  ODZ LQ WKH 6WDWH RI &DOLIRUQLD DQG QRW VR DGPLWWHG LQ WKH &RPPRQZHDOWK RI 3HQQV\OYDQLD

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  DGGUHVV DW DOO WLPHV PDWHULDO DOVR GRLQJ EXVLQHVV DV DQ DWWRUQH\ DGPLWWHG WR SUDFWLFH RI

  ODZ LQ WKH 6WDWH RI &DOLIRUQLD DQG QRW VR DGPLWWHG LQ WKH &RPPRQZHDOWK RI 3HQQV\OYDQLD

                'HIHQGDQW 5$1'$// &/$5. (64 GED /3* LV DQ DGXOW LQGLYLGXDO

  GRLQJ EXVLQHVV DV D GHEW VHWWOHPHQW DQG FUHGLW UHSDLU RUJDQL]DWLRQ DW WKH DERYH FDSWLRQHG




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  DGGUHVV DW DOO WLPHV PDWHULDO DOVR GRLQJ EXVLQHVV DV DQ DWWRUQH\ DGPLWWHG WR SUDFWLFH RI

  ODZ LQ WKH 6WDWH RI &DOLIRUQLD DQG QRW VR DGPLWWHG LQ WKH &RPPRQZHDOWK RI 3HQQV\OYDQLD

                'HIHQGDQW 0,&+$(/ 52%,1621 (64 GED /3* LV DQ DGXOW

  LQGLYLGXDO GRLQJ EXVLQHVV DV D GHEW VHWWOHPHQW DQG FUHGLW UHSDLU RUJDQL]DWLRQ DW WKH DERYH

  FDSWLRQHG DGGUHVV DW DOO WLPHV PDWHULDO DOVR GRLQJ EXVLQHVV DV DQ DWWRUQH\ DGPLWWHG WR

  SUDFWLFH RI ODZ LQ WKH 6WDWH RI &DOLIRUQLD DQG QRW VR DGPLWWHG LQ WKH &RPPRQZHDOWK RI

  3HQQV\OYDQLD

                'HIHQGDQW -$<'( 75,1+ (64 GED /3* LV DQ DGXOW LQGLYLGXDO GRLQJ

  EXVLQHVV DV D GHEW VHWWOHPHQW DQG FUHGLW UHSDLU RUJDQL]DWLRQ DW WKH DERYH FDSWLRQHG

  DGGUHVV DW DOO WLPHV PDWHULDO DOVR GRLQJ EXVLQHVV DV DQ DWWRUQH\ DGPLWWHG WR SUDFWLFH RI

  ODZ LQ WKH 6WDWH RI &DOLIRUQLD DQG QRW VR DGPLWWHG LQ WKH &RPPRQZHDOWK RI 3HQQV\OYDQLD

               'HIHQGDQW +2:$5' *870$1 (64 GED /3* LV DQ DGXOW LQGLYLGXDO

  GRLQJ EXVLQHVV DV D GHEW VHWWOHPHQW DQG FUHGLW UHSDLU RUJDQL]DWLRQ DW WKH DERYH FDSWLRQHG

  DGGUHVV DW DOO WLPHV PDWHULDO DOVR GRLQJ EXVLQHVV DV DQ DWWRUQH\ DGPLWWHG WR SUDFWLFH RI

  ODZ LQ WKH 6WDWH RI &DOLIRUQLD DQG QRW VR DGPLWWHG LQ WKH &RPPRQZHDOWK RI 3HQQV\OYDQLD

               7KH LQGLYLGXDO DWWRUQH\ 'HIHQGDQWV DUH VRPHWLPHV FROOHFWLYHO\ UHIHUUHG WR

  KHUHLQ DV ³WKH $WWRUQH\ 'HIHQGDQWV´

               8SRQ LQIRUPDWLRQ DQG EHOLHI /3* LV QRWKLQJ PRUH WKDQ DQ DOWHU HJR RI WKH

  $WWRUQH\ 'HIHQGDQWV RYHU ZKLFK WKH\ H[HUFLVH FRPSOHWH GRPLQLRQ DQG FRQWURO DV D

  YHKLFOH IRU WKH $WWRUQH\ 'HIHQGDQWV DQG WKHLU DFFRPSOLFHV WR GHFHLYH XQVXVSHFWLQJ DQG

  GHVSHUDWH FRQVXPHUV LQWR SD\LQJ WKHP ODUJH VXPV RI PRQH\ XQGHU WKH SUHWH[W RI ³GHEW

  VHWWOHPHQW´ 7KH VFKHPH LQYROYHG SURPLVLQJ GHEW UHOLHI WR YXOQHUDEOH FRQVXPHUV ZKLFK LV

  QRWKLQJ PRUH WKDQ DQ LOOXVRU\ VFKHPH WR FROOHFW IXQGV IURP WKHVH FRQVXPHUV WKDW WKH\




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  FRXOG EHWWHU XVH WKHPVHOYHV WR QHJRWLDWH GHEW VHWWOHPHQWV RU SXUVXH DOWHUQDWH WUDGLWLRQDO

  IRUPV RI GHEW UHPHGLDWLRQ DV GLVFXVVHG EHORZ

                $W DOO WLPHV UHOHYDQW KHUHWR GHIHQGDQWV DFWHG E\ DQG WKURXJK WKHLU DJHQWV

  VHUYDQWV DQG HPSOR\HHV ZKR DFWHG ZLWKLQ WKH VFRSH RI WKHLU DXWKRULW\ DQG ZLWKLQ WKH

  FRXUVH RI WKHLU HPSOR\PHQW

   III.      FACTUAL BACKGROUND

          A. Background - Nature of Debt Settlement Operations Generally

                'HEW VHWWOHPHQW LV D IRUP RI FRQVXPHU GHEW UHOLHI WDUJHWHG WR FRQVXPHUV

  ZLWK WKRXVDQGV RI GROODUV RI XQVHFXUHG GHEW

                8QOLNH GHEW UHPHGLDWLRQ RSWLRQV VXFK DV WUDGLWLRQDO FUHGLW FRXQVHOLQJ GHEW

  PDQDJHPHQW SODQV GHEW FRQVROLGDWLRQ ORDQV DQG SRVVLEO\ EDQNUXSWF\ GHEW VHWWOHPHQW LV

  DQ DJJUHVVLYH IRUP RI GHEW UHOLHI LQ ZKLFK FRQVXPHUV VWRS SD\LQJ DOO RI WKHLU XQVHFXUHG

  GHEWV DQG EHJLQ VDYLQJ WKH PRQH\ WKH\ ZRXOG QRUPDOO\ XVH WR SD\ WKRVH GHEWV

                $IWHU VHYHUDO PRQWKV ZKHQ WKH DFFRXQWV DUH LQ GHIDXOW WKH GHEW VHWWOHPHQW

  FRPSDQ\ ZLOO FRQWDFW WKH FUHGLWRU DQG QHJRWLDWH D OXPSVXP SD\RII RI WKH GHEW LGHDOO\ DW

  D KLJKO\ UHGXFHG SHUFHQWDJH

                7KH FRQVXPHU WKHQ XVHV WKH PRQH\ WKDW KHVKH KDV EHHQ VDYLQJ WR SD\ WKH

  OXPSVXP DQG FDQ WKHQ KDYH WKH EHQHILW RI D VLJQLILFDQW SRUWLRQ RI WKHLU RULJLQDO GHEW

  EHLQJ IRUJLYHQ $V ZLOO EH GHVFULEHG ODWHU KHUHLQ GHIHQGDQWV GLG QRW DOORZ SODLQWLII WR XVH

  VDYHG IXQGV IRU QHJRWLDWHG SD\RIIV EXW LQFUHGLEO\ GHPDQGHG DGGLWLRQDO IXQGV WRZDUGV

  VXFK SD\PHQWV

                %HFDXVH GHEW VHWWOHPHQW RQO\ ZRUNV LI FRQVXPHUV DUH QRW PDNLQJ PRQWKO\

  SD\PHQWV RQ WKHLU XQVHFXUHG GHEWV VLQFH FUHGLWRUV ZLOO QRW ZDQW WR VHWWOH D GHEW LI WKH\




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  DUH UHFHLYLQJ PRQWKO\ SD\PHQWV  WKHUH DUH LQKHUHQW ULVNV LQYROYHG ZLWK SDUWLFLSDWLQJ LQ D

  GHEW VHWWOHPHQW SURJUDP WKDW FDQ KDYH FDWDVWURSKLF HIIHFWV RQ WKH FRQVXPHU 6SHFLILFDOO\

  FRQVXPHUV HQWHULQJ D GHEW VHWWOHPHQW SURJUDP PD\ H[SHULHQFH DQ\ RU DOO RI WKH

  IROORZLQJ

               D %HFDXVH WKH FUHGLWRU LV QR ORQJHU UHFHLYLQJ PRQWKO\ SD\PHQWV FUHGLWRUV

                  ZLOO OLNHO\ HQJDJH LQ FROOHFWLRQ DFWLYLWLHV LQFOXGLQJ ILOLQJ D ODZVXLW DJDLQVW

                  WKH FRQVXPHU IRU EUHDNLQJ WKHLU FRQWUDFW

               E 7KH FRQVXPHU ZLOO RZH VLJQLILFDQWO\ PRUH RQ WKHLU DFFRXQW LI D VHWWOHPHQW

                  LV UHDFKHG DQG FRQFRPLWDQWO\ UHGXFH WKH DFWXDO VDYLQJV IURP WKH GHEW

                  VHWWOHPHQW SURJUDP EHFDXVH FUHGLWRUV ZLOO FRQWLQXH WR DVVHVV LQWHUHVW ODWH

                  IHHV RYHUOLPLW FKDUJHV DQG DQ\ RWKHU IHHV DVVRFLDWHG ZLWK WKH DFFRXQW

               F 7KH FRQVXPHU¶V FUHGLW UHSRUWV ZLOO UHIOHFW WKH ODWH FKDUJHV DQG QRQ

                  SD\PHQW RI WKHLU XQVHFXUHG GHEW FDXVLQJ WKH FRQVXPHU¶V FUHGLW VFRUH WR

                  GURS ZKLOH SDUWLFLSDWLQJ LQ WKH SURJUDP DQG WKH FRQVXPHU PD\ H[SHULHQFH

                  WKH ORQJ WHUP HIIHFWV RI D ORZ FUHGLW VFRUH ZKLFK FDQ LQFOXGH GLIILFXOW\ LQ

                  EX\LQJ D KRXVH RU FDU REWDLQLQJ LQVXUDQFH RU REWDLQLQJ HPSOR\PHQW

               G &UHGLWRUV DUH XQGHU QR REOLJDWLRQ WR DFFHSW RU HYHQ HQWHUWDLQ D VHWWOHPHQW

                  RIIHU

               'HEW VHWWOHPHQW LV ODUJHO\ D ³IRUSURILW´ LQGXVWU\ LQYROYLQJ FRPSDQLHV

  FKDUJLQJ FRQVXPHUV ODUJH IHHV W\SLFDOO\ FDOFXODWHG DV D SHUFHQWDJH RI WKH WRWDO GHEW WKH

  FRQVXPHU EULQJV LQWR WKH SURJUDP DQG RIWHQ FROOHFWHG LQ WKH ILUVW VHYHUDO PRQWKV RI WKH

  SURJUDP

      B. Nature of Debt Validation /Credit Repair Services




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                6LQFH DW OHDVW )HEUXDU\  DQG FRQWLQXLQJ WKHUHDIWHU GHIHQGDQWV

  GLUHFWO\ RU WKURXJK WKHLU UHSUHVHQWDWLYHV KDYH SURPRWHG RIIHUHG IRU VDOH DQG VROG FUHGLW

  UHSDLU VHUYLFHV WR FRQVXPHUV YLD 'HIHQGDQW /3*¶V ,QWHUQHW ZHEVLWH ZKLFK LW PDLQWDLQV WR

  DWWUDFW FRQVXPHUV WR SXUFKDVH GHIHQGDQWV¶ GHEW UHOLHI DQG FUHGLW UHSDLU VHUYLFHV

                7KURXJK YHUEDO VWDWHPHQWV E\ WKHLU UHSUHVHQWDWLYHV DQG WKURXJK ZULWWHQ

  VWDWHPHQWV RQ WKHLU ZHEVLWH GHIHQGDQWV KDYH RIIHUHG ³FUHGLW UHSDLU´ VHUYLFHV SXUSRUWLQJ WR

  UHPRYH RU DWWHPSW WR UHPRYH GHURJDWRU\ LQIRUPDWLRQ IURP RU LPSURYH FRQVXPHUV¶ FUHGLW

  KLVWRULHV FUHGLW UHFRUGV RU FUHGLW UDWLQJV

                %HIRUH SURYLGLQJ DQ\ RI WKH SURPLVHG VHUYLFHV GHIHQGDQWV¶ UHSUHVHQWDWLYHV

  UHTXHVW DQG REWDLQ DW OHDVW SDUWLDO SD\PHQW IRU WKHVH VHUYLFHV

                'HIHQGDQWV UHTXLUH FRQVXPHUV WR VLJQ ZULWWHQ FRQWUDFWV IRU GHIHQGDQWV¶

  VHUYLFHV

      C. The Credit Repair Organizations Act

                7KH &UHGLW 5HSDLU 2UJDQL]DWLRQV $FW WRRN HIIHFW RQ $SULO   DQG KDV

  VLQFH WKDW GDWH UHPDLQHG LQ IXOO IRUFH DQG HIIHFW

                'HIHQGDQWV DUH FUHGLW UHSDLU RUJDQL]DWLRQV DV WKDW WHUP LV GHILQHG LQ WKH

  &UHGLW 5HSDLU 2UJDQL]DWLRQV $FW  86&  D  

                7KH SXUSRVHV RI WKH &UHGLW 5HSDLU 2UJDQL]DWLRQV $FW DFFRUGLQJ WR

  &RQJUHVV DUH

                D WR HQVXUH WKDW SURVSHFWLYH EX\HUV RI WKH VHUYLFHV RI FUHGLW UHSDLU

                   RUJDQL]DWLRQV DUH SURYLGHG ZLWK WKH LQIRUPDWLRQ QHFHVVDU\ WR PDNH DQ

                   LQIRUPHG GHFLVLRQ UHJDUGLQJ WKH SXUFKDVH RI VXFK VHUYLFHV DQG

                E WR SURWHFW WKH SXEOLF IURP XQIDLU RU GHFHSWLYH DGYHUWLVLQJ DQG EXVLQHVV




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                 SUDFWLFHV E\ FUHGLW UHSDLU RUJDQL]DWLRQV

              7KH &UHGLW 5HSDLU 2UJDQL]DWLRQV $FW SURKLELWV FUHGLW UHSDLU RUJDQL]DWLRQV

  IURP FKDUJLQJ RU UHFHLYLQJ DQ\ PRQH\ RU RWKHU YDOXDEOH FRQVLGHUDWLRQ IRU WKH

  SHUIRUPDQFH RI DQ\ VHUYLFH ZKLFK WKH FUHGLW UHSDLU RUJDQL]DWLRQ KDV DJUHHG WR SHUIRUP

  EHIRUH VXFK VHUYLFH LV IXOO\ SHUIRUPHG  86&  E E 

              3XUVXDQW WR 6HFWLRQ  E  RI WKH &UHGLW 5HSDLU 2UJDQL]DWLRQV $FW

   86&  K E O  DQ\ YLRODWLRQ RI DQ\ UHTXLUHPHQW RU SURKLELWLRQ RI WKH &UHGLW

  5HSDLU 2UJDQL]DWLRQV $FW FRQVWLWXWHV DQ XQIDLU DQG GHFHSWLYH DFW RU SUDFWLFH LQ FRPPHUFH

  LQ YLRODWLRQ RI   D RI WKH )7& $FW  86&   D 

   IV.   FACTUAL ALLEGATIONS

              2Q RU DERXW )HEUXDU\   SODLQWLII HQWHUHG LQWR D VWDQGDUGL]HG

  DGKHVLRQ FRQWUDFW RI H[FXOSDWLRQ ZLWK /3* LQ DQ LOOXVRU\ VHYHUDO SDJH ³/HJDO 6HUYLFHV

  $JUHHPHQW´ FRQWUDFW ZKHUHE\ VKH DJUHHG WR SD\  PRQWKO\ WR GHIHQGDQW ³WR

  LQYDOLGDWH \RXU GHEWV DQG UHPRYH VXFK LQYDOLG GHEWV IURP \RXU FUHGLW UHSRUWV´ DQG LI LW

  FDQQRW GR VR ³PD\ HOHFW WR KDYH /3* QHJRWLDWH D VHWWOHPHQW RQ \RXU EHKDOI

  ZLWK WKH FRQFHUQHG FUHGLWRU´ VHH Exhibit A 

              7KH ILYH FUHGLW FDUG DFFRXQWV SODLQWLII ZLVKHG WR KDYH QHJRWLDWHG WRWDOHG

  RYHU 

              7R SD\ WKH PRQWKO\ IHH 3ODLQWLII SURYLGHG 'HIHQGDQWV ZLWK D FDQFHOOHG

  FKHFN WR KHU SHUVRQDO FKHFNLQJ DFFRXQW IRU ZKLFK VKH ZDV VROH GHSRVLWRU

              7KH DFFRXQWV SODLQWLII ZLVKHG WR KDYH QHJRWLDWHG DQG WKDW /3* SURPLVHG

  WR UHPRYH IURP FUHGLW UHSRUWLQJ E\ LWV FRQWUDFW ZHUH DFFXUDWH EXW /3* QHYHUWKHOHVV

  UHFRPPHQGHG WKDW WKH\ EH GLVSXWHG DV LQDFFXUDWH



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              'HIHQGDQWV GLG QRW LQIRUP SODLQWLII DQG GRHV QRW LQIRUP LWV FXVWRPHUV

  JHQHUDOO\ WKDW DFFXUDWH QHJDWLYH FUHGLW LWHPV FDQQRW EH OHJDOO\ FKDOOHQJHG DV LQDFFXUDWH

              7R PDNH PDWWHUV HYHQ PRUH FRQIXVLQJ /3* SUHVHQWHG 3ODLQWLII ZLWK

  DQRWKHU ZULWWHQ FRQWUDFW WKLV WLPH ZLWK DQ DIILOLDWHG HQWLW\ DQG DJHQW +HOS )LQDQFH

  *URXS //& ³+)*´  ZKLFK DOVR SURPLVHG WR QHJRWLDWH GHEWV RQ SODLQWLII¶V EHKDOI EXW LQ

  H[FXOSDWRU\ ILQH SULQW LQ WKH FRQWUDFW HVVHQWLDOO\ GLVFODLPHG DQ\ REOLJDWLRQ WR SHUIRUP

  DQ\ GHEW VHWWOHPHQW RU OHJDO VHUYLFHV IRU KHU DQG GLVFODLPHG DQ\ UHSUHVHQWDWLRQV WKDW LW

  ZRXOG DFWXDOO\ SHUIRUP VXFK VHUYLFHV

              $W DOO WLPHV KHUHLQ 3ODLQWLII RQO\ KDG FRQWDFW ZLWK /3* DQG XSRQ

  LQIRUPDWLRQ DQG EHOLHI +)* ZDV DQ DJHQW RI DQGRU DOWHU HJR RI /3* DQG DFWHG DW LWV

  GLUHFWLRQ DQG FRQWURO

              ,Q RUGHU WR JHW UHOLHI IURP KHU FXPXODWLYH GHEW WKH +)* FRQWUDFW UHTXLUHV

  3ODLQWLII WR DJUHH WR DFFXPXODWH IXQGV LQ D VHWWOHPHQW VDYLQJV IXQG HVFURZ DFFRXQW RYHU

  XS WR  GD\V EHIRUH DQ\ QHJRWLDWLRQ RI GHEW FDQ EHJLQ

              2Q RU DERXW $SULO  'HIHQGDQWV ZLWKGUHZ WKH PRQWKO\  IHH

  IURP D GLIIHUHQW FKHFNLQJ DFFRXQW WKDQ KDG EHHQ DXWKRUL]HG E\ 3ODLQWLII D FKHFNLQJ

  DFFRXQW KHOG MRLQWO\ E\ 3ODLQWLII DQG KHU KXVEDQG DV FRGHSRVLWRUV

              7ZR SD\PHQWV ZHUH ZLWKGUDZQ XQWLO 3ODLQWLII¶V UHSRUWHG WKH LVVXH WR KHU

  EDQN DQG GHPDQGHG 'HIHQGDQWV UHWXUQ WKH WZR SD\PHQWV DQG FHDVH DQ\ IXUWKHU

  ZLWKGUDZDOV IURP WKH XQDXWKRUL]HG DFFRXQW

              'HIHQGDQWV KDYH QHJRWLDWHG QR GHEW UHGXFWLRQ LQGHHG 3ODLQWLII¶V GHEWV

  KDYH LQFUHDVHG DQG KDV UHPRYHG QRQH RI WKH GHEWV IURP KHU FUHGLW $V D UHVXOW DOO RI KHU

  GHEWV KDYH JRQH LQWR FROOHFWLRQ ZKLOH VKH KDV EHHQ HQUROOHG LQ 'HIHQGDQWV¶ SURJUDP DQG




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  3ODLQWLII KDV EHHQ VXHG E\ RQH FUHGLWRU LQ /DFNDZDQQD &RXQW\ 'RFNHW QR 0-

  &9

              'HIHQGDQWV¶ FRQWUDFW ZLWK SODLQWLII IRU GHEW VHWWOHPHQW DQG FUHGLW UHSDLU

  VHUYLFHV LV YRLG LQVRIDU DV LW SURPLVHV QRWKLQJ UHDO DQG LWV SXUSRVH LV WR JLYH WKH

  DSSHDUDQFH RI OHJDO SURSULHW\ WR LOOHJDO GHEW VHWWOHPHQW DFWLYLWLHV GHWDLOHG LQ WKLV

  &RPSODLQW WKHUHE\ HQULFKLQJ GHIHQGDQW DW WKH H[SHQVH RI KHDYLO\ LQGHEWHG 3HQQV\OYDQLD

  FRQVXPHUV DQG SUHHPSWLQJ IRU LWVHOI FRQVXPHUV¶ PRQH\ WKDW VKRXOG KDYH EHHQ XVHG WR

  SD\ FUHGLWRUV RU WR ILOH IRU EDQNUXSWF\ UHOLHI

              3ODLQWLII VXIIHUHG DVFHUWDLQDEOH ORVV E\ UHDVRQ RI GHIHQGDQW¶V DFWLRQV

  Causes of Action

                              COUNT I
         VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT

              ,Q FRQQHFWLRQ ZLWK WKH VDOH DQG SHUIRUPDQFH RI VHUYLFHV IRU FRQVXPHUV E\

  D FUHGLW UHSDLU RUJDQL]DWLRQ DV WKDW WHUP LV GHILQHG LQ    RI WKH &UHGLW 5HSDLU

  2UJDQL]DWLRQV $FW  86&  D   GHIHQGDQWV KDYH FKDUJHG RU UHFHLYHG PRQH\ RU

  RWKHU YDOXDEOH FRQVLGHUDWLRQ IRU WKH SHUIRUPDQFH RI FUHGLW UHSDLU VHUYLFHV WKDW GHIHQGDQWV

  KDYH DJUHHG WR SHUIRUP EHIRUH VXFK VHUYLFHV ZHUH IXOO\ SHUIRUPHG 'HIHQGDQWV KDYH

  WKHUHE\ YLRODWHG 6HFWLRQ  E RI WKH &UHGLW 5HSDLU 2UJDQL]DWLRQV $FW  86& 

  E E 

              ,Q FRQQHFWLRQ ZLWK WKH GHIHQGDQWV¶ DJUHHPHQW WR SURYLGH FUHGLW UHSDLU

  VHUYLFHV GHIHQGDQWV YLRODWHG WKH &52$ LQWHU DOLD  E D  E\ PDNLQJ XQWUXH RU

  PLVOHDGLQJ VWDWHPHQWV WR D FRQVXPHU UHSRUWLQJ DJHQF\ E D  E\ PLVUHSUHVHQWLQJ

  LWV VHUYLFHV DQG E D  E\ HQJDJLQJ LQ DFWV SUDFWLFHV RU FRXUVHV RI EXVLQHVV ZKLFK

  FRQVWLWXWH RU UHVXOW LQ WKH FRPPLVVLRQ RI D GHFHSWLRQ RQ LWV FXVWRPHUV SODLQWLII RU WKH



                                               
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  FRQVXPHU UHSRUWLQJ DJHQFLHV E E E\ FKDUJLQJ DQG UHFHLYLQJ PRQH\ IRU WKH

  SHUIRUPDQFH RI LWV DJUHHPHQW EHIRUH WKH VHUYLFH ZDV IXOO\ SHUIRUPHG DQG G E E\

  IDLOXUH WR LQFOXGH WKH LQIRUPDWLRQ UHTXLUHG E\ WKDW VXEVHFWLRQ


                                 COUNT II
      VIOLATIONS OF THE FAIR CREDIT EXTENSION UNIFORMITY ACT
                               (FCEUA) and
        PENNSYLVANIA UNFAIR TRADE PRACTICES AND CONSUMER
                     PROTECTION LAW (UTPCPL)
                        (Plaintiff v. All defendants)

              3ODLQWLII LQFRUSRUDWHV DOO IRUHJRLQJ DOOHJDWLRQV DV WKRXJK VHW IRUWK LQ IXOO

              'HIHQGDQWV DUH HDFK D ³GHEW FROOHFWRU´ DV GHILQHG E\  36   RI

  WKH )&8($ LQ WKDW DW DOO WLPHV KHUHLQ GHIHQGDQW ZDV ³HQJDJLQJ RU DLGLQJ GLUHFWO\ RU

  LQGLUHFWO\ LQ FROOHFWLQJ D GHEW RZHG RU DOOHJHG WR EH RZHG D FUHGLWRU´

              3ODLQWLII LV D ³FRQVXPHU´ DV GHILQHG E\  36   RI WKH )&8($

              $OO RI WKH DERYH FRQWDFWV E\ 'HIHQGDQWV ZLWK SODLQWLII LQFOXGLQJ EXW QRW

  OLPLWHG WR DWWHPSWLQJ WR VHWWOH WKH 0D\  GHEW ZHUH ³FRPPXQLFDWLRQV´ UHODWLQJ WR D

  GHEW DV GHILQHG E\  36   RI WKH )&8($

              %HFDXVH 'HIHQGDQWV¶ EXVLQHVV PRGHO LV SUHPLVHG RQ FRPSURPLVLQJ WKH

  DPRXQW RI GHEW RZHG UDWKHU WKDQ HOLPLQDWLQJ LW DV DQ DWWRUQH\ ILOLQJ D FKDSWHU 

  EDQNUXSWF\ RU GHIHQGLQJ D GHEW FROOHFWLRQ OLWLJDWLRQ DOO RI WKH DERYH FRQWDFWV E\

  'HIHQGDQWV ZHUH ZLWK WKH SXUSRVH RI HQJDJLQJ RU DLGLQJ LQGLUHFWO\ LQ FROOHFWLQJ SODLQWLII¶V

  GHEWV RZHG RU DOOHJHG WR EH RZHG WR KHU FUHGLWRUV

              0RUHRYHU HYHQ 'HIHQGDQWV¶ OLPLWHG SURPLVH RI FRPSURPLVLQJ WKH DPRXQW

  RI GHEW SDLG LV LOOXVRU\ LQ WKDW QR UHVXOWV DUH SURPLVHG ([ B 6HF  WLWOHG ³1R

  *XDUDQWHHV RI 5HVXOWV´




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                'HIHQGDQWV E\ WKHLU FRQGXFW DV GHVFULEHG DERYH LQFOXGLQJ EXW QRW OLPLWHG

  WR IDLOLQJ WR VHWWOH DQ\ GHEW ZLWK SODLQWLII¶V FUHGLWRUV IURP ³VHWWOHPHQW VDYLQJV IXQG´

  HVFURZ DFFRXQW YLRODWHG WKH )'&3$ LQFOXGLQJ EXW QRW OLPLWHG WR WKH IROORZLQJ

               D   H   HQJDJHG LQ IDOVH GHFHSWLYH DQG PLVOHDGLQJ UHSUHVHQWDWLRQV LQ

                   FRQQHFWLRQ ZLWK WKH GHEW FROOHFWLRQ DFWLYLWLHV GHVFULEHG KHUHLQ

               E   I 2WKHUZLVH XVHG XQIDLU RU XQFRQVFLRQDEOH PHDQV WR FROOHFW RU

                   DWWHPSW WR FROOHFW D GHEW E\ FROOHFWLQJ IXQGV IURP SODLQWLII WRZDUGV DQ

                   LOOXVRU\ SURPLVH RI GHEW UHPHGLDWLRQ ZKHQ LQVWHDG SODLQWLII¶V GHEW EXUGHQ

                   ZDV LQFUHDVHG E\ WKH IHHV DQG FKDUJHV FROOHFWHG E\ GHIHQGDQWV UHVXOWLQJ LQ

                   QR QHW ILQDQFLDO UHOLHI WR SODLQWLII DQG LQVWHDG ZRUVHQLQJ KHU ILQDQFLDO

                   EXUGHQV

                7KH IRUHJRLQJ DFWV DQG RPLVVLRQV RI GHIHQGDQWV LQ YLRODWLRQ RI WKH

  )'&3$ LQFOXGLQJ EXW QRW OLPLWHG WR JLYLQJ SODLQWLII D IXWLOH LOOXVRU\ FRQWUDFW WR FRQFHDO

  WKH IDFW WKDW GHIHQGDQWV DUH QRW SURYLGLQJ SODLQWLII ZLWK DQ\ OHJDO VHUYLFHV WR VHWWOH DQ\ RI

  KHU GHEWV FRQVWLWXWH QXPHURXV DQG PXOWLSOH SHU VH YLRODWLRQV RI WKH )&(8$ DQG

  873&3/ LQFOXGLQJ EXW QRW OLPLWHG WR  36   D  DV HYLGHQFHG E\ WKH IROORZLQJ

  FRQGXFW

               D   7KH XVH RI IDOVH GHFHSWLYH RU PLVOHDGLQJ UHSUHVHQWDWLRQV RU PHDQV LQ

                   FRQQHFWLRQ ZLWK WKH FROOHFWLRQ RI D GHEW

               E   7KH XVH RI IDOVH UHSUHVHQWDWLRQ RU GHFHSWLYH PHDQV WR FROOHFW D GHEW RU

                   REWDLQ LQIRUPDWLRQ DERXW D FRQVXPHU

               F   7KH XVH RI XQIDLU RU XQFRQVFLRQDEOH PHDQV WR FROOHFW RU DWWHPSW WR FROOHFW

                   DQ DOOHJHG GHEW




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               'HIHQGDQWV¶ DFWV ZKLFK YLRODWHG VLPLODU SURYLVLRQV LQ WKH )DLU 'HEW

  &ROOHFWLRQ 3UDFWLFHV $FW ³)'&3$´ DV GHVFULEHG DERYH WKHUHE\ UHQGHUV VXFK DFWV SHU VH

  XQIDLU DQG GHFHSWLYH SUDFWLFH YLRODWLRQV RI WKH 8QIDLU 7UDGH 3UDFWLFHV &RQVXPHU

  3URWHFWLRQ /DZ  36   HW 6HT )&(8$  36   D 

                                          COUNT II
                Breach of Contract/ Covenant of Good Faith and Fair Dealing
                           (Plaintiff v. the Attorney Defendants)

               3ODLQWLII LQFRUSRUDWHV DOO IRUHJRLQJ DOOHJDWLRQV DV WKRXJK VHW IRUWK LQ IXOO

               3ODLQWLII DQG 'HIHQGDQWV HQWHUHG LQWR D FRQWUDFW IRU OHJDO VHUYLFHV

               'HIHQGDQWV¶ DIRUHPHQWLRQHG FRQGXFW FRQVWLWXWHV D EUHDFK                H[SUHVV

  LPSOLHG RU DV D PDWWHU RI ODZ RI WKDW DJUHHPHQW WR SURYLGH FRPSHWHQW DQG HIIHFWLYH OHJDO

  VHUYLFHV DV ZHOO DV D EUHDFK RI WKH FRYHQDQW RI JRRG IDLWK DQG IDLU GHDOLQJ

               $V D GLUHFW DQG SUR[LPDWH FDXVH RI WKH DIRUHPHQWLRQHG EUHDFK RI WKH

  DJUHHPHQW WR SURYLGH OHJDO VHUYLFHV 3ODLQWLII KDV EHHQ GDPDJHG DV VHW IRUWK DERYH

                           COUNT III - Breach of Fiduciary Duty
                            (Plaintiff v. the Attorney Defendants)

               3ODLQWLII LQFRUSRUDWHV DOO IRUHJRLQJ DOOHJDWLRQV DV WKRXJK VHW IRUWK LQ IXOO

               3ODLQWLII DQG 'HIHQGDQWV ZHUH LQ D ILGXFLDU\ DWWRUQH\FOLHQW UHODWLRQVKLS

               'HIHQGDQWV¶ DIRUHPHQWLRQHG FRQGXFW FRQVWLWXWHV D EUHDFK RI WKDW ILGXFLDU\

  UHODWLRQVKLS

               $V D GLUHFW DQG SUR[LPDWH FDXVH RI WKH DIRUHPHQWLRQHG EUHDFK RI ILGXFLDU\

  GXW\ 3ODLQWLII KDV EHHQ GDPDJHG DV VHW IRUWK DERYH

                                                    PRAYER

          WHEREFORE, 3ODLQWLII GHPDQGV MXGJPHQW DJDLQVW GHIHQGDQWV MRLQWO\ DQG

  VHYHUDOO\ RU VLQJO\ DV LQGLFDWHG IRU


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          D $FWXDO FRPSHQVDWRU\ DQG SXQLWLYH 'DPDJHV IRU YLRODWLRQ RI &52$

          E &RVWV DQG UHDVRQDEOH DWWRUQH\¶V IHHV IRU YLRODWLRQ RI &52$

          F 'HFODUDWRU\ DQG LQMXQFWLYH UHOLHI DQG VXFK RWKHU DQG IXUWKHU UHOLHI DV ODZ RU

            HTXLW\ PD\ SURYLGH IRU YLRODWLRQ RI &52$

          G $FWXDO GDPDJHV SXUVXDQW WR  36  D DJDLQVW 'HIHQGDQWV

          H 7UHEOH DFWXDO GDPDJHV SXUVXDQW  36  D DJDLQVW 'HIHQGDQWV

          I &RVWV RI OLWLJDWLRQ DQG UHDVRQDEOH DWWRUQH\¶V IHHV SXUVXDQW WR  36 

             D  DQG

          J $FWXDO GDPDJHV IRU EUHDFK RI FRQWUDFW DQG ILGXFLDU\ GXW\

          K 6XFK RWKHU DQG IXUWKHU UHOLHI DV WKH &RXUW VKDOO GHHP MXVW DQG SURSHU


                                          JURY DEMAND

       3ODLQWLII GHPDQGV WULDO E\ MXU\

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                                                         $WWRUQH\ IRU 3ODLQWLII

  'DWHG 0D\  




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                                  LEGAL SERVICES AGREEMENT

Legal Services

7KH /LWLJDWLRQ 3UDFWLFH *URXS 3& ³/3*´ ZLOO SURYLGH GHEW YDOLGDWLRQ VHUYLFHV ZKHUHLQ LW ZLOO DVVLVW
\RX LQ UHPRYLQJ HUURQHRXV RU LQDFFXUDWH LQIRUPDWLRQ DSSHDULQJ RQ RQH RU PRUH RI \RXU FUHGLW UHSRUWV E\
FRQWHVWLQJ GHEWV DSSHDULQJ WKHUHLQ 7KLV VHUYLFH LV OLPLWHG WR LQIRUPDWLRQ UHSRUWHG E\ FUHGLWRUV RU
SXUSRUWHG FUHGLWRUV WR FUHGLW EXUHDXV 7KH SXUSRVH RI WKLV SURJUDP LV WR FKDOOHQJH WKH OHJDO YDOLGLW\ RI
GHEWV DSSHDULQJ RQ RU EHLQJ UHSRUWHG WR FUHGLW EXUHDXV 7KH FRVW RI OHJDO VHUYLFHV UHQGHUHG E\ /3* LV VHW
IRUWK EHORZ DQG WKRVH IHHV DUH HDUQHG E\ /3* IRU VHUYLFHV UHQGHUHG WR \RX DV VHW IRUWK KHUHLQ DW WKH WLPH
VXFK IHHV DUH SDLG

Client Authorization

<RX DXWKRUL]H /3* WR FKDOOHQJH ZKHUH DSSOLFDEOH DQ\ GHEWV DSSHDULQJ LQ \RXU FUHGLW UHSRUW V WKDW \RX
EHOLHYH WR EH LQ DQ\ ZD\ LQYDOLG LQDFFXUDWH RU RWKHUZLVH ZLWKRXW D OHJDO EDVLV <RX DOVR DXWKRUL]H /3*
WR REWDLQ D FRS\ RI \RXU FUHGLW UHSRUW WR DVVLVW LQ WKH SURFHVV RI DQDO\]LQJ \RXU DFFRXQW DQG GHYHORSLQJ D
VWUDWHJ\ UHJDUGLQJ WKH LQYDOLGDWLRQ RI GHEWV WKDW DUH H[FHVVLYH RU RWKHUZLVH XQDXWKRUL]HG E\ ODZ <RX
IXUWKHU DXWKRUL]H /3* DFWLQJ XQGHU SRZHU RI DWWRUQH\ IRU \RX WR DIIL[ \RXU VLJQDWXUH WR GRFXPHQWV VHQW
RQ \RXU EHKDOI LQ UHODWLRQ WR WKH PDWWHUV DGGUHVVHG KHUHLQ

Description of Services to be Performed

/3* ZLOO REWDLQ \RXU FUHGLW UHSRUWV DQDO\]H WKHP DQG GHYHORS VWUDWHJLHV IRU FRUUHFWLQJ LQYDOLG RU
XQODZIXO GHEWV IRU ZKLFK \RX VKRXOG QRW EH KHOG OHJDOO\ UHVSRQVLEOH :KHUH DSSURSULDWH /3* ZLOO XVH
H[LVWLQJ ODZV DQG LQWHUDFW ZLWK FUHGLWRUV DQG FUHGLW EXUHDXV RQ \RXU EHKDOI WR LQYDOLGDWH \RXU GHEWV DQG
UHPRYH VXFK LQYDOLG GHEWV IURP \RXU FUHGLW UHSRUWV /3* ZLOO DOVR LQWHUDFW ZLWK FROOHFWLRQ DJHQFLHV DV
DSSOLFDEOH WR LQYDOLGDWH \RXU GHEWV E\ UHTXLULQJ WKHP WR VXSSO\ HYLGHQFH RI \RXU LQGHEWHGQHVV WR WKHP
RU DQ\ RWKHU OHJDO PHFKDQLVP /3* ZLOO DOVR FRQVXOW ZLWK \RX UHJDUGLQJ DOO DVSHFWV RI WKH FUHGLW
UHSRUWLQJ SURFHVV LQFOXGLQJ DOO ODZV DSSOLFDEOH WR WKH VDPH /3* ZLOO DOVR LQYHVWLJDWH \RXU GHOLQTXHQW
DFFRXQWV LQ RUGHU WR GHWHUPLQH WKH PRVW HIIHFWLYH PHWKRG IRU LQYDOLGDWLQJ \RXU GHEWV RU RWKHUZLVH
UHPRYLQJ DQ\ OHJDO OLDELOLW\ IRU VXFK GHEWV XS WR DQG LQFOXGLQJ WKH LQLWLDWLRQ RI ODZVXLWV RQ \RXU EHKDOI
DJDLQVW \RXU FUHGLWRUV DQG WKHLU WKLUGSDUW\ GHEW FROOHFWRUV

,Q DGGLWLRQ LI D ODZVXLW LV ILOHG DJDLQVW \RX /3* ZLOO UHSUHVHQW \RX LQ VXFK D ODZVXLW DQG ZLOO QRW FKDUJH
DQ\ DGGLWLRQDO IHHV IRU VXFK UHSUHVHQWDWLRQ SURYLGHG VXFK D ODZVXLW ZDV LQLWLDWHG DIWHU WKH GDWH \RX VLJQ
WKLV $JUHHPHQW ,Q WKH HYHQW D ODZVXLW ZDV LQLWLDWHG DJDLQVW \RX EHIRUH WKH GDWH \RX H[HFXWH WKLV


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$JUHHPHQW DQG \RX HOHFW WR KDYH /3* UHSUHVHQW \RX DQ DGGLWLRQDO IHH RI  ZLOO EH FKDUJHG
:KHUH DSSURSULDWH LI OHJDO IHHV DUH UHFRYHUHG IURP DQ DGYHUVH SDUW\ /3* ZLOO UHWDLQ VXFK IHHV IRU LWV
VHUYLFHV <RX ZLOO EH UHVSRQVLEOH WR SD\ DQ\ GDPDJHV UHVXOWLQJ IURP DQ\ ODZVXLW $Q\ FRVWV LQFXUUHG LQ
D ODZVXLW ZLOO EH SDLG E\ /3* RXW RI WKH IHHV VHW IRUWK EHORZ LQFOXGLQJ WKH IHHV RI DQ\ DWWRUQH\ UHWDLQHG
RQ \RXU EHKDOI LQ D MXULVGLFWLRQ LQ ZKLFK /3* LV QRW DGPLWWHG WR SUDFWLFH ODZ 1R DGGLWLRQDO SD\PHQW
IURP \RX WR /3* ZLOO EH QHFHVVDU\ IRU WKH GHIHQVH RI DQ\ ODZVXLW ILOHG DJDLQVW \RX DIWHU WKH GDWH \RX
H[HFXWH WKLV $JUHHPHQW <RX ZLOO KRZHYHU EH UHVSRQVLEOH WR SD\ DQ\ GDPDJHV UHVXOWLQJ IURP VXFK
ODZVXLWV RU DQ\ VHWWOHPHQWV UHDFKHG LQ WKH FRXUVH RI VXFK ODZVXLWV

Fees

<RX ZLOO SD\ WKH IROORZLQJ IHHV IRU WKH OHJDO VHUYLFHV SURYLGHG E\ /3* 1R IHH RU RWKHU FRVW ZLOO EH
FKDUJHG RU FROOHFWHG RWKHU WKDQ WKH IROORZLQJ 7KLV LV WKH RQO\ DPRXQW \RX KDYH WR SD\ IRU /3*¶V
VHUYLFHV DQG WKLV IHH LV IL[HG VXFK WKDW LW LV HDUQHG WKH PRPHQW LW LV WUDQVPLWWHG WR /3* 8SRQ UHTXHVW
/3* ZLOO SURYLGH DQ XSGDWH RI WKH SURJUHVV RI VHUYLFHV SHUIRUPHG XQGHU WKLV DJUHHPHQW DW UHDVRQDEOH
LQWHUYDOV RI QR JUHDWHU IUHTXHQF\ WKDQ RQFH D PRQWK

Refund Policy

,I DQ DFFRXQW LV IXOO\ YDOLGDWHG E\ D FUHGLWRU VXFK WKDW QR IXUWKHU GLVSXWH WR WKH YDOLGLW\ RI WKH DFFRXQW
FRXOG EH PDGH \RX ZLOO UHFHLYH D IXOO UHIXQG RI WKH IHHV WKDW \RX SDLG WRZDUGV WKH LQYDOLGDWLRQ RI WKDW
DFFRXQW LH \RX ZLOO EH UHIXQGHG WKH IHHV SDLG LQ SURSRUWLRQ WR WKH GHEW WKDW ZDV YDOLGDWHG  6KRXOG
\RX KDYH DQ RXWVWDQGLQJ EDODQFH ZLWK /3* DW WKH WLPH \RXU UHIXQG LV LVVXHG RQ WKH YDOLGDWHG DFFRXQW
DQ\ UHIXQG ZLOO ILUVW EH DSSOLHG WRZDUGV WKH RXWVWDQGLQJ EDODQFH $ FOLHQW FDQ HOHFW WR PRYH WR D GHEW
VHWWOHPHQW VHUYLFH RQ DQ\ YDOLGDWHG DFFRXQW LQ OLHX RI REWDLQLQJ D UHIXQG ,I D FOLHQW PDNHV VXFK DQ
HOHFWLRQ IHHV ZLOO QR ORQJHU EH FROOHFWHG IRU VXFK DFFRXQW DQG GHEW VHWWOHPHQW VHUYLFHV ZLOO EH SHUIRUPHG
IRU QR DGGLWLRQDO IHHV

Debt Settlement

,I /3* LV XQDEOH WR LQYDOLGDWH DQ\ GHEW \RX PD\ HOHFW WR KDYH /3* QHJRWLDWH D VHWWOHPHQW RQ \RXU EHKDOI
ZLWK WKH FRQFHUQHG FUHGLWRU ZLWKRXW DQ\ DGGLWLRQDO IHHV EHLQJ FKDUJHG WR RU LQFXUUHG E\ \RX IRU VXFK
VHUYLFH $Q\ VHWWOHPHQW UHDFKHG ZLWK DQ\ VXFK FUHGLWRU VKDOO EH \RXU UHVSRQVLELOLW\ $W WKH SRLQW WKDW
\RX UHDFK D VHWWOHPHQW ZLWK VXFK FUHGLWRU \RXU SD\PHQW WR /3* ZLOO EH UHGXFHG DQG UHDPRUWL]HG WR
DGMXVW IRU WKH VHWWOHG DFFRXQW EHLQJ UHPRYHG IURP WKH UHSUHVHQWDWLRQ KHUHLQ FRQWHPSODWHG 3OHDVH VHH WKH
UHIXQG SROLF\ DERYH IRU PRUH GHWDLOV

Actions Required of You

<RX DJUHH WR SURYLGH /3* ZLWK DQ\ DQG DOO FRUUHVSRQGHQFH \RX UHFHLYH IURP DQ\ FUHGLWRU FUHGLW EXUHDX
DWWRUQH\ RU FRXUW RI ODZ <RX IXUWKHU DJUHH WR NHHS D ORJ RI DOO FRPPXQLFDWLRQV LQFOXGLQJ WHOHSKRQLF
DQG HOHFWURQLF FRPPXQLFDWLRQV IURP DQ\ FUHGLWRU RU FUHGLW UHSRUWLQJ DJHQF\

Right to Conduct Business Electronically and Contact You

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                                           Schedule of Payments

, DJUHH WR WKLV SD\PHQW VFKHGXOH ± &OLHQW ,QLWLDOV ^DP

Payment #                           Process Date                         Amount
                                   )HE                           
                                   0DU                           
                                   $SU                           
                                   0D\                           
                                   -XQ                           
                                   -XO                           
                                   $XJ                           
                                   6HS                           
                                   2FW                           
                                  1RY                           
                                  'HF                           
                                  -DQ                           
                                  )HE                           
                                  0DU                           
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                                  0D\                           
                                  -XQ                           
                                  -XO                           
                                  $XJ                           
                                  6HS                           
                                  2FW                           
                                  1RY                           
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                            UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 KENNETH TOPP,
                                                                  CIVIL COMPLAINT
       Plaintiff,

 v.                                                             CASE NO.6:22-cv-00814

 THE LITIGATION PRACTICE GROUP,
 PC,                                                          JURY TRIAL DEMANDED

       Defendants.

                                          COMPLAINT

        NOW comes KENNETH TOPP (“Plaintiff”), by and through the undersigned, complaining

as to the conduct of THE LITIGATION PRACTICE GROUP, PC (“Defendant”) as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Credit Repair Organizations Act

(“CROA”) under 15 U.S.C. § 1679 et seq., the Texas Credit Services Organizations Act

(“TCSOA”) under Tex. Fin. Code § 393.101 et seq., and the Texas Consumer Debt Management

Services Act (“TCDSMA”) under Tex. Fin. Code § 394.201 et seq., in connection with

Defendants’ unlawful conduct.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the CROA. Subject matter jurisdiction

is conferred upon this Court by 15 U.S.C §1679, as well as 28 U.S.C. §§1331 and 1337, as the

action arises under the laws of the United States. Supplemental jurisdiction exists for the state law

claims pursuant to 28 U.S.C. §1367.




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   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

within the Western District of Texas and a substantial portion of the events or omissions giving

rise to the instant claims occurred within the Western District of Texas.

                                             PARTIES

   4. Plaintiff is a “person,” as defined by 47 U.S.C. § 153(39), and consumer over 18 years of

age, residing in Killeen, Texas, which lies within the Western District of Texas.

   5. Defendant is a credit repair organization, debt settlement provider, and law corporation that

offers its customers the ability to eliminate and resolve their debt issues through Defendant’s

myriad services. Defendant is a professional corporation organized under the laws of the state of

California with its principal place of business located at 17542 17th Street, Suite 100, Tustin,

California.

   6. Defendant is a “person” as defined by 47 U.S.C. §153(39).

   7. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

   8.   In approximately May of 2022, Plaintiff had numerous delinquent obligations which he

wanted to address and was seeking out the assistance of various debt relief and credit repair

companies.

   9.   Plaintiff subsequently happened upon Defendant and its services.

   10. Defendant advised that its services included disputing inaccurate information that was

appearing on Plaintiff’s credit reports and impacting his credit score, and would similarly assist




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Plaintiff in reaching negotiated settlements with his various creditors in order to resolve the

obligations for less than the balance being sought by such creditors.

   11. Defendant represented that its services would include setting up a bank account, into

which Plaintiff’s monthly payments would go and from which Defendant would take funds to

perform its services and pay Plaintiff’s creditors when settlements were reached.

   12. Plaintiff found Defendant’s services desirable as he believed Defendant would be able to

get certain information removed from his credit report and would actively resolve his obligations,

and so Plaintiff agreed to utilize Defendant’s services and entered into a contract for the provision

of the same.

   13. However, after one month of using Defendant’s services, and paying approximately $350,

Plaintiff cancelled his agreement with Defendant as he was frustrated by the lack of action taken

by Defendant.

   14. Upon information and belief, rather than actually provide the services Defendant

represented it would provide, Defendant instead applied Plaintiff’s payments towards various

upfront flat-fees that were unrelated to any work performed by Defendant.

   15. Defendant thus charged Plaintiff for its services before engaging in any performance of

its duties under the agreement, let alone completely performing the services justifying its retention

of the charged fees.

   16. After Plaintiff attempted to cancel his agreement with Defendant, Defendant began

bombarding Plaintiff with phone calls.

   17. Plaintiff politely requested that Defendant cease in contacting him at the beginning of July

2022.




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   18. However, Defendant repeatedly contacted Plaintiff despite his demands that such contacts

cease up until the filing of this Complaint.

   19. Defendant has failed to refund Plaintiff his payments despite being obligated to do so as

it failed to perform any services justifying its retention of such fees.

   20. Frustrated, distressed, and confused over Defendant’s conduct, Plaintiff spoke with the

undersigned regarding his rights.

   21. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, emotional distress, aggravation, mental anguish, pecuniary harm stemming from

payments made for deficient credit repair services, out of pocket damages, as well as numerous

violations of his state and federally protected interests – interests which were harmed put at a

material risk of harm stemming from Defendant’s conduct.

             COUNT I – VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT

   22. Plaintiff repeats and realleges paragraphs 1 through 20 as though fully set forth herein.

   23. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1679a(1) of the CROA.

   24. Defendant is a “credit repair organization” as defined by §1679a(3) of the CROA, as it is

a person who uses any instrumentality of interstate commerce or the mails to sell, provide, or

perform any service, in return for the payment of money or other valuable consideration, for the

express or implied purpose of improving a consumer’s credit, credit history, or credit rating, or

providing assistance to any consumer with regard to any activity or service for the purpose of

improving a consumer’s credit.

   25. Defendant’s represented services in disputing and seeking to remove information from

Plaintiff’s credit report renders it a credit repair organization under the CROA, as does its conduct

in purporting to resolve obligations on behalf of consumers for less than the full balance owed.



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       a. Violations of CROA §§ 1679b(a)(3)-(4)

  26. The CROA, pursuant to 15 U.S.C. § 1679b(a)(3) prohibits any person from “mak[ing] or

us[ing] any untrue or misleading representation of the services of the credit repair organization.”

Additionally, pursuant to 15 U.S.C. § 1679b(a)(4), any person is prohibited from “engag[ing],

directly or indirectly, in any act, practice, or course of business that constitutes or results in the

commission of, or an attempt to commit, a fraud or deception on any person in connection with

the offer or sale of the services of the credit repair organization.”

  27. Defendant violated the above referenced provisions of the CROA through its

misrepresentations and deception as to the nature of the credit repair services it could provide

Plaintiff. Defendant represented to Plaintiff that his payments would go towards resolving his

enrolled obligations; however, he later found out the nature of Defendant’s deceptive

representation as his initial payment went entirely towards Defendant’s fees and that Plaintiff

would need to make payments beyond his monthly payments to settle any debts. Defendant

engaged in these deceptive representations and omission regarding the nature of its services and

the charged fees so as to deprive Plaintiff of information that, had it been clarified, would have

resulted in Plaintiff refusing to use Defendant’s services. Upon information and belief, Defendant

engages in this behavior on a persistent and frequent basis in order to dupe vulnerable and

desperate consumers into making payments under false and deceptive pretenses.

       b. Violations of CROA § 1679b(b)

  28. The CROA, pursuant to 15 U.S.C. § 1679b(b), provides that “[n]o credit repair

organization may charge or receive any money or other valuable consideration for the

performance of any service which the credit repair organization has agreed to perform for any

consumer before such service is fully performed.”



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  29. Defendant violated § 1679b(b) through its charging and receiving of money for services

agreed to perform before such services were fully performed. Defendant improperly charged and

retained Plaintiff’s payment despite not performing, let alone completely performing, the services

justifying the retention of such fees and charges.

       c. Violation of CROA § 1679c

  30. The CROA provides that a credit repair organization must provide consumers with certain

written disclosures in the contract underpinning the provision of credit repair services to

consumers. Pursuant to 15 U.S.C. § 1679c(b), “the written statement required under this section

shall be provided as a document which is separate from any written contract or other agreement

between the credit repair organization and the consumer or any other written material provided to

the consumer.”

  31. Defendant violated 15 U.S.C. §§ 1679c(a)-(b) through its failure to provide the written

disclosures required under § 1679c. Defendant never provided such disclosures, nor did it provide

a separate document containing such disclosures.

       d. Violation of CROA §§ 1679d(4) & 1679e

  32. The CROA, pursuant to 15 U.S.C. § 1679d(4), requires credit repair organization to

include, in the contract between them and a consumer, “a conspicuous statement in bold face type,

in immediate proximity to the space reserved for the consumer’s signature on the contract, which

reads as follows: ‘You may cancel this contract without penalty or obligation at any time before

midnight of the 3rd business day after the date on which you signed the contract. See the attached

notice of cancellation form for an explanation of this right.’” 15 U.S.C. § 1679e further outlines

the extent of a consumer’s cancellation rights under CROA while requiring such disclosure to be

given to consumers in writing.



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   33. Defendant violated 15 U.S.C. §§ 1679d(4) & 1679e through its complete failure to provide

the above disclosure in immediate proximity to the space reserved for Plaintiff’s signature on the

contract, as well as its failure to provide the notice of cancellation to Plaintiff.

        e. Violation of CROA § 1679f(b)

   34. The CROA, pursuant to 15 U.S.C. § 1679f(b) provides that, “[a]ny attempt by any person

to obtain a waiver from any consumer of any protection provided by or any right of the consumer

under [the CROA] shall be treated as a violation of [the CROA].”

   35. Defendant violated 15 U.S.C. § 1679f(b) through its attempt to obtain Plaintiff’s waiver

of the protections afforded him under the CROA. Defendant’s contract contain numerous efforts

to obtain a waiver of Plaintiff’s vital consumer protection rights protected by the CROA,

including but not limited to the protection regarding the time of when Defendant’s fees are

“earned” and when Defendant may properly collect such fees.

   36. The CROA further dictates that any contract found not to be in compliance with the CROA

“shall be treated as void” and “may not be enforced by any Federal or State court or any other

person.” 15 U.S.C. § 1679f(c).

   WHEREFORE, Plaintiff, KENNETH TOPP, respectfully requests that the Honorable Court

enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff actual damages to be determined at trial, as provided under 15 U.S.C.
      § 1679g(a)(1);

   c. Awarding Plaintiff punitive damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. § 1679g(a)(2)(A);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C. §
      1679g(a)(3); and



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   e. Awarding any other relief as the Arbitrator deems just and appropriate.

        COUNT II – VIOLATIONS OF THE TEXAS CREDIT SERVICES ORGANIZATION ACT

   37. Plaintiff restates and realleges paragraphs 1 through 46 as though fully set forth herein.

   38. Plaintiff is a “consumer” as defined by Tex. Fin. Code § 393.001(1).

   39. Defendant is a “credit services organization” as defined by Tex. Fin. Code § 393.001(3).

           a. Violations of Tex. Fin. Code §§ 393.20 & 393.202

   40. The TCSOA, pursuant to Tex. Fin. Code § 393.201, outlines certain requirements of the

contracts entered into between consumers and credit services organizations. § 393.202 discusses

the nature of a consumer’s right to cancel contracts and how such right must be disclosed to

consumers.

   41. Defendant violated §§ 393.201(b)(1)-(4) & 393.202 through their failure to provide the

information required under Texas law in the contract with Plaintiff. Defendant’s contract plainly

fails to contain the requisite information.

           b. Violations of Tex. Fin. Code § 393.302

   42. The TCOSA, pursuant to Tex. Fin. Code § 393.302, prohibits credit service organizations

from receiving money for their services before such services are fully performed.

   43. Defendant violated § 393.302 in much the same way it violated § 1679b(b) of the CROA.

           c. Violations of Tex. Fin. Code §§ 393.304(1) & 393.305

   44. The TCSOA, pursuant to Tex. Fin. Code § 393.304(1), prohibits a credit services

organization from “mak[ing] or us[ing] a false or misleading representation in the offer or sale of

the services of the organization.” Similarly, pursuant to Tex. Fin. Code § 393.305, “[a] credit

services organization or a representative of the organization may not directly or indirectly engage




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in a fraudulent or deceptive act, practice, or course of business relating to the offer or sale of the

services of the organization.”

   45. Defendant violated §§ 393.304(1) & 393.305 in much the same way it violated §§

1679b(a)(3)-(4) of the CROA.

   WHEREFORE, Plaintiff, KENNETH TOPP, respectfully requests that the Honorable Court

enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual damages pursuant to Tex. Fin. Code § 393.503(a)(1);

   c. Awarding Plaintiff punitive damages pursuant to Tex. Fin. Code § 393.503(b);

   d. Enjoin Defendant from further violations of law pursuant to Tex. Fin. Code § 393.502,

   e. Awarding Plaintiff’s costs and reasonable attorney fees, pursuant to Tex. Fin. Code §§
      393.503(a)(2)-(3); and,

   f. Awarding any other relief the Honorable Court deems just and appropriate.


  COUNT III – VIOLATIONS OF THE TEXAS CONSUMER DEBT MANAGEMENT SERVICES ACT

   46. Plaintiff restates and realleges paragraphs 1 through 45 as though fully set forth herein.

   47. Plaintiff is a “consumer” as defined by Tex. Fin. Code § 394.202(4).

   48. Defendant is a “provider” of “debt management service” as defined by Tex. Fin. Code §§

394.202(6) & (10).

           a. Violations of Tex. Fin. Code § 394.207

   49. The TCDMSA, pursuant to Tex. Fin. Code § 394.207, provides that “[a] provider may not

engage in false or deceptive advertising,”

   50. Defendant violated § 394.207 in much the same way its deceptive representations regarding

the nature of, and fees surrounding, its services violated § 1679b(a)(3)-(4) of the CROA.

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              b. Violations of Tex. Fin. Code § 394.209

    51. The TCDMSA, pursuant to Tex. Fin. Code § 394.209, outlines the various requirements of

the contracts entered into between debt management providers and consumers.

    52. Defendant violated § 394.209(b) through its failure to include the required statements,

disclosures, and information in its contract with Plaintiff.

              c. Violations of Tex. Fin. Code § 394.210

    53. The TCDMSA, pursuant to Tex. Fin. Code § 394.210(c), provides that “[a] provider may

not impose fees or other charges upon a consumer or receive payment for debt management

services until the consumer has entered into a debt management service agreement with the

provider that complies with Section 394.209.”

    54. Defendant violated § 394.210(c) through its charging of Plaintiff for its debt management

services without entering into a contract which complies with Texas law.

              d. Violations of Tex. Fin. Code § 394.212

    55. The TCDMSA, pursuant to Tex. Fin. Code § 394.212, outlines a number of prohibited

practices on the part of providers.

    56. Pursuant to § 394.212(a)(9), a provider may not “engage in an unfair, deceptive, or

unconscionable act or practice in connection with a service provided to a consumer.”

    57. Defendant violated § 394.212(a)(9) in much the same way it violated §§ 1679b(a)(3)-(4)

of the CROA.

              e. Violations of Tex. Fin. Code § 394.213

    58. Pursuant to § 394.213, “a provider has a duty to a consumer who receives debt management

services from the provider to ensure that client money held by the provider is managed properly at

all times.”



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   59. Defendant violated § 394.213 through its failure to ensure that Plaintiff’s money was

managed properly. As discussed above, Defendant failed to meaningfully perform the services it

represented, and similarly allowed Plaintiff’s funds to be mismanaged and applied to unnecessary

legal fees which were never actually performed.

   WHEREFORE, Plaintiff, KENNETH TOPP, respectfully requests that the Honorable Court

enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual damages pursuant to Tex. Fin. Code § 394.215(c);

   c. Awarding Plaintiff punitive damages pursuant to Tex. Fin. Code § 394.215(c);

   d. Enjoin Defendant from further violations of law pursuant to Tex. Fin. Code § 394.215(d);

   e. Awarding Plaintiff’s costs and reasonable attorney fees, pursuant to Tex. Fin. Code §
      394.215(c); and,

   f. Awarding any other relief the Honorable Court deems just and appropriate.


Dated: July 26, 2022                               Respectfully submitted,

                                                   s/ Nathan C. Volheim
                                                   Nathan C. Volheim, Esq. #6302103
                                                   Counsel for Plaintiff
                                                   Admitted in the Western District of Texas
                                                   Sulaiman Law Group, Ltd.
                                                   2500 South Highland Ave., Suite 200
                                                   Lombard, Illinois 60148
                                                   (630) 568-3056 (phone)
                                                   (630) 575-8188 (fax)
                                                   nvolheim@sulaimanlaw.com




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                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                              Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)   Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
        only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
        then the official, giving both name and title.
  (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)".

II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
        in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
        United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
        United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
        to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
        precedence, and box 1 or 2 should be marked.
        Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
        cases.)

III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
        section for each principal party.

IV.     Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        When the petition for removal is granted, check this box.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statue.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




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 7

 8                      UNITED STATES DISTRICT COURT

 9                     EASTERN DISTRICT OF CALIFORNIA

10

11   JOHNNY W. RIZO,                       Case No.

12                  Plaintiff,             COMPLAINT FOR DAMAGES

13         v.                              1. VIOLATIONS OF THE CREDIT
                                           REPAIR ORGANIZATIONS ACT, 15
14                                         U.S.C. §1679 ET SEQ.;
     THE LITIGATION PRACTICE
15   GROUP, PC,                            2. VIOLATION OF THE
                                           CALIFORNIA CREDIT SERVICES
16                  Defendant.             ORGANIZATIONS ACT OF 1984,
                                           CAL. CIV. CODE §1789.10 ET SEQ.
17

18
                                           DEMAND FOR JURY TRIAL
19

20
                                     COMPLAINT
21
           NOW comes JOHNNY W. RIZO (“Plaintiff”), by and through the
22

23   undersigned, complaining as to the conduct of THE LITIGATION PRACTICE

24   GROUP, PC (“Defendant”) as follows:
25
                                 NATURE OF THE ACTION
26
        1. Plaintiff brings this action for damages pursuant to the Credit Repair
27

28   Organizations Act (“CROA”) under 15 U.S.C. § 1679 et seq. the California Credit
                                                1
                                 Exhibit "17"
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 1   Services Organizations Act of 1984 (“CCSOA”) pursuant to Cal. Civ. Code §1789.10
 2
     et seq. for Defendant’s unlawful conduct.
 3

 4                                JURISDICTION AND VENUE

 5      2. This action arises under and is brought pursuant to the CROA. Subject matter
 6
     jurisdiction is conferred upon this Court by 15 U.S.C §1679, as well as 28 U.S.C.
 7

 8   §§1331 and 1337, as the action arises under the laws of the United States.
 9   Supplemental jurisdiction exists for the state law claims pursuant to 28 U.S.C. §1367.
10
        3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant
11

12   conducts business within the Eastern District of California and a substantial portion
13   of the events or omissions giving rise to the claims occurred within the Eastern
14
     District of California.
15

16                                         PARTIES
17      4. Plaintiff is a natural “person,” as defined by 47 U.S.C. § 153(39), over 18 years
18
     of age, residing in Stockton, California, which lies within the Eastern District of
19

20   California.
21
        5. Defendant is a credit repair organization, debt settlement provider, and law
22
     corporation that offers its customers the ability to eliminate and resolve their debt
23

24   issues through Defendant’s myriad services, including assisting consumers with
25
     resolving debts that would otherwise be unresolved, as well as through disputing
26
     information appearing on consumer’s credit reports so that such information could
27

28   be removed and in turn improve consumer’s credit scores. Defendant is a professional
                                                  2
                                   Exhibit "17"
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 1   corporation organized under the laws of the state of California with its principal place
 2
     of business located at 17542 17th Street, Suite 100, Tustin, California.
 3

 4      6. Defendant is a “person” as defined by 47 U.S.C. §153(39).

 5      7. Defendant acted through its agents, employees, officers, members, directors,
 6
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives
 7

 8   and insurers at all times relevant to the instant action.
 9                          FACTS SUPPORTING CAUSES OF ACTION
10
        8. In approximately 2020, Plaintiff was seeking to improve his credit and to take
11

12   care of some obligations that were causing him financial difficulty.
13      9. Plaintiff subsequently happened upon an advertisement offered by Defendant,
14
     located on social media, which offered consumers the ability to improve their credit
15

16   through certain services.
17      10. Upon speaking with Plaintiff, Defendant advised that its services included
18
     disputing information that was appearing on, and negatively impacting, Plaintiff’s
19

20   credit reports, and through such efforts, Defendant would get the debts rendered
21
     uncollectable, in turn removing any obligation for Plaintiff to make payment on such
22
     debts.
23

24      11. Defendant explicitly represented that its services would improve Plaintiff’s
25
     credit history, score, and rating, as Defendant advised that through the disputes,
26
     Plaintiff’s credit report would improve by having negative information removed from
27

28   his credit report.
                                                    3
                                     Exhibit "17"
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 1      12. Defendant further advised that because Plaintiff would not have pay these
 2
     debts, his credit score would improve.
 3

 4      13. Plaintiff was explicitly informed by one of Defendant’s representatives that

 5   “My team and I will be working with you over these next months to invalidate your
 6
     debts with the creditors and collection agencies and to restore your credit.”
 7

 8   (emphasis added).
 9      14. Defendant affirmatively represented that this information would be removed
10
     from Plaintiff’s credit reports promptly upon signing up with Defendant’s services
11

12      15. Plaintiff found Defendant’s services desirable as he believed Defendant
13   would be able to get certain information removed from his credit report and would
14
     actively resolve his obligations, and so Plaintiff agreed to utilize Defendant’s services
15

16   and entered into a contract for the provision of the same.
17      16. Plaintiff subsequently began making his monthly payments to Defendant,
18
     which totaled $130.00 per month.
19

20      17. Defendant inappropriately charged Plaintiff for its services before performing
21
     any of the services it agreed to perform for Plaintiff.
22
        18. After months of making payments, Plaintiff saw no improvement to his credit
23

24   score despite Defendant’s representations to the contrary.
25
        19. Plaintiff would speak with Defendant about what it was doing and looking for
26
     updates, and Defendant persistently strung Plaintiff along assuring him that it was
27

28   working on it and that its services would ultimately work.
                                                   4
                                    Exhibit "17"
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 1      20. Due to Defendant’s failure to deliver any of the services it represented it
 2
     would perform, Plaintiff cancelled his services with Defendant.
 3

 4      21. Despite Plaintiff cancelling his agreement and Defendant failing to provide

 5   any of the services for which it was paid, Defendant failed to refund Plaintiff’s
 6
     payments for services Defendant failed to perform.
 7

 8      22. Frustrated and distressed over Defendant’s conduct, Plaintiff spoke with the
 9   undersigned regarding his rights.
10
        23. Plaintiff has suffered concrete harm as a result of Defendant’s actions,
11

12   including but not limited to, emotional distress, aggravation, mental anguish,
13   pecuniary harm, denial of the benefit of his bargain, making payments for deficient
14
     credit repair services, relying upon Defendant’s representations to his detriment,
15

16   being subjected to improper fees, as well as a violation of his state and federally
17   protected interests – interests which were harmed and put at a material risk of harm
18
     as a result of Defendant’s conduct.
19

20         COUNT I – VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT
21
        24.Plaintiff repeats and realleges paragraphs 1 through 23 as though fully set forth
22
     herein.
23

24      25.Plaintiff is a “consumer” as defined by 15 U.S.C. § 1679a(1) of the CROA.
25
        26.Defendant is a “credit repair organization” as defined by §1679a(3) of the
26
     CROA, as it is a person who uses any instrumentality of interstate commerce or the
27

28   mails to sell, provide, or perform any service, in return for the payment of money or
                                                  5
                                   Exhibit "17"
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 1   other valuable consideration, for the express or implied purpose of improving a
 2
     consumer’s credit, credit history, or credit rating, or providing assistance to any
 3

 4   consumer with regard to any activity or service for the purpose of improving a

 5   consumer’s credit.
 6
        27.Defendant is a credit repair organization as it explicitly holds its services out
 7

 8   as offering consumers the ability to
 9          a. Violations of CROA § 1679b(a)
10
        28.The CROA, pursuant to 15 U.S.C. § 1679b(a)(3) prohibits any person from
11

12   “mak[ing] or us[ing] any untrue or misleading representation of the services of the
13   credit repair organization.” Additionally, pursuant to 15 U.S.C. § 1679b(a)(4), any
14
     person is prohibited from “engag[ing], directly or indirectly, in any act, practice, or
15

16   course of business that constitutes or results in the commission of, or an attempt to
17   commit, a fraud or deception on any person in connection with the offer or sale of
18
     the services of the credit repair organization.”
19

20      29. Defendant violated the above referenced provisions of the CROA through its
21
     misrepresentations and deception as to the nature of the credit repair services it
22
     would provide Plaintiff. Defendant affirmatively represented the efficacy of its
23

24   services, yet failed to provide the represented results in the manner represented.
25
     Defendant said the issues would be resolved promptly, yet no action or results were
26
     delivered despite Plaintiff’s maintenance of payments for months. Defendant’s
27

28   conduct harmed Plaintiff as he agreed to use Defendant’s services and continue
                                                  6
                                   Exhibit "17"
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 1   making payments under the false belief that the debts would be removed from his
 2
     credit report and would no longer be collectable, yet Defendant failed to deliver the
 3

 4   services inducing Plaintiff’s payments.

 5     30.Defendant further violated the above referenced provisions of the CROA
 6
     through the generally deceptive and fraudulent nature of its business practices.
 7

 8   Defendant represented to Plaintiff, and represents to consumers, that its debt
 9   validation services would be effective at getting the debts rendered uncollectable.
10
     However, Defendant fails to sufficiently explain the unlikelihood with which,
11

12   through disputes alone, debts would be rendered noncollectable or that a consumer’s
13   obligation would otherwise be extinguished. Upon information and belief,
14
     Defendant offers its debt validation program for the purpose of inducing consumers
15

16   into using Defendant’s services, despite Defendant knowing them to be ineffective,
17   so that Defendant can subsequently provide additional services, and charge further
18
     sums, for subsequent services.
19

20         b. Violations of CROA § 1679b(b)
21
       31.The CROA, pursuant to 15 U.S.C. § 1679b(b), provides that “[n]o credit repair
22
     organization may charge or receive any money or other valuable consideration for
23

24   the performance of any service which the credit repair organization has agreed to
25
     perform for any consumer before such service is fully performed.”
26
       32.Defendant violated § 1679b(b) through its charging and receiving of money
27

28   for services it agreed to perform for Plaintiff before such services were fully
                                                 7
                                  Exhibit "17"
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 1   performed. Defendant charged Plaintiff up-front fees and monthly fees unrelated to
 2
     any services Defendant fully performed.
 3

 4         c. Violation of CROA § 1679c

 5     33. The CROA provides that a credit repair organization must provide consumers
 6
     with certain written disclosures in the contract underpinning the provision of credit
 7

 8   repair services to consumer. Pursuant to 15 U.S.C. § 1679c(b), “the written
 9   statement required under this section shall be provided as a document which is
10
     separate from any written contract or other agreement between the credit repair
11

12   organization and the consumer or any other written material provided to the
13   consumer.”
14
       34. Defendant violated 15 U.S.C. § 1679c through its failure to provide the written
15

16   disclosures required under § 1679c. Defendant never provided such disclosures, nor
17   did it provide a separate document containing such disclosures.
18
           d. Violation of CROA §§ 1679d & 1679e
19

20     35. The CROA, pursuant to 15 U.S.C. § 1679d(4), requires credit repair
21
     organization to include, in the contract between them and a consumer, “a
22
     conspicuous statement in bold face type, in immediate proximity to the space
23

24   reserved for the consumer’s signature on the contract, which reads as follows: ‘You
25
     may cancel this contract without penalty or obligation at any time before midnight
26
     of the 3rd business day after the date on which you signed the contract. See the
27

28   attached notice of cancellation form for an explanation of this right.’” 15 U.S.C. §
                                                 8
                                  Exhibit "17"
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 1   1679e further outlines the extent of a consumer’s cancellation rights under the
 2
     CROA, while requiring such disclosure to be given to consumers in writing and
 3

 4   separate from the contrat.

 5     36. Defendant violated 15 U.S.C. § 1679d through its failure to provide the
 6
     requisite statutory disclosure in the manner required by the CROA. Defendant
 7

 8   further violated § 1679e through its failure to provide a notice of cancellation form
 9   to Plaintiff in its contract.
10
       37.As a result of Defendant’s deficient contract, the contract should be deemed
11

12   void and unenforceable. 15 U.S.C. § 1679f(c).
13          e. Violation of CROA § 1679f(b)
14
       38. The CROA, pursuant to 15 U.S.C. § 1679f(b) provides that, “[a]ny attempt by
15

16   any person to obtain a waiver from any consumer of any protection provided by or
17   any right of the consumer under [the CROA] shall be treated as a violation of [the
18
     CROA].”
19

20     39. Defendant violated 15 U.S.C. § 1679f(b) through its attempt to obtain
21
     Plaintiff’s waiver of the protections afforded him under the CROA. Defendant’s
22
     contract attempts to get consumers to acknowledge the receipt of statutorily required
23

24   disclosures which were never provided. Defendant’s contract further attempts to
25
     waive the protection for consumers against credit repair organizations charging
26
     before the full completion of services, as it attempts to get consumers to agree that
27

28
                                                    9
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 1   Defendant’s fees are “earned” upon payment by Plaintiff, rather than when they fully
 2
     complete the services agreed to perform, as required by the CROA.
 3

 4      40.The CROA further dictates that any contract found not to be in compliance

 5   with the CROA “shall be treated as void” and “may not be enforced by any Federal
 6
     or State court or any other person.” 15 U.S.C. § 1679f(c).
 7

 8      WHEREFORE, Plaintiff, JOHNNY W. RIZO, respectfully requests that this
 9   Honorable Court enter judgment in his favor as follows:
10
        a. Declaring that the practices complained of herein are unlawful and violate
11         the aforementioned bodies of law;
12
        b. Awarding Plaintiff actual damages to be determined at trial, as provided
13         under 15 U.S.C. § 1679g(a)(1);
14
        c. Awarding Plaintiff punitive damages, in an amount to be determined at trial,
15         as provided under 15 U.S.C. § 1679g(a)(2)(A);
16
        d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15
17         U.S.C. § 1679g(a)(3); and
18
        e. Awarding any other relief as this Honorable Court deems just and
19
           appropriate.
20
                   COUNT II – VIOLATIONS OF THE CALIFORNIA CREDIT
21                      SERVICES ORGANIZATION ACT OF 1984
22
        41.Plaintiff restates and realleges paragraphs 1 through 40 as though fully set forth
23

24   herein.

25      42.Plaintiff is a “buyer” as defined by Cal. Civ. Code § 1789.12(c).
26
        43.Defendant is a “credit services organization” as defined by Cal. Civ. Code §
27

28   1789.12(a).
                                                10
                                    Exhibit "17"
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 1             a. Violation of CCSOA § 1789.13
 2
        44. The CCSOA, pursuant to Cal. Civ. Code § 1789.13, provides a list of
 3

 4   prohibited conduct for credit services organizations.

 5      45. Pursuant to § 1789.13(a), a credit services organization cannot “charge or
 6
     receive any money or other valuable consideration prior to full and complete
 7

 8   performance of the services the credit services organization has agreed to perform
 9   for or on behalf of the buyer.”
10
        46.Defendant violated § 1789.13(a) when it charged and received money from
11

12   Plaintiff without fully completing the services. As alluded to supra., Defendant
13   improperly retained Plaintiff’s payments without first fully performing the services
14
     justifying such retained payments.
15

16      47.Pursuant to § 1789.13(g), credit services organization cannot “[m]ake or use
17   untrue or misleading representations in the offer or sale of the services of a credit
18
     services organization.” Similarly, pursuant to § 1789.13(h), a credit services
19

20   organization cannot “[e]ngage, directly or indirectly, in an act, practice, or course of
21
     business that operates or would operate as a fraud or deception upon a person in
22
     connection with the offer or sale of the services of a credit service organization.”
23

24      48.Defendant violated §§ 1789.13(g)&(h) through its deceptive and misleading
25
     representations regarding the nature and efficacy of its services, as discussed supra.
26
               b. Violations of CCSOA §§ 1789.14-1789.15
27

28
                                                  11
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 1      49. The CCSOA, pursuant to Cal. Civ. Code § 1789.15, provides the extent of
 2
     information that must be provided to a buyer by a credit services organization under
 3

 4   § 1789.14.

 5      50.Defendant violated these provisions of the CCSOA by failing to provide
 6
     Plaintiff such disclosures and similarly failing to provide Plaintiff a copy of the
 7

 8   disclosures.
 9            c. Violations of CCSOA § 1789.16
10
        51. The CCSOA, much like the CROA, requires credit services organizations to
11

12   include a conspicuous statement regarding a consumer’s right to cancel a contract,
13   and also provide a duplicate “Notice of Cancellation” form. See Cal. Civ. Code §§
14
     1789.16(a)(1), (b).
15

16      52.Defendant violated §§ 1789.16(a)(1) and (b) by failing to provide the required
17   disclosure in the manner required by California law, and further by failing to provide
18
     a separate notice of cancellation form.
19

20      WHEREFORE, Plaintiff, JOHNNY W. RIZO, respectfully requests that this
21
     Honorable Court enter judgment in his favor as follows:
22
        a. Declaring that the practices complained of herein are unlawful and violate
23
           the aforementioned statutes and regulations;
24
        b. Awarding Plaintiff actual damages pursuant to Cal. Civ. Code § 1789.21(a);
25

26      c. Awarding Plaintiff punitive damages pursuant to Cal. Civ. Code §
           1789.21(a);
27

28
                                               12
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 1     d. Awarding Plaintiff’s costs and reasonable attorney fees, pursuant to Cal. Civ.
 2        Code § 1789.21(a); and

 3     e. Awarding any other relief as this Honorable Court deems just and
          appropriate.
 4

 5

 6
       Dated: October 31, 2022                    Respectfully submitted,
 7
                                                  /s/Bobby C. Walker
 8                                                Bobby C. Walker, Esq.
                                                  California Bar No. 321788
 9                                                Counsel for Plaintiff
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10                                                2500 S Highland Ave, Suite 200
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12

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                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                              Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)   Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
        only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
        then the official, giving both name and title.
  (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)".

,,     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
        in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
        United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
        United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
        to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
        precedence, and box 1 or 2 should be marked.
        Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
        cases.)

,,,    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
        section for each principal party.

,9     Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

9      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
        NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
        statue.

9,     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

9,,    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

9,,, Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.


Date and Attorney Signature. Date and sign the civil cover sheet.




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 5   Email: bwalker@sulaimanlaw.com
 6   Attorney for Plaintiff

 7

 8                        UNITED STATES DISTRICT COURT

 9                      CENTRAL DISTRICT OF CALIFORNIA

10

11    BEVERLY A. GRAHAM,                      Case No. 2:22-cv-07915

12                    Plaintiff,              COMPLAINT FOR DAMAGES

13          v.                                1. VIOLATIONS OF THE CREDIT
                                              REPAIR ORGANIZATIONS ACT, 15
14                                            U.S.C. §1679 ET SEQ.;
      THE LITIGATION PRACTICE
15    GROUP, PC,

16                    Defendant.              DEMAND FOR JURY TRIAL

17

18                                      COMPLAINT
19         NOW comes BEVERLY A. GRAHAM (“Plaintiff”), by and through the
20
     undersigned, complaining as to the conduct of THE LITIGATION PRACTICE
21

22
     GROUP, PC (“Defendant”) as follows:

23                                 NATURE OF THE ACTION
24      1. Plaintiff brings this action for damages pursuant to the Credit Repair
25
     Organizations Act (“CROA”) for Defendant’s unlawful conduct.
26

27                                 JURISDICTION AND VENUE

28
                                                   1
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 1      2. This action arises under and is brought pursuant to the CROA. Subject matter
 2
     jurisdiction is conferred upon this Court by 15 U.S.C §1679, as well as 28 U.S.C.
 3

 4   §§1331 and 1337, as the action arises under the laws of the United States.

 5      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant resides
 6
     within, conducts business within, and a substantial portion of the events or omissions
 7

 8   giving rise to the claims occurred within, the Central District of California.
 9                                           PARTIES
10
        4. Plaintiff is a natural “person,” as defined by 47 U.S.C. § 153(39), over 18 years
11

12   of age.
13      5. Defendant is a credit repair organization, debt settlement provider, and law
14
     corporation that offers its customers the ability to eliminate and resolve their debt
15

16   issues through Defendant’s myriad services, including assisting consumers with
17   resolving debts that would otherwise be unresolved, as well as through disputing
18
     information appearing on consumer’s credit reports so that such information could
19

20   be removed and in turn improve consumer’s credit scores. Defendant is a professional
21
     corporation organized under the laws of the state of California with its principal place
22
     of business located at 17542 17th Street, Suite 100, Tustin, California.
23

24      6. Defendant is a “person” as defined by 47 U.S.C. §153(39).
25
        7. Defendant acted through its agents, employees, officers, members, directors,
26
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives
27

28   and insurers at all times relevant to the instant action.
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 1                         FACTS SUPPORTING CAUSES OF ACTION
 2
        8. In approximately May of 2022, Plaintiff was seeking to improve her credit
 3

 4   and to take care of some obligations that were causing her financial difficulty.

 5      9. Plaintiff subsequently happened upon Defendant’s services
 6
        10. Upon speaking with Plaintiff, Defendant advised that its services included
 7

 8   disputing information that was appearing on, and negatively impacting, Plaintiff’s
 9   credit reports in order to get that information removed and to improve her credit.
10
        11. Defendant further offered various “legal” services in connection with its
11

12   disputes.
13      12. Defendant explicitly represented that its services would improve Plaintiff’s
14
     credit history, score, and rating, as Defendant advised that through the disputes,
15

16   Plaintiff’s credit report would improve by having negative information removed from
17   her credit report.
18
        13. Defendant further advised that Plaintiff’s monthly payments would be put into
19

20   a dedicated account, and Defendant would then use such funds to negotiate debts for
21
     reduced balances, which would further improve Plaintiff’s credit and result in her
22
     being debt free by having Defendant resolve obligations that she would otherwise be
23

24   unable to resolve on her own.
25
        14. Upon information and belief, Defendant explicitly informs consumers that the
26
     explicit purpose of its business is to restore consumer’s credit.
27

28
                                                    3
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 1      15. Plaintiff found Defendant’s services desirable as she believed that, by making
 2
     payments to Defendant instead of each individual creditor, her credit score would
 3

 4   improve and Defendant would take care of all of Plaintiff’s enrolled obligations.

 5      16. As a result, Plaintiff agreed to utilize Defendant’s services and entered into a
 6
     contract for the provision of the same.
 7

 8      17. Plaintiff subsequently began making her monthly payments to Defendant,
 9   which totaled approximately $349.00 per month.
10
        18. Plaintiff has been making payments for 4 months; however, Defendant has
11

12   failed to meaningfully deliver any services.
13      19. Upon information and belief, Defendant has been taking funds from
14
     Plaintiff’s monthly payments and, rather than use them to resolve the obligations as
15

16   represented, is instead applying such charges to various fees for services, including
17   legal services, that Defendant has not performed, let alone fully performed.
18
        20. Furthermore, upon information and belief, Defendant is engaged in a pattern
19

20   of practice of representing its service one way when speaking with consumers, only
21
     to cut against those very representations in the contractual documents Defendant has
22
     consumers sign.
23

24      21. Frustrated and distressed over Defendant’s conduct, Plaintiff spoke with the
25
      undersigned regarding her rights.
26
        22. Plaintiff has suffered concrete harm as a result of Defendant’s actions,
27

28    including but not limited to, emotional distress, aggravation, mental anguish,
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 1    pecuniary harm, denial of the benefit of her bargain, making payments for deficient
 2
      credit repair services, relying upon Defendant’s representations to her detriment,
 3

 4    being subjected to improper fees, as well as a violation of her federally protected

 5    interests – interests which were harmed and put at a material risk of harm as a result
 6
      of Defendant’s conduct.
 7

 8         COUNT I – VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT
 9      23.Plaintiff repeats and realleges paragraphs 1 through 22 as though fully set forth
10
     herein.
11

12      24.Plaintiff is a “consumer” as defined by 15 U.S.C. § 1679a(1) of the CROA.
13      25.Defendant is a “credit repair organization” as defined by §1679a(3) of the
14
     CROA, as it is a person who uses any instrumentality of interstate commerce or the
15

16   mails to sell, provide, or perform any service, in return for the payment of money or
17   other valuable consideration, for the express or implied purpose of improving a
18
     consumer’s credit, credit history, or credit rating, or providing assistance to any
19

20   consumer with regard to any activity or service for the purpose of improving a
21
     consumer’s credit.
22
               a. Violations of CROA § 1679b(a)
23

24      26.The CROA, pursuant to 15 U.S.C. § 1679b(a)(3) prohibits any person from
25
      “mak[ing] or us[ing] any untrue or misleading representation of the services of the
26
      credit repair organization.” Additionally, pursuant to 15 U.S.C. § 1679b(a)(4), any
27

28    person is prohibited from “engag[ing], directly or indirectly, in any act, practice, or
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 1    course of business that constitutes or results in the commission of, or an attempt to
 2
      commit, a fraud or deception on any person in connection with the offer or sale of
 3

 4    the services of the credit repair organization.”

 5      27. Defendant violated the above referenced provisions of the CROA through its
 6
      misrepresentations and deception as to the nature of the credit repair services it
 7

 8    would provide Plaintiff. Upon information and belief, Defendant represented to
 9    Plaintiff that all she had to do was pay Defendant a single monthly fee, and that
10
      Defendant would use those payments to resolve all of Plaintiff’s allegations.
11

12    However, in the contract Defendant has consumers sign, Defendant cuts against the
13    representations made orally, as rather than using the funds to settle the debts,
14
      Defendant uses the funds to pay for its charges and fees, and that any settlement
15

16    Defendant reaches will have to come out of Plaintiff’s pocket in addition to the
17    monthly payments. Defendant thus deceptively and misleadingly represents the
18
      nature of its services to induce consumers to sign up for its services, likely banking
19

20    on the notion that consumers will not carefully consider the contractual language
21
      being put in front of them by someone who has just promised to resolve all of their
22
      credit issues.
23

24          b. Violations of CROA § 1679b(b)
25
        28.The CROA, pursuant to 15 U.S.C. § 1679b(b), provides that “[n]o credit repair
26
      organization may charge or receive any money or other valuable consideration for
27

28
                                                   6
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 1    the performance of any service which the credit repair organization has agreed to
 2
      perform for any consumer before such service is fully performed.”
 3

 4      29.Defendant violated § 1679b(b) through its charging and receiving of money

 5    for services it agreed to perform for Plaintiff before such services were fully
 6
      performed. Defendant charged Plaintiff up-front fees and monthly fees unrelated to
 7

 8    any services Defendant fully performed, and further took portions of Plaintiff’s
 9    payments for certain “legal” fees that had not been performed and which were
10
      completely unnecessary for Plaintiff.
11

12          c. Violation of CROA § 1679c
13      30. The CROA provides that a credit repair organization must provide consumers
14
      with certain written disclosures in the contract underpinning the provision of credit
15

16    repair services to consumer. Pursuant to 15 U.S.C. § 1679c(b), “the written
17    statement required under this section shall be provided as a document which is
18
      separate from any written contract or other agreement between the credit repair
19

20    organization and the consumer or any other written material provided to the
21
      consumer.”
22
        31. Defendant violated 15 U.S.C. § 1679c through its failure to provide the written
23

24    disclosures required under § 1679c. Defendant never provided such disclosures, nor
25
      did it provide a separate document containing such disclosures.
26
            d. Violation of CROA §§ 1679d & 1679e
27

28
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 1      32. The CROA, pursuant to 15 U.S.C. § 1679d(4), requires credit repair
 2
      organization to include, in the contract between them and a consumer, “a
 3

 4    conspicuous statement in bold face type, in immediate proximity to the space

 5    reserved for the consumer’s signature on the contract, which reads as follows: ‘You
 6
      may cancel this contract without penalty or obligation at any time before midnight
 7

 8    of the 3rd business day after the date on which you signed the contract. See the
 9    attached notice of cancellation form for an explanation of this right.’” 15 U.S.C. §
10
      1679e further outlines the extent of a consumer’s cancellation rights under the
11

12    CROA, while requiring such disclosure to be given to consumers in writing and
13    separate from the contract.
14
        33. Defendant violated 15 U.S.C. § 1679d through its failure to provide the
15

16    requisite statutory disclosure in the manner required by the CROA. Defendant
17    further violated § 1679e through its failure to provide a notice of cancellation form
18
      to Plaintiff in its contract.
19

20      34.As a result of Defendant’s deficient contract, the contract should be deemed
21
      void and unenforceable. 15 U.S.C. § 1679f(c).
22
             e. Violation of CROA § 1679f(b)
23

24      35. The CROA, pursuant to 15 U.S.C. § 1679f(b) provides that, “[a]ny attempt by
25
      any person to obtain a waiver from any consumer of any protection provided by or
26
      any right of the consumer under [the CROA] shall be treated as a violation of [the
27

28    CROA].”
                                                     8
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 1      36. Defendant violated 15 U.S.C. § 1679f(b) through its attempt to obtain
 2
      Plaintiff’s waiver of the protections afforded him under the CROA. Defendant’s
 3

 4    contract attempts to waive the protection for consumers against credit repair

 5    organizations charging before the full completion of services, as it attempts to get
 6
      consumers to agree that Defendant’s fees are “earned” upon payment by Plaintiff,
 7

 8    rather than when they fully complete the services agreed to perform, as required by
 9    the CROA. Defendant further attempts to get consumer’s to contractually
10
      acknowledge the very opposite of what Defendant orally represented, illustrating
11

12    Defendant’s efforts to insulate itself from the knowingly false representations it
13    makes to consumers.
14
        37.The CROA further dictates that any contract found not to be in compliance
15

16    with the CROA “shall be treated as void” and “may not be enforced by any Federal
17    or State court or any other person.” 15 U.S.C. § 1679f(c).
18
        WHEREFORE, Plaintiff, BEVERLY A. GRAHAM, respectfully requests that
19

20   this Honorable Court enter judgment in her favor as follows:
21
        a. Declaring that the practices complained of herein are unlawful and violate
22         the aforementioned bodies of law;
23
        b. Awarding Plaintiff actual damages to be determined at trial, as provided
24         under 15 U.S.C. § 1679g(a)(1);
25
        c. Awarding Plaintiff punitive damages, in an amount to be determined at trial,
26         as provided under 15 U.S.C. § 1679g(a)(2)(A);
27
        d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15
28         U.S.C. § 1679g(a)(3); and
                                                  9
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 1

 2      e. Awarding any other relief as this Honorable Court deems just and
           appropriate.
 3

 4

 5      Dated: October 31, 2022                     Respectfully submitted,
 6
                                                    /s/Bobby C. Walker
 7                                                  Bobby C. Walker, Esq.
                                                    California Bar No. 321788
 8                                                  Counsel for Plaintiff
                                                    Sulaiman Law Group, Ltd
 9                                                  2500 S Highland Ave, Suite 200
                                                    Lombard, IL 60148
10                                                  Telephone: (630) 575-8181 Ext. 149
                                                    bwalker@sulaimanlaw.com
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


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                  COMPLAINT AND REQUEST FOR DECLARATORY
                         RELIEF AND JURY DEMAND
                                          Introduction

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DQG KDYH RWKHUZLVH DYDLOHG WKHPVHOYHV RI WKH 2KLR PDUNHWSODFH DQG VHFXUHG WKH EHQHILWV RI WKDW

PDUNHWSODFH 6XFK FRQGXFW LQFOXGHG DPRQJ RWKHU WKLQJV KROGLQJ LWVHOI RXW DV GHEW VHWWOHPHQW

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                                      Statement of Facts
           2Q RU EHIRUH -XQH   3ODLQWLIIV FRQWDFWHG /3* WR GLVFXVV SRVVLEOH GHEW

HOLPLQDWLRQ VHUYLFHV

             3ODLQWLII KDG VHYHUDO WHOHSKRQH FRQYHUVDWLRQV ZKHUHLQ VKH ZDV OHG WR EHOLHYH VKH

ZDV UHWDLQLQJ 'HIHQGDQW IRU GHEW DGMXVWPHQW VHUYLFHV ZKLFK QHFHVVDULO\ LQFOXGHG FUHGLW UHSDLU

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WKH GHEWV XQGHU WKH VWDWXWHV RI WKH &RQVXPHU )LQDQFLDO 3URWHFWLRQ %XUHDX DQG WKH )DLU 'HEW

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UHSUHVHQWDWLYH DOVR LQVWUXFWHG 3ODLQWLIIV WKH\ KDG D ULJKW WR ZLWKKROG SD\PHQWV WR WKHLU FUHGLWRUV

ZKLOH WKH DFFRXQWV ZHUH LQ GLVSXWH

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UHGXFHG SXUVXDQW WR KHU SDUWLFLSDWLRQ LQ WKH SURJUDP 3ODLQWLII¶V FUHGLW VFRUHV ZLOO QRW UHFRYHU

LQ WKH QHDU IXWXUH

            (QUROOLQJ LQ /3*¶V SURJUDP UHVXOWHG LQ QR UHGXFWLRQ WR 3ODLQWLII¶V WRWDO GHEW RZHG

DV DJUHHG LQ IDFW 3ODLQWLII¶V WRWDO LQGHEWHGQHVV LQFUHDVHG VXEVWDQWLDOO\ GXH WR LQWHUHVW DQG IHHV

            6KRUWO\ DIWHU HQUROOLQJ LQ 'HIHQGDQWV¶ SURJUDP D ODZVXLW ZDV ILOHG DJDLQVW

3ODLQWLII E\ RQH RI KHU FUHGLWRUV

            (QUROOLQJ LQ /3*¶V SURJUDP UHVXOWHG LQ QR SD\PHQWV EHLQJ PDGH WR 3ODLQWLII¶V

FUHGLWRUV

                8SRQ LQIRUPDWLRQ DQG EHOLHI WKH RQO\ VHUYLFHV SURYLGHG WR 3ODLQWLII IURP

'HIHQGDQW ZDV WKH PDLOLQJ RI YHULILFDWLRQ SDFNHWV WR 3ODLQWLII¶V FUHGLWRUV

                :KLOH 'HIHQGDQW UHSUHVHQWHG PDLOLQJ WKHVH SDFNHWV ZRXOG HOLPLQDWH 3ODLQWLII¶V

GHEW LW NQHZ WKLV UHSUHVHQWDWLRQ ZDV IDOVH DQG WKH PDLOLQJV ZRXOG KDYH QR OHJDO HIIHFW ZLWK

UHJDUG WR UHGXFLQJ 3ODLQWLII¶V GHEW

             'HIHQGDQW PDGH YDULRXV PLVUHSUHVHQWDWLRQV RU QRQGLVFORVXUHV LQ DQ HIIRUW WR

LQGXFH 3ODLQWLII WR HQWHU LQWR WKH LOOHJDO DJUHHPHQW LQFOXGLQJ EXW QRW OLPLWHG WR

                     8QVXEVWDQWLDWHG FODLPV RI VDYLQJV 'HIHQGDQW UHSUHVHQWHG WR 3ODLQWLII WKDW

                       WKH SURJUDP ZRXOG HOLPLQDWH KHU WRWDO GHEW KRZHYHU 'HIHQGDQW GRHV QRW

                       KDYH D UHFRUG RI DFFRPSOLVKPHQW WR VXSSRUW WKDW VWDWHPHQW

                      0LVOHDGLQJ RU IDLOLQJ WR DGHTXDWHO\ LQIRUP FRQVXPHUV LQFOXGLQJ 3ODLQWLII

                       WKDW WKH\ ZLOO EH VXEMHFW WR FRQWLQXHG FROOHFWLRQ HIIRUWV LQFOXGLQJ ODZVXLWV


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                    DQG WKDW WKHLU DFFRXQW EDODQFHV ZLOO LQFUHDVH GXH WR H[WHQGHG QRQSD\PHQW

                    XQGHU WKH SURJUDP

                  'HIHQGDQW UHSUHVHQWHG WKDW WKH PDMRULW\ RI FRQVXPHUV ZKLFK UHWDLQ LW JR RQ

                    WR FRPSOHWH WKH SURJUDP WKHUHE\ EHFRPLQJ GHEW IUHH KRZHYHU D KLJK

                    SHUFHQWDJH RI FRQVXPHUV ZKR DWWHPSW 'HIHQGDQW¶V GHEW YHULILFDWLRQ

                    SURJUDP GR QRW EHFRPH GHEW IUHH DV D UHVXOW RI LWV VHUYLFHV

                  'HIHQGDQW DFFHSWHG PRQH\ IURP 3ODLQWLII IRU WKH SXUSRVH RI HOLPLQDWLQJ DOO

                    GHEWV RQ WKH SURJUDP IRU OHVV WKDQ WKH DPRXQW RZHG NQRZLQJ WKHUH ZDV D

                    VXEVWDQWLDO OLNHOLKRRG WKDW WKH\ FRXOG QRW SURYLGH WKH VHUYLFHV DV SURPLVHG

                    'HIHQGDQW NQHZ LWV EXVLQHVV PRGHO ZDV OHJDOO\ XQVRXQG DQG QRQVHQVLFDO

           %DVHG XSRQ WKH PLVUHSUHVHQWDWLRQV RI WKH /3* UHSUHVHQWDWLYH 3ODLQWLII DJUHHG WR

HQWHU LQWR D FRQWUDFW IRU WKH GHEW UHOLHI VHUYLFHV RI /3*

           3ODLQWLII DJUHHG WR SD\ VSHFLILHG IHHV ZKLFK XQNQRZQ WR 3ODLQWLII ZHUH LOOHJDO GXH

WR WKH VXEVWDQWLDO DPRXQW RI WKH IHHV DQG UHTXLUHPHQW RI SD\PHQW XS IURQW

           /3* ZLWKGUHZ  LQ IHHV IURP 3ODLQWLII RYHU D SHULRG RI DSSUR[LPDWHO\

RQH \HDU

           7KH 7HOHPDUNHWLQJ 6DOHV 5XOH SURKLELWV GHEW UHOLHI FRPSDQLHV IURP FKDUJLQJ

XSIURQW IHHV SULRU WR VHWWOLQJ DFFRXQWV EHFDXVH DPRQJ RWKHU UHDVRQV VXFK D EXVLQHVV PRGHO LV

GHVLJQHG WR IDLO IURP WKH EHJLQQLQJ 765  &)5   D  L

           )XUWKHU JLYHQ WKH OHQJWK\ SHULRG RI WLPH FUHGLWRUV GR QRW UHFHLYH PRQH\ RZHG

 RIWHQWLPHV ZLWKRXW DQ\ FRQWDFW ZLWK WKH GHEW UHOLHI FRPSDQLHV RU WKH GHEWRU  WKH FUHGLWRU ZLOO

RIWHQ RSW WR EULQJ D ODZVXLW IRU PRQH\ RZHG

          'HIHQGDQW DGYLVHG 3ODLQWLII WR TXLW SD\LQJ KHU GHEWV NQRZLQJ WKH GHEW ZRXOG



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FRQWLQXH WR DFFXPXODWH LQWHUHVW RYHU WKH OLPLW IHHV DQG ODWH IHHV

           'HIHQGDQW UHSUHVHQWHG WKH\ ZRXOG DWWHPSW WR HOLPLQDWH 3ODLQWLII¶V WRWDO GHEW

EDODQFH E\ SURYLGLQJ D GHEW HOLPLQDWLRQ SURJUDP E\ VHQGLQJ YDOLGDWLRQ GRFXPHQWDWLRQ WR WKH

WKLUGSDUW\ FROOHFWRUV FROOHFWLQJ RQ WKH GHEWV LQ WKH SURJUDP KRSLQJ GHEW FROOHFWLRQ ZRXOG FHDVH

           :KLOH GLVFODLPLQJ WKDW LW LV SUDFWLFLQJ ODZ WKH YDVW PDMRULW\ RI VHUYLFHV /3*

DJUHHG WR SURYLGH 3ODLQWLII ZHUH LQ IDFW OHJDO VHUYLFHV 7KH $JUHHPHQW LV D OHJDO IHH DJUHHPHQW

ZKHUHE\ /3* DJUHHG WR SUDFWLFH ODZ DQG SURYLGH OHJDO VHUYLFHV LQ H[FKDQJH IRU PRQH\

           'HIHQGDQW¶V DFWLRQV GLG QRW UHGXFH 3ODLQWLII WRWDO GHEW EDODQFH DQG LQ IDFW 3ODLQWLII

RZHV PRUH PRQH\ DQG KDYH EHHQ VXHG RQ QXPHURXV DFFRXQWV HQUROOHG LQ WKH 'HIHQGDQW¶V GHEW

HOLPLQDWLRQ SURJUDP

                                      Count One:
          (Violations of the Ohio Consumer Sales Practices Act and Debt Adjustment
                                    Companies Act)

            3ODLQWLII UHSHDWV UHDOOHJHV DQG LQFRUSRUDWHV E\ UHIHUHQFH DOO RI WKH IRUHJRLQJ

SDUDJUDSKV

           7KH DFWLYLW\ GHVFULEHG LQ DOO SUHYLRXV SDUDJUDSKV LV D ³FRQVXPHU WUDQVDFWLRQ´ DV

GHILQHG E\ 5&   $  'HIHQGDQW VROLFLWHG DQG UHWDLQHG 3ODLQWLII WR SHUIRUP GHEW

DGMXVWPHQW VHUYLFHV IRU D IHH

           3ODLQWLII¶V GHEWV DW LVVXH ZHUH LQFXUUHG IRU SHUVRQDO IDPLO\ DQGRU KRXVHKROG XVH

           'HIHQGDQW LV D ³VXSSOLHU´ DV WKDW WHUP LV GHILQHG LQ 5&   &  VLQFH

'HIHQGDQW HQJDJHG LQ WKH EXVLQHVV RI HIIHFWLQJ ³FRQVXPHU WUDQVDFWLRQV´ HLWKHU GLUHFWO\ RU

LQGLUHFWO\ E\ RSHUDWLQJ D GHEW DGMXVWPHQWV VHUYLFH IRU FRQVXPHUV LQ 2KLR IRU SXUSRVHV WKDW DUH

SULPDULO\ IRU SHUVRQDO IDPLO\ RU KRXVHKROG ZLWKLQ WKH PHDQLQJ VSHFLILHG LQ 5&   $ 

           'HIHQGDQW LV D ³SHUVRQ´ DV GHILQHG E\ WKH '$&$ 5&   $ HQJDJHG LQ


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WKH DFW RI ³GHEW DGMXVWLQJ´ DV GHILQHG E\ WKH '$&$ 5&   %  DQG D ³VXSSOLHU´ DV

GHILQHG E\ WKH 2&63$ 5&   &  VLQFH 'HIHQGDQW ZDV HQJDJHG LQ WKH EXVLQHVV RI

GHEW DGMXVWLQJ EXGJHW FRXQVHOLQJ GHEW PDQDJHPHQW RU GHEW SRROLQJ VHUYLFHV RU KROGLQJ

RQHVHOI RXW E\ ZRUGV RI VLPLODU LPSRUW DV SURYLGLQJ VHUYLFHV WR GHEWRUV LQ WKH PDQDJHPHQW RI

WKHLU GHEW WR D FRQVXPHU LQ WKH 6WDWH RI 2KLR IRU SXUSRVHV WKDW ZHUH SULPDULO\ IRU SHUVRQDO

IDPLO\ RU KRXVHKROG XVH

          3ODLQWLII LV D ³FRQVXPHU´ DV GHILQHG E\ WKH 2&63$ 5&   ' 

          'HIHQGDQW FKDUJHG DQG DFFHSWHG IHHV RU FRQWULEXWLRQV LQ H[FHVV RI ZKDW DUH

UHDVRQDEOH IHHV RU FRQWULEXWLRQV LQ YLRODWLRQ RI 5&   $    %  DQG

 )   'HIHQGDQW NQHZ WKDW WKH GHEW VHWWOHPHQW SURJUDP¶V IHHV H[FHHGHG WKH DPRXQW

SHUPLWWHG E\ 5&   % 

          8SRQ LQIRUPDWLRQ DQG EHOLHI 'HIHQGDQW IDLOHG WR DUUDQJH IRU DQG XQGHUJR DQ DXGLW

FRQGXFWHG E\ DQ LQGHSHQGHQW WKLUG SDUW\ FHUWLILHG SXEOLF DFFRXQWDQW RI WKH SHUVRQ¶V EXVLQHVV

DQG WKHQ ILOH WKH DXGLW DQG RSLQLRQ ZLWK WKH FRQVXPHU SURWHFWLRQV GLYLVLRQ RI WKH DWWRUQH\

JHQHUDO LQ YLRODWLRQ RI 5&   '  DQG  )  

          8SRQ LQIRUPDWLRQ DQG EHOLHI 'HIHQGDQW IDLOHG WR REWDLQ DQG PDLQWDLQ LQVXUDQFH

FRYHUDJH QRW OHVV WKDQ  IRU HPSOR\HH GLVKRQHVW\ IRUJHU\ DQG IUDXG LQ YLRODWLRQ RI

5&   (  DQG  )  

          'HIHQGDQW¶V WUDQVDFWLRQV IDLOHG WR LQFOXGH WKH QRWLFHV VWDWHPHQWV DQG

FDQFHOODWLRQ IRUPV DV GHILQHG E\ 5&   $ DQG %  6XFK IDLOXUH LV D YLRODWLRQ RI 5&

  $ RI WKH 2&63$ 'HIHQGDQW FRPPLWWHG XQIDLU GHFHSWLYH DQG XQFRQVFLRQDEOH DFWV

RU SUDFWLFHV LQ YLRODWLRQ RI 5&   $ DQGRU  $ RI WKH &RQVXPHU 6DOHV

3UDFWLFHV $FW LQFOXGLQJ



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                'HIHQGDQW RSHUDWHG D GHEW VHWWOHPHQW FRPSDQ\ LQ WKH 6WDWH RI 2KLR ZLWKRXW

                  FRPSO\LQJ ZLWK DSSOLFDEOH 2KLR ODZ QDPHO\ 5&   HW VHT

                'HIHQGDQW FKDUJHG DQ H[FHVVLYH IHH IRU GHEW DGMXVWLQJ DQG IDLOHG WR SURYLGH

                  WKH VHUYLFH SXUVXDQW WR WKH )DLOXUH WR 'HOLYHU 5XOH 2$&   $ 

                'HIHQGDQW LV DQ RXW RI VWDWH FRUSRUDWLRQV IDLOHG WR UHJLVWHU ZLWK WKH 2KLR

                  6HFUHWDU\ RI 6WDWH SULRU WR GRLQJ EXVLQHVV LQ 2KLR DV UHTXLUHG E\ 5& 

                  

                'HIHQGDQW PDGH IDOVH RU PLVOHDGLQJ VWDWHPHQWV WR LQGXFH D SXUFKDVHU WR SD\

                  IRU VHUYLFHV

                'HIHQGDQW HQJDJHG LQ GHEW DGMXVWPHQW DFWLYLWLHV LQFOXGLQJ KROGLQJ RXW WKDW

                  LW FRXOG DIIHFW WKH DGMXVWPHQW FRPSURPLVH RU GLVFKDUJH RI DQ\ DFFRXQW

                  QRWH RU RWKHU LQGHEWHGQHVV RI FRQVXPHUV ZKR VLJQ XS IRU LWV VHUYLFHV

                  ZLWKRXW FRPSO\LQJ ZLWK 5&   $ DQG %  VSHFLILFDOO\ WKDW

                  'HIHQGDQW FKDUJHG IHHV LQ H[FHVV RI WKRVH SHUPLWWHG E\ WKH 2KLR 'HEW

                  $GMXVWHUV $FW

                'HIHQGDQW YLRODWHG 2KLR $GP &RGH   $ E\ DFFHSWLQJ PRQH\

                  IURP FRQVXPHUV IRU JRRGV RU VHUYLFHV RUGHUHG E\ PDLO WHOHSKRQH RU

                  RWKHUZLVH DQG WKHQ IDLOHG WR PDNH IXOO GHOLYHU\ RU PDNH D IXOO UHIXQG DV

                  SURPLVHG

                'HIHQGDQW KDG NQRZOHGJH RI WKH LQDELOLW\ RI WKH FRQVXPHU WR UHFHLYH D

                  VXEVWDQWLDO EHQHILW IURP WKH VXEMHFW RI WKH FRQVXPHU WUDQVDFWLRQ

                'HIHQGDQW UHTXLUHG WKH FRQVXPHU WR HQWHU LQWR D FRQVXPHU WUDQVDFWLRQ RQ

                  WHUPV WKH VXSSOLHU NQHZ ZHUH VXEVWDQWLDOO\ RQHVLGHG LQ IDYRU RI WKH



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                   VXSSOLHU

          6XFK DFWV DQG SUDFWLFHV KDYH EHHQ SUHYLRXVO\ GHWHUPLQHG E\ 2KLR FRXUWV WR YLRODWH

WKH &RQVXPHU 6DOHV 3UDFWLFHV $FW 5&   HW VHT

       38.   'HIHQGDQW FRPPLWWHG VDLG YLRODWLRQ DIWHU VXFK GHFLVLRQV ZHUH DYDLODEOH IRU SXEOLF

LQVSHFWLRQ SXUVXDQW WR 5&   $   State ex rel. Petro v. Debticated Consumer

Counseling, Inc. /XFDV &R &3   &DVH 1R &,2   3,)   State of Ohio

ex rel. Cordray v. United Law Group, Inc. )UDQNOLQ &R &3  , &DVH 1R  &9+ 

 3,)   State of Ohio, ex rel. Cordray v. Brotherton *UHHQH &R &3   &DVH 1R

 &9  3,)   In Re Nationwide Debt Solution, Inc.   'RFNHW 1R 

 3,)   In Re Budulator Corporation, Inc.   'RFNHW 1R  3,)   State

of Ohio ex rel. Rogers v. Richard Pinnix d/b/a Pinnix Business Services )UDQNOLQ &R &3

  &DVH 1R &9+ 3,)   State of Ohio ex rel. Dann v. American Housing

Authority, Inc. /XFDV &R &3   &DVH 1R &, 3,)   State of Ohio ex

rel. Petro v. AAA All Ohio Roofing, et al. )UDQNOLQ &R &3   &DVH 1R &9+

 3,)   State ex rel. Montgomery v. Bayview Group, Inc. )UDQNOLQ &R &3   &DVH

1R &9+  3,)  

          3ODLQWLII KDV VXIIHUHG GDPDJHV GXH WR WKH LOOHJDO DQG GHFHSWLYH DFWV LQ YLRODWLRQ RI

WKH 2KLR &RQVXPHU 6DOHV 3UDFWLFHV $FW LQ WKDW

                 6KH SDLG IHHV WKDW ZHUH ERWK LOOHJDO DQG ZHUH QRW LQ H[FKDQJH IRU DQ\ VHUYLFHV

                   RI YDOXH

                 6KH TXLW SD\LQJ KHU FUHGLWRUV XSRQ WKH DGYLFH RI 'HIHQGDQW¶V UHSUHVHQWDWLYHV

                   DQG WKH PDQ\ PLVUHSUHVHQWDWLRQV WKDW ZHUH PDGH WR KHU GHVFULEHG LQ WKH

                   &RPSODLQW



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                   $V D UHVXOW KHU FUHGLWRUV H[HUFLVHG WKHLU ULJKW WR WKH GHIDXOW LQWHUHVW UDWH

                     DFFHOHUDWLQJ WKH EDODQFHV RZHG E\ HQRUPRXV DPRXQWV WR EH GHWHUPLQHG DW

                     WULDO

                   6KH VXIIHUHG PHQWDO DQG HPRWLRQDO KDUGVKLS PHQWDO DQG HPRWLRQDO VWUHVV

                     DQG DQ[LHW\

                                          Count Two:
                  (Violations of the Ohio Credit Services Organizations Act)
           3ODLQWLII UHSHDWV UHDOOHJHV DQG LQFRUSRUDWHV E\ UHIHUHQFH DOO RI WKH IRUHJRLQJ

SDUDJUDSKV

           'HIHQGDQW LV D FUHGLW VHUYLFH RUJDQL]DWLRQ DV GHILQHG E\ 5&   &  LQ

WKDW 'HIHQGDQW DFFHSWHG PRQH\ LQ RUGHU WR LPSURYH 3ODLQWLIIV¶ FUHGLW UHFRUG DQG JDYH DGYLFH LQ

FRQQHFWLRQ ZLWK GRLQJ VR

           3ODLQWLII LV D EX\HU DV GHILQHG E\ 5&   $ LQ WKDW VKH ZDV VROLFLWHG DQG

SXUFKDVHG WKH VHUYLFHV RI 'HIHQGDQW

           'HIHQGDQW KDV IDLOHG WR UHJLVWHU DV D FUHGLW VHUYLFHV RUJDQL]DWLRQ ZLWK WKH 2KLR

'LYLVLRQ RI )LQDQFLDO ,QVWLWXWLRQV LQ YLRODWLRQ RI 5&   $ 

           3XUVXDQW WR 5&  $  'HIHQGDQW¶V YLRODWLRQ RI 5&   $

FRQVWLWXWHV XQIDLU RU GHFHSWLYH DFWV RU SUDFWLFHV LQ YLRODWLRQ RI 5&  

           3ODLQWLII KDV VXIIHUHG GDPDJHV GXH WR WKH LOOHJDO DQG GHFHSWLYH DFWV LQ YLRODWLRQ RI

WKH 2KLR &UHGLW 6HUYLFHV 2UJDQL]DWLRQ $FW LQ WKDW

                   VKH SDLG IHHV WKDW ZHUH ERWK LOOHJDO DQG ZHUH QRW LQ H[FKDQJH IRU DQ\ VHUYLFHV

                     RI YDOXH

                   VKH TXLW SD\LQJ KHU FUHGLWRUV XSRQ WKH DGYLFH RI 'HIHQGDQW¶V UHSUHVHQWDWLYHV

                     DQG WKH PDQ\ PLVUHSUHVHQWDWLRQV WKDW ZHUH PDGH WR KHU GHVFULEHG LQ WKH


                                                                                                     

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                      &RPSODLQW

                    $V D UHVXOW KHU FUHGLWRUV H[HUFLVHG WKHLU ULJKW WR WKH GHIDXOW LQWHUHVW UDWH

                      DFFHOHUDWLQJ WKH EDODQFHV RZHG E\ HQRUPRXV DPRXQWV WR EH GHWHUPLQHG DW

                      WULDO

                    6KH VXIIHUHG PHQWDO DQG HPRWLRQDO KDUGVKLS PHQWDO DQG HPRWLRQDO VWUHVV

                      DQG DQ[LHW\

                                          Count Three:
                      (Violations of the Credit Repair Organizations Act)

           3ODLQWLII UHSHDWV UHDOOHJHV DQG LQFRUSRUDWHV E\ UHIHUHQFH DOO RI WKH IRUHJRLQJ

SDUDJUDSKV

           7KH &UHGLW 5HSDLU 2UJDQL]DWLRQV $FW ZDV HQDFWHG WR HQVXUH WKDW SURVSHFWLYH

EX\HUV RI WKH VHUYLFHV RI FUHGLW UHSDLU RUJDQL]DWLRQV DUH SURYLGHG ZLWK WKH LQIRUPDWLRQ QHFHVVDU\

WR PDNH DQ LQIRUPHG GHFLVLRQ UHJDUGLQJ WKH SXUFKDVH RI VXFK VHUYLFHV DQG WR SURWHFW WKH SXEOLF

IURP XQIDLU RU GHFHSWLYH DGYHUWLVLQJ DQG EXVLQHVV SUDFWLFHV E\ FUHGLW UHSDLU RUJDQL]DWLRQV 

86&   E  7KH &52$ SURYLGHV WKDW D FUHGLW UHSDLU RUJDQL]DWLRQ

                  D 0D\ QRW FKDUJH RU UHFHLYH DQ\ PRQH\ RU RWKHU YDOXDEOH FRQVLGHUDWLRQ IRU

                     VHUYLFHV ZKLFK WKH FUHGLW UHSDLU RUJDQL]DWLRQ KDV DJUHHG WR SHUIRUP EHIRUH

                     VXFK VHUYLFH LV IXOO\ SHUIRUPHG  86&   E 

                  E 0D\ QRW SURYLGH VHUYLFHV ZLWKRXW D ZULWWHQ DQG GDWHG FRQWUDFW WKDW LQFOXGHV

                     D IXOO DQG GHWDLOHG GHVFULSWLRQ RI WKH VHUYLFHV WR EH SHUIRUPHG DQG RWKHU WHUPV

                     DQG FRQGLWLRQV VHW IRUWK LQ  86&  G D   G E 

                  F 0XVW SURYLGH WR WKH FRQVXPHU EHIRUH DQ\ FRQWUDFW RU DJUHHPHQW EHWZHHQ WKH

                     FRQVXPHU DQG WKH FUHGLW UHSDLU RUJDQL]DWLRQ LV H[HFXWHG WKH ZULWWHQ

                     VWDWHPHQW VHW IRUWK LQ 6HFWLRQ  D RI &52$ FRQFHUQLQJ FRQVXPHU FUHGLW

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                     ILOH ULJKWV XQGHU VWDWH DQG IHGHUDO ODZ DQG WKH ULJKW WR FDQFHO D FRQWUDFW ZLWK

                     D FUHGLW UHSDLU RUJDQL]DWLRQ  86&  F DQG

                  G 0XVW DOORZ D FRQVXPHU WR FDQFHO DQ\ FRQWUDFW ZLWK WKH FUHGLW UHSDLU

                     RUJDQL]DWLRQ ZLWKRXW SHQDOW\ RU REOLJDWLRQ LI WKH FRQVXPHU QRWLILHV WKH FUHGLW

                     UHSDLU RUJDQL]DWLRQ RI WKH FRQVXPHU¶V LQWHQWLRQ WR FDQFHO EHIRUH PLGQLJKW RI

                     WKH WKLUG EXVLQHVV GD\ DIWHU WKH GDWH WKH FRQWUDFW EHWZHHQ WKH FRQVXPHU DQG

                     WKH FUHGLW UHSDLU RUJDQL]DWLRQ LV H[HFXWHG  86&  H

           'HIHQGDQW LV ³FUHGLW UHSDLU RUJDQL]DWLRQV´ DV WKDW WHUP LV GHILQHG LQ WKH &UHGLW

5HSDLU 2UJDQL]DWLRQV $FW ³&52$´  EHFDXVH WKH\ XVH LQVWUXPHQWDOLWLHV RI LQWHUVWDWH FRPPHUFH

WR VHOO SURYLGH RU SHUIRUP RU UHSUHVHQW WKDW VXFK GHIHQGDQW FDQ RU ZLOO VHOO SURYLGH RU

SHUIRUP D VHUYLFH IRU WKH H[SUHVV RU LPSOLHG SXUSRVH RI LPSURYLQJ D FRQVXPHU¶V FUHGLW UHFRUG

FUHGLW KLVWRU\ RU FUHGLW UDWLQJ DQG WKLV VHUYLFH LV RIIHUHG LQ UHWXUQ IRU WKH SD\PHQW RI PRQH\

 86&  D  

           'HIHQGDQW UHFHLYHG PRQH\ SULRU WR IXOO\ SHUIRUPLQJ LWV VHUYLFHV DQG IDLOHG WR

SURYLGH DQ\ RI WKH SURSHU GLVFORVXUHV FRQWUDFWV RU ULJKW WR FDQFHO IRUPV

          'HIHQGDQW¶V FRQGXFW DV DOOHJHG LQ &RXQW 7KUHH RI WKLV &RPSODLQW YLRODWHV WKH

&UHGLW 5HSDLU 2UJDQL]DWLRQV $FW DQG WKH 'HIHQGDQWV DUH OLDEOH IRU WKHVH YLRODWLRQV

          3ODLQWLII KDV VXIIHUHG GDPDJHV GXH WR WKH LOOHJDO DQG GHFHSWLYH DFWV LQ YLRODWLRQ RI

WKH &UHGLW 5HSDLU 2UJDQL]DWLRQ $FW LQ WKDW

                    6KH SDLG IHHV WKDW ZHUH ERWK LOOHJDO DQG ZHUH QRW LQ H[FKDQJH IRU DQ\ VHUYLFHV

                      RI YDOXH

                    6KH TXLW SD\LQJ KHU FUHGLWRUV XSRQ WKH DGYLFH RI 'HIHQGDQW¶V UHSUHVHQWDWLYHV

                      DQG WKH PDQ\ PLVUHSUHVHQWDWLRQV WKDW ZHUH PDGH WR WKHP GHVFULEHG LQ WKH


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                     &RPSODLQW

                   $V D UHVXOW KHU FUHGLWRUV H[HUFLVHG WKHLU ULJKW WR WKH GHIDXOW LQWHUHVW UDWH

                     DFFHOHUDWLQJ WKH EDODQFHV RZHG E\ HQRUPRXV DPRXQWV WR EH GHWHUPLQHG DW

                     WULDO

                   6KH VXIIHUHG PHQWDO DQG HPRWLRQDO KDUGVKLS PHQWDO DQG HPRWLRQDO VWUHVV

                     DQG DQ[LHW\

                                         Count Four:
                              (Fraud / Fraud in the Inducement)
            3ODLQWLII UHSHDWV UHDOOHJHV DQG UHLQFRUSRUDWHV E\ UHIHUHQFH DOO RI WKH IRUHJRLQJ

SDUDJUDSKV

            3ODLQWLII VSHFLILFDOO\ UHOLHG RQ WKH UHSUHVHQWDWLRQV PLVUHSUHVHQWDWLRQV QRQ

GLVFORVXUHV DQG LPSOLHG UHSUHVHQWDWLRQV GHVFULEHG LQ 3DUDJUDSKV  WKURXJK  ZKHQ PDNLQJ WKH

GHWHUPLQDWLRQ WR HQWHU LQWR D FRQWUDFW RU FRQWLQXH XVLQJ WKH VHUYLFHV RI 'HIHQGDQW

            'HIHQGDQW WKURXJK UHSUHVHQWDWLRQV ZHEVLWHV DQG WKH $JUHHPHQW FUHDWH WKH

DSSHDUDQFH WKDW 3ODLQWLII LV HQWHULQJ LQWR DQ DJUHHPHQW WKDW ZLOO JUHDWO\ UHGXFH KHU RXWVWDQGLQJ

GHEWV

            'HIHQGDQW HQJDJHG LQ WKH XQODZIXO FRQGXFW SUHYLRXVO\ DOOHJHG ZLWK WKH DFWXDO

DQGRU LPSXWHG NQRZOHGJH RI WKH XQODZIXO FRQGXFW

            'HIHQGDQW NQRZLQJO\ HQJDJHG LQ VXFK FRQGXFW ZLWK WKH SXUSRVH RI LQGXFLQJ

SD\PHQW IURP 3ODLQWLII

            3ODLQWLII KDYH EHHQ LQMXUHG E\ WKH ZURQJIXO DQG IUDXGXOHQW FRQGXFW RI 'HIHQGDQW

DQG KDYH EHHQ GDPDJHG LQ DQ DPRXQW WR EH HVWDEOLVKHG DW WULDO DV ZHOO DV HQWLWOHG WR SXQLWLYH

GDPDJHV LQ DQ DPRXQW WR EH HVWDEOLVKHG DW WULDO

                                           Count Five:
                          (Violations of the Telemarketing Sales Rule)

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           3ODLQWLII UHSHDWV UHDOOHJHV DQG UHLQFRUSRUDWHV E\ UHIHUHQFH DOO RI WKH IRUHJRLQJ

SDUDJUDSKV

           7KH 7HOHPDUNHWLQJ 6DOHV 5XOH ³765´ ZDV SURPXOJDWHG IRU WKH H[SOLFLW SXUSRVH

RI SUHYHQWLQJ FRQVXPHU KDUP IURP GHEW UHOLHI RSHUDWLRQV OLNH WKH YHQWXUH RI WKH 'HIHQGDQW LQ

WKLV FDVH

           7KH 765  &)5   P  GHILQHV ³GHEW UHOLHI VHUYLFH´ DV ³DQ\ SURJUDP RU

VHUYLFH UHSUHVHQWHG GLUHFWO\ RU E\ LPSOLFDWLRQ WR UHQHJRWLDWH VHWWOH RU LQ DQ\ ZD\ DOWHU WKH

WHUPV RI SD\PHQWV RU RWKHU WHUPV RI WKH GHEW EHWZHHQ D SHUVRQ DQG RQH RU PRUH XQVHFXUHG

FUHGLWRUV RU GHEW FROOHFWRUV LQFOXGLQJ EXW QRW OLPLWHG WR D UHGXFWLRQ LQ WKH EDODQFH LQWHUHVW

UDWH RU IHHV RZHG E\ D SHUVRQ WR DQ XQVHFXUHG FUHGLWRU RU GHEW FROOHFWRU´

           7KH 765  &)5   GG  GHILQHV ³WHOHPDUNHWLQJ´ DV ³D SODQ SURJUDP RU

FDPSDLJQ ZKLFK LV FRQGXFWHG WR LQGXFH WKH SXUFKDVH RI JRRGV RU VHUYLFHV RU D FKDULWDEOH

FRQWULEXWLRQ E\ XVH RI RQH RU PRUH WHOHSKRQHV DQG ZKLFK LQYROYHV PRUH WKDQ RQH LQWHUVWDWH

WHOHSKRQH FDOO´

           7KH 765  &)5   DD  GHILQHV ³VHOOHU´ DV ³DQ\ SHUVRQ ZKR LQ

        FRQQHFWLRQ ZLWK D WHOHPDUNHWLQJ WUDQVDFWLRQ SURYLGHV RIIHUV WR SURYLGH RU DUUDQJHV IRU

RWKHUV WR SURYLGH JRRGV RU VHUYLFHV WR WKH FXVWRPHU LQ H[FKDQJH IRU FRQVLGHUDWLRQ´

           7KH 765  &)5   FF  GHILQHV ³WHOHPDUNHWHU´ DV ³DQ\ SHUVRQ ZKR LQ

FRQQHFWLRQ ZLWK WHOHPDUNHWLQJ LQLWLDWHV RU UHFHLYHV WHOHSKRQH FDOOV WR RU IURP D FXVWRPHU RU

GRQRU´

           'HIHQGDQWV DUH ³VHOOHUV´ RU ³WHOHPDUNHWHUV´ RI ³GHEW UHOLHI VHUYLFHV´ ZKR HQJDJHV

LQ ³WHOHPDUNHWLQJ´ DV GHILQHG LQ WKH 765

           7KH 765  &)5   D  L  SURYLGHV WKDW D VHOOHU RU D WHOHPDUNHWHU PD\


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QRW UHTXHVW RU UHFHLYH SD\PHQW RI DQ\ IHH RU FRQVLGHUDWLRQ IRU DQ\ GHEW UHOLHI VHUYLFH XQWLO DQG

XQOHVV DPRQJ RWKHU WKLQJV ³WKH VHOOHU RU WHOHPDUNHWHU KDV UHQHJRWLDWHG VHWWOHG UHGXFHG RU

RWKHUZLVH DOWHUHG WKH WHUPV RI DW OHDVW RQH GHEW SXUVXDQW WR D VHWWOHPHQW DJUHHPHQW GHEW

PDQDJHPHQW SODQ RU RWKHU VXFK YDOLG FRQWUDFWXDO DJUHHPHQW H[HFXWHG E\ WKH FXVWRPHU´ DQG

³WKH FXVWRPHU KDV PDGH DW OHDVW RQH SD\PHQW´ SXUVXDQW WRR VXFK DQ DJUHHPHQW RU SODQ

           7KH 765  &)5   D  LL  SURYLGHV WKDW D VHOOHU RU D WHOHPDUNHWHU PD\

UHTXHVW RU UHTXLUH FXVWRPHUV WR SODFH IXQGV LQ DQ DFFRXQW WR EH XVHG IRU WKH GHEW UHOLHI SURYLGHU¶V

IHHV DQG IRU SD\PHQWV WR FUHGLWRUV RU GHEW FROOHFWRUV LQ FRQQHFWLRQ ZLWK WKH UHQHJRWLDWLRQ RU

VHWWOHPHQW RI D GHEW SURYLGHG WKDW DPRQJ RWKHU WKLQJV WKH FXVWRPHU RZQV WKH IXQGV KHOG LQ

WKH DFFRXQW DQG LV SDLG LQWHUHVW RQ WKH DFFRXQW´ DQG ³WKH FXVWRPHU PD\ ZLWKGUDZ IURP WKH GHEW

UHOLHI VHUYLFH DW DQ\ WLPH ZLWKRXW SHQDOW\ DQG PXVW UHFHLYH DOO IXQGV LQ WKH DFFRXQW RWKHU WKDW

IXQGV HDUQHG E\ WKH GHEW UHOLHI VHUYLFH LQ FRPSOLDQFH ZLWK   D  L $ WKURXJK & 

ZLWKLQ VHYHQ  EXVLQHVV GD\V RI WKH FRQVXPHU¶V UHTXHVW´

           7KH 765  &)5   D  LL  SURKLELWV D VHOOHU RU WHOHPDUNHWHU IURP

PLVUHSUHVHQWLQJ GLUHFWO\ RU E\ LPSOLFDWLRQ LQ WKH VDOH RI JRRGV RU VHUYLFHV DQ\ PDWHULDO

UHVWULFWLRQ OLPLWDWLRQ RU FRQGLWLRQ WR SXUFKDVH UHFHLYH RU XVH JRRGV RU VHUYLFHV WKDW DUH WKH

VXEMHFW RI WKH VDOHV RIIHU

            7KH 765  &)5   D  LLL  SURKLELWV D VHOOHU RU WHOHPDUNHWHU IURP

PLVUHSUHVHQWLQJ GLUHFWO\ RU E\ LPSOLFDWLRQ LQ WKH VDOH RI JRRGV RU VHUYLFHV DQ\ PDWHULDO DVSHFW

RI WKH SHUIRUPDQFH HIILFDF\ QDWXUH RU FHQWUDO FKDUDFWHULVWLFV RI JRRGV RU VHUYLFHV WKDW DUH WKH

VXEMHFW RI D VDOHV RIIHU

           7KH 765  &)5   D  [  SURKLELWV D VHOOHU RU WHOHPDUNHWHU IURP

PLVUHSUHVHQWLQJ GLUHFWO\ RU E\ LPSOLFDWLRQ LQ WKH VDOH RI JRRGV RU VHUYLFHV DQ\ PDWHULDO DVSHFW



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RI DQ\ GHEW UHOLHI VHUYLFH

            ,Q WKH FRXUVH RI WHOHPDUNHWLQJ GHEW UHOLHI VHUYLFHV 'HIHQGDQW KDV UHTXHVWHG DQG

UHFHLYHG SD\PHQW RI IHHV IURP 3ODLQWLIIV IRU GHEW UHOLHI VHUYLFHV EHIRUH UHQHJRWLDWLQJ

VHWWOLQJ UHGXFLQJ RU RWKHUZLVH DOWHULQJ WKH WHUPV RI KLV GHEWV 'HIHQGDQW UHTXHVWHG DQG UHFHLYHG

SD\PHQW RI WKHVH IHHV SULRU WR 3ODLQWLIIV PDNLQJ DW OHDVW RQH SD\PHQW SXUVXDQW WR DQ\ VHWWOHPHQW

DJUHHPHQW GHEWPDQDJHPHQW SODQ RU RWKHU YDOLG FRQWUDFWXDO DJUHHPHQW EHWZHHQ 3ODLQWLIIV DQG

WKHLU FUHGLWRUV

         7KHUHIRUH 'HIHQGDQW¶V DFW RU SUDFWLFHV YLRODWH WKH 765  &)5

  D  L  DQG DUH DEXVLYH DFWV RU SUDFWLFHV LQ WHOHPDUNHWLQJ

            3ODLQWLII ZDV FKDUJHG DGYDQFHV IHHV IRU 'HIHQGDQW¶V GHEW UHOLHI VHUYLFHV

            7KHUHIRUH 'HIHQGDQW¶V UHSUHVHQWDWLRQV DV GHVFULEHG KHUHLQ YLRODWH WKH 765

&)5   D  LL DQG [  DQG DUH GHFHSWLYH DFWV RU SUDFWLFHV LQ WHOHPDUNHWLQJ

            ,Q QXPHURXV LQVWDQFHV LQ FRQQHFWLRQ ZLWK DGYHUWLVLQJ PDUNHWLQJ SURPRWLQJ

RIIHULQJ IRU VDOH RU VDOH RI GHEW UHOLHI VHUYLFHV 'HIHQGDQW UHSUHVHQWHG WR 3ODLQWLII GLUHFWO\ RU

LQGLUHFWO\ H[SUHVVO\ RU E\ LPSOLFDWLRQ WKDW KHU WRWDO GHEW DPRXQW ZRXOG EH UHGXFHG E\ XS WR



            ,Q IDFW 'HIHQGDQW GRHV QRW KDYH D WUDFN UHFRUG RI FRQVLVWHQW GHEW UHGXFWLRQ RI WKLV

GHJUHH LI DQ\ DW DOO

            7KHUHIRUH 'HIHQGDQW¶V UHSUHVHQWDWLRQV DV GHVFULEHG KHUHLQ YLRODWH WKH 765

&)5   D  LLL DQG [  DQG DUH GHFHSWLYH DFWV RU SUDFWLFHV LQ WHOHPDUNHWLQJ

            ,Q DGGLWLRQ 'HIHQGDQW DQG LWV UHSUHVHQWDWLYHV LQ PDNLQJ LWV VDYLQJV FODLPV

 DPRXQWV RI PRQLHV V ZRXOG VDYH E\ XVLQJ 'HIHQGDQW¶V VHUYLFHV GLG QRW GLVFORVH WKH IROORZLQJ

LQ YLRODWLRQ RI WKH 765



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                               6WDWH WKH VDYLQJV ZDV EDVHG RQ WKH 3ODLQWLII GHEW ZKHQ VKH VLJQHG XS

                                IRU WKH SURJUDP

                               ,QFOXGH WKH LPSDFW RI WKH 'HIHQGDQW¶V IHHV RQ WKHLU FODLPHG VDYLQJV

                                WR WKH 3ODLQWLII

                               ,Q FDOFXODWLQJ WKH UHVXOWV RYHU WLPH GLG QRW LQFOXGH FXVWRPHUV ZKR

                                GURSSHG RXW RU RWKHUZLVH IDLOHG WR FRPSOHWH WKH SURJUDP

                                                Count Six
                                           (Breach of Contract)

             3ODLQWLII UHSHDWV UHDOOHJHV DQG UHLQFRUSRUDWHV E\ UHIHUHQFH DOO RI WKH IRUHJRLQJ

SDUDJUDSKV

             'HIHQGDQW HQWHUHG LQWR D FRQWUDFW ZLWK 3ODLQWLII DQG UHSUHVHQWHG LW ZRXOG HOLPLQDWH

3ODLQWLII¶V GHEW

             'HIHQGDQW IXUWKHU SURYLGHG DGYLFH DQG H[SODQDWLRQ RQ WKH )DLU &UHGLW 5HSRUWLQJ $FW WKH

)HGHUDO 7UDGH &RPPLVVLRQ $FW WKH 7UXWK LQ /HQGLQJ $FW DQG WKH )DLU 'HEW &ROOHFWLRQ 3UDFWLFHV $FW

             'HIHQGDQW FLWH WKH VWDWXWHV OLVWHG LQ WKH SULRU SDUDJUDSK DV DXWKRULW\ IRU LWV µ'HEW

9DOLGDWLRQ 6HUYLFHV¶ WKRXJK LW LV QRW FOHDU KRZ WKH 'HIHQGDQW ZRXOG HOLPLQDWH GHIHQGDQW¶V GHEW WKURXJK

WKH VWDWXWHV OLVWHG LQ SDUDJUDSK 

             'HIHQGDQW GLG QRW SHUIRUP LWV REOLJDWLRQV SXUVXDQW WR WKH FRQWUDFW DV DJUHHG DV QR GHEWV

RI 3ODLQWLII ZHUH HOLPLQDWHG

             3ODLQWLII SDLG 'HIHQGDQW SXUVXDQW WR WKH FRQWUDFW DV DJUHHG

             3ODLQWLII KDV EHHQ GDPDJHG E\ 'HIHQGDQW¶V QRQSHUIRUPDQFH DQG UHVXOWLQJ EUHDFK RI WKH

FRQWUDFW

             $V VXFK 3ODLQWLIIV LV HQWLWOHG WR GDPDJHV IRU WKH EUHDFK RI FRQWUDFW

                                        PRAYER FOR RELIEF

WHEREFORE, 3ODLQWLII 7HUHVD .ODXV SUD\V WKLV &RXUW JUDQW WKH IROORZLQJ UHOLHI

                                                                                                       

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       ,668( DQ RUGHU GHFODULQJ WKDW WKH 'HIHQGDQW KDV HQJDJHG LQ DFWV DQG SUDFWLFHV LQ

         YLRODWLRQ RI WKH &RQVXPHU 6DOHV 3UDFWLFHV $FW 5&   HW VHT WKH 'HEW

         $GMXVWPHQW &RPSDQLHV $FW 5&   HW VHT WKH 2KLR &UHGLW 6HUYLFHV

         2UJDQL]DWLRQ $FW 5&   HW VHT WKH &UHGLW 5HSDLU 2UJDQL]DWLRQ $FW 

         86&   HW VHT DQG WKH 7HOHPDUNHWLQJ 6DOHV 5XOH  &)5   HW VHT

       ,668( D 3HUPDQHQW ,QMXQFWLRQ HQMRLQLQJ WKH 'HIHQGDQW LWV DJHQWV VHUYDQWV

         HPSOR\HHV VXFFHVVRUV RU DVVLJQV DQG DOO SHUVRQV DFWLQJ LQ FRQFHUW DQG SDUWLFLSDWLRQ

         ZLWK LW GLUHFWO\ RU LQGLUHFWO\ WKURXJK DQ\ FRUSRUDWH GHYLFH SDUWQHUVKLS RU RWKHU

         DVVRFLDWLRQ XQGHU WKLV RU DQ\ RWKHU QDPH IURP HQJDJLQJ LQ WKH DFWV DQG SUDFWLFHV

         ZKLFK 3ODLQWLII FRPSODLQV LQ WKH 6WDWH RI 2KLR XQWLO FRPSO\LQJ ZLWK WKH ODZV RI WKH

         6WDWH RI 2KLR DQG VDWLVIDFWLRQ RI DQ\ PRQHWDU\ REOLJDWLRQV WR 3ODLQWLII

       *5$17 MXGJPHQW DJDLQVW WKH 'HIHQGDQW LQ WKH DPRXQW RI WKUHH WLPHV WKH DFWXDO

         GDPDJHV RU  IRU HDFK XQODZIXO DFW VSHFLILHG ZKLFKHYHU LV JUHDWHU SXUVXDQW WR

         5&   % 

       *5$17 MXGJPHQW DJDLQVW WKH 'HIHQGDQW IRU FRPPRQ ODZ IUDXG LQ DQ DPRXQW RI

         GDPDJHV LQ H[FHVV RI 

       *5$17 MXGJPHQW DJDLQVW WKH 'HIHQGDQW LQ H[FHVV RI  IRU YLRODWLRQV RI WKH

         7HOHPDUNHWLQJ 6DOHV 5XOH  &)5  HW VHT

       *5$17 VWDWXWRU\ GDPDJHV IRU YLRODWLRQV RI WKH &UHGLW 5HSDLU 2UJDQL]DWLRQ $FW 

         86&  J

       *5$17 VWDWXWRU\ GDPDJHV IRU YLRODWLRQV RI WKH 2KLR &UHGLW 6HUYLFHV 2UJDQL]DWLRQ

         $FW 5&  

       *5$17 MXGJPHQW DJDLQVW WKH 'HIHQGDQW LQ H[FHVV RI  IRU LWV EUHDFK RI


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         FRQWUDFW ZLWK 'HIHQGDQWV

       &RVWV DQG UHDVRQDEOH DWWRUQH\ IHHV SXUVXDQW WR 5&   )  

       *5$17 SXQLWLYH GDPDJHV

       *5$17 VXFK RWKHU UHOLHI DV WKLV &RXUW GHHPV WR EH MXVW HTXLWDEOH DQG DSSURSULDWH


                                                      5HVSHFWIXOO\ 6XEPLWWHG



                                                      /s/ Jeremiah E. Heck
                                                      -HUHPLDK ( +HFN 
                                                      'DYLG % 6FKXOW] 
                                                      /XIWPDQ +HFN $VVRFLDWHV //3
                                                       5LYHUVLGH 'ULYH 6XLWH 
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                                                      Attorney for Plaintiffs




                               DEMAND FOR JURY TRIAL

      3OHDVH WDNH QRWLFH WKDW 3ODLQWLII 7HUHVD .ODXV GHPDQGV WULDO E\ MXU\ LQ WKLV DFWLRQ



                                                      /s/ Jeremiah E. Heck
                                                      -HUHPLDK ( +HFN 




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Refund Policy

If an account is fully validated by a creditor, such that no further dispute to the validity of the account could be made, you will
receive a full refund of the fees that you paid towards the invalidation of that account (i.e., you will be refunded the fees paid in
proportion to the debt that was validated). Should you have an outstanding balance with LPG at the time your refund is issued
on the validated account, any refund will first be applied towards the outstanding balance. A client can elect to move to a debt
settlement service on any validated account in lieu of obtaining a refund. If a client makes such an election, fees will no longer be
collected for such account and debt settlement services will be performed for no additional fees.

Debt Settlement

If LPG is unable to invalidate any debt, you may elect to have LPG negotiate a settlement on your behalf with the concerned
creditor without any additional fees being charged to or incurred by you for such service. Any settlement reached with any such
creditor shall be your responsibility. At the point that you reach a settlement with such creditor, your payment to LPG will be
reduced and re-amortized to adjust for the settled account being removed from the representation herein contemplated. Please
see the refund policy above for more details.

Actions Required of You

You agree to provide LPG with any and all correspondence you receive from any creditor, credit bureau, attorney, or court of
law. You further agree to keep a log of all communications, including telephonic and electronic communications, from any
creditor or credit reporting agency.

Right to Conduct Business Electronically and Contact You

You agree that LPG may contact you electronically and telephonically and that any and all business with LPG may be
conducted electronically. You further agree that LPG may transmit data, including that regarding your credit profile,
electronically. You further agree that any electronic communication carries the risk of disclosure to a third party and that LPG
will not be held responsible for any such inadvertent disclosure of information. A facsimile or email transmission of this signed
agreement, via an email attachment or otherwise, will be as valid as the original. This agreement may not be modified except in
writing by both parties.

Client Acknowledgements

By signing this agreement, you acknowledge that LPG has not instructed you to breach any contract, fail to make any required
payment, or fail to perform any obligation you have lawfully incurred. LPG reserves the right to terminate this agreement if (a)
client fails to make timely payment of the amount due under hereunder or (b) the client`s payments are returned multiple times
for any reason. LPG will not pay your debts and does not guarantee that any debt you now have or may incur will be invalidated
or settled in association with LPG’s services. You understand and agree that you must forward any communication you receive
in printed or electronic form from any creditor, court, or representative of other a creditor or a court to
admin@coastprocessing.com and that you must keep a log of all telephonic communications with any creditor or credit
reporting agency. Do not sign this agreement until you have received and read the information statements and notices
of cancellation required by state and federal law, even if otherwise advised. By signing this agreement, you
acknowledge receipt of these disclosures prior to the time of signing and agree to the terms of this agreement. You,
the client, may cancel this agreement at any time before midnight CST of the 5th day after the date of execution of
this agreement via an email to admin@coastprocessing.com. In addition, you, the client may terminate LPG’s
services under this agreement at any time via an email to admin@coastprocessing.com.

Client Signature:                Teresa Klaus                                                Date: 6/9/2021
Co-Applicant Signature                                                                       Date:

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                                                                                      ID: 3923370 Signed: 2021-06-09T14:49:17-05:00
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                                                 Client Information

Name: Teresa Klaus

Address: 707 Jackson Street, Delphos OH 45833



Home Phone: 419-863-9455

Cell Phone: 419-863-9455

Email: klaus4@roadrunner.com

Las 4 SSN: XXX-XX-8725

                                                Co-Client Information

Name:

Address: ,



Home Phone:

Cell Phone:

Email:

Last 4 SSN:




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                   INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               $XWKRULW\ )RU &LYLO &RYHU 6KHHW

7KH -6  FLYLO FRYHU VKHHW DQG WKH LQIRUPDWLRQ FRQWDLQHG KHUHLQ QHLWKHU UHSODFHV QRU VXSSOHPHQWV WKH ILOLQJV DQG VHUYLFH RI SOHDGLQJ RU RWKHU SDSHUV DV
UHTXLUHG E\ ODZ H[FHSW DV SURYLGHG E\ ORFDO UXOHV RI FRXUW 7KLV IRUP DSSURYHG E\ WKH -XGLFLDO &RQIHUHQFH RI WKH 8QLWHG 6WDWHV LQ 6HSWHPEHU  LV
UHTXLUHG IRU WKH XVH RI WKH &OHUN RI &RXUW IRU WKH SXUSRVH RI LQLWLDWLQJ WKH FLYLO GRFNHW VKHHW &RQVHTXHQWO\ D FLYLO FRYHU VKHHW LV VXEPLWWHG WR WKH &OHUN RI
&RXUW IRU HDFK FLYLO FRPSODLQW ILOHG 7KH DWWRUQH\ ILOLQJ D FDVH VKRXOG FRPSOHWH WKH IRUP DV IROORZV

I.(a)   Plaintiffs-Defendants. (QWHU QDPHV ODVW ILUVW PLGGOH LQLWLDO RI SODLQWLII DQG GHIHQGDQW ,I WKH SODLQWLII RU GHIHQGDQW LV D JRYHUQPHQW DJHQF\ XVH
        RQO\ WKH IXOO QDPH RU VWDQGDUG DEEUHYLDWLRQV ,I WKH SODLQWLII RU GHIHQGDQW LV DQ RIILFLDO ZLWKLQ D JRYHUQPHQW DJHQF\ LGHQWLI\ ILUVW WKH DJHQF\ DQG WKHQ
        WKH RIILFLDO JLYLQJ ERWK QDPH DQG WLWOH
  (b)   County of Residence. )RU HDFK FLYLO FDVH ILOHG H[FHSW 86 SODLQWLII FDVHV HQWHU WKH QDPH RI WKH FRXQW\ ZKHUH WKH ILUVW OLVWHG SODLQWLII UHVLGHV DW WKH
        WLPH RI ILOLQJ ,Q 86 SODLQWLII FDVHV HQWHU WKH QDPH RI WKH FRXQW\ LQ ZKLFK WKH ILUVW OLVWHG GHIHQGDQW UHVLGHV DW WKH WLPH RI ILOLQJ 127( ,Q ODQG
        FRQGHPQDWLRQ FDVHV WKH FRXQW\ RI UHVLGHQFH RI WKH GHIHQGDQW LV WKH ORFDWLRQ RI WKH WUDFW RI ODQG LQYROYHG
  (c)   Attorneys. (QWHU WKH ILUP QDPH DGGUHVV WHOHSKRQH QXPEHU DQG DWWRUQH\ RI UHFRUG ,I WKHUH DUH VHYHUDO DWWRUQH\V OLVW WKHP RQ DQ DWWDFKPHQW QRWLQJ
        LQ WKLV VHFWLRQ  VHH DWWDFKPHQW 

II.     Jurisdiction. 7KH EDVLV RI MXULVGLFWLRQ LV VHW IRUWK XQGHU 5XOH  D  )5&Y3 ZKLFK UHTXLUHV WKDW MXULVGLFWLRQV EH VKRZQ LQ SOHDGLQJV 3ODFH DQ ;
        LQ RQH RI WKH ER[HV ,I WKHUH LV PRUH WKDQ RQH EDVLV RI MXULVGLFWLRQ SUHFHGHQFH LV JLYHQ LQ WKH RUGHU VKRZQ EHORZ
        8QLWHG 6WDWHV SODLQWLII  -XULVGLFWLRQ EDVHG RQ  86&  DQG  6XLWV E\ DJHQFLHV DQG RIILFHUV RI WKH 8QLWHG 6WDWHV DUH LQFOXGHG KHUH
        8QLWHG 6WDWHV GHIHQGDQW  :KHQ WKH SODLQWLII LV VXLQJ WKH 8QLWHG 6WDWHV LWV RIILFHUV RU DJHQFLHV SODFH DQ ; LQ WKLV ER[
        )HGHUDO TXHVWLRQ  7KLV UHIHUV WR VXLWV XQGHU  86&  ZKHUH MXULVGLFWLRQ DULVHV XQGHU WKH &RQVWLWXWLRQ RI WKH 8QLWHG 6WDWHV DQ DPHQGPHQW
        WR WKH &RQVWLWXWLRQ DQ DFW RI &RQJUHVV RU D WUHDW\ RI WKH 8QLWHG 6WDWHV ,Q FDVHV ZKHUH WKH 86 LV D SDUW\ WKH 86 SODLQWLII RU GHIHQGDQW FRGH WDNHV
        SUHFHGHQFH DQG ER[  RU  VKRXOG EH PDUNHG
        'LYHUVLW\ RI FLWL]HQVKLS  7KLV UHIHUV WR VXLWV XQGHU  86&  ZKHUH SDUWLHV DUH FLWL]HQV RI GLIIHUHQW VWDWHV :KHQ %R[  LV FKHFNHG WKH
        FLWL]HQVKLS RI WKH GLIIHUHQW SDUWLHV PXVW EH FKHFNHG. 6HH 6HFWLRQ ,,, EHORZ; NOTE: federal question actions take precedence over diversity
        cases.

III.    Residence (citizenship) of Principal Parties. 7KLV VHFWLRQ RI WKH -6  LV WR EH FRPSOHWHG LI GLYHUVLW\ RI FLWL]HQVKLS ZDV LQGLFDWHG DERYH 0DUN WKLV
        VHFWLRQ IRU HDFK SULQFLSDO SDUW\

IV.     Nature of Suit. 3ODFH DQ ; LQ WKH DSSURSULDWH ER[ ,I WKHUH DUH PXOWLSOH QDWXUH RI VXLW FRGHV DVVRFLDWHG ZLWK WKH FDVH SLFN WKH QDWXUH RI VXLW FRGH
        WKDW LV PRVW DSSOLFDEOH &OLFN KHUH IRU 1DWXUH RI 6XLW &RGH 'HVFULSWLRQV

V.      Origin. 3ODFH DQ ; LQ RQH RI WKH VHYHQ ER[HV
        2ULJLQDO 3URFHHGLQJV  &DVHV ZKLFK RULJLQDWH LQ WKH 8QLWHG 6WDWHV GLVWULFW FRXUWV
        5HPRYHG IURP 6WDWH &RXUW  3URFHHGLQJV LQLWLDWHG LQ VWDWH FRXUWV PD\ EH UHPRYHG WR WKH GLVWULFW FRXUWV XQGHU 7LWOH  86& 6HFWLRQ 
        5HPDQGHG IURP $SSHOODWH &RXUW  &KHFN WKLV ER[ IRU FDVHV UHPDQGHG WR WKH GLVWULFW FRXUW IRU IXUWKHU DFWLRQ 8VH WKH GDWH RI UHPDQG DV WKH ILOLQJ
        GDWH
        5HLQVWDWHG RU 5HRSHQHG  &KHFN WKLV ER[ IRU FDVHV UHLQVWDWHG RU UHRSHQHG LQ WKH GLVWULFW FRXUW 8VH WKH UHRSHQLQJ GDWH DV WKH ILOLQJ GDWH
        7UDQVIHUUHG IURP $QRWKHU 'LVWULFW  )RU FDVHV WUDQVIHUUHG XQGHU 7LWOH  86& 6HFWLRQ  D  'R QRW XVH WKLV IRU ZLWKLQ GLVWULFW WUDQVIHUV RU
        PXOWLGLVWULFW OLWLJDWLRQ WUDQVIHUV
        0XOWLGLVWULFW /LWLJDWLRQ ± 7UDQVIHU  &KHFN WKLV ER[ ZKHQ D PXOWLGLVWULFW FDVH LV WUDQVIHUUHG LQWR WKH GLVWULFW XQGHU DXWKRULW\ RI 7LWOH  86&
        6HFWLRQ 
        0XOWLGLVWULFW /LWLJDWLRQ ± 'LUHFW )LOH  &KHFN WKLV ER[ ZKHQ D PXOWLGLVWULFW FDVH LV ILOHG LQ WKH VDPH GLVWULFW DV WKH 0DVWHU 0'/ GRFNHW
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. 2ULJLQ &RGH  ZDV XVHG IRU KLVWRULFDO UHFRUGV DQG LV QR ORQJHU UHOHYDQW GXH WR
        FKDQJHV LQ VWDWXWH

VI.     Cause of Action. 5HSRUW WKH FLYLO VWDWXWH GLUHFWO\ UHODWHG WR WKH FDXVH RI DFWLRQ DQG JLYH D EULHI GHVFULSWLRQ RI WKH FDXVH Do not cite jurisdictional
        statutes unless diversity. ([DPSOH 86 &LYLO 6WDWXWH  86&  %ULHI 'HVFULSWLRQ 8QDXWKRUL]HG UHFHSWLRQ RI FDEOH VHUYLFH

VII.    Requested in Complaint. &ODVV $FWLRQ 3ODFH DQ ; LQ WKLV ER[ LI \RX DUH ILOLQJ D FODVV DFWLRQ XQGHU 5XOH  )5&Y3
        'HPDQG ,Q WKLV VSDFH HQWHU WKH DFWXDO GROODU DPRXQW EHLQJ GHPDQGHG RU LQGLFDWH RWKHU GHPDQG VXFK DV D SUHOLPLQDU\ LQMXQFWLRQ
        -XU\ 'HPDQG &KHFN WKH DSSURSULDWH ER[ WR LQGLFDWH ZKHWKHU RU QRW D MXU\ LV EHLQJ GHPDQGHG

VIII. Related Cases. 7KLV VHFWLRQ RI WKH -6  LV XVHG WR UHIHUHQFH UHODWHG SHQGLQJ FDVHV LI DQ\ ,I WKHUH DUH UHODWHG SHQGLQJ FDVHV LQVHUW WKH GRFNHW
      QXPEHUV DQG WKH FRUUHVSRQGLQJ MXGJH QDPHV IRU VXFK FDVHV

Date and Attorney Signature. 'DWH DQG VLJQ WKH FLYLO FRYHU VKHHW




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

KATHLENE SCARLETT,                                     :    Case No. 2:22-cv-4106
                                                       :
                      Plaintiff,                       :    Hon.
                                                       :
-vs-                                                   :
                                                       :
THE LITIGATION PRACTICE GROUP PC,                      :
                                                       :
                      Defendant.                       :

                  COMPLAINT AND REQUEST FOR DECLARATORY
                         RELIEF AND JURY DEMAND
                                          Introduction

        1.    This is an action for damages brought by a consumer against Defendant for

 violations of the Debt Adjustment Companies Act, R.C. § 4710.01, et seq. (“DACA”), the Ohio

 Consumer Sales Practices Act, R.C. § 1345.01, et seq. (“OCSPA”), the Ohio Credit Services

 Organization Act R.C. §4712.01, et seq. (“OCSOA”), the Credit Repair Organizations Act, 15

 U.S.C. §§ 1679-1679j (“CROA”), the Telemarketing Sales Rule 16 C.F.R. § 310.2 (“TSR”),

 Breach of Contract, and Common Law Fraud, all of which prohibit persons engaged in debt

 adjusting and credit repair from engaging in abusive, deceptive, and unfair practices.

                                             Parties

        2.       Plaintiff, KATHLENE SCARLETT, is a consumer residing at 1787 Cherokee

 Dr., Apt. A, Dayton, Ohio 45449.

        3.       Upon information and belief, Defendant THE LITIGATION PRACTICE

 GROUP PC (hereinafter “LPG”) is a California debt settlement and debt validation company

 operating from an address at 17542 E 17th Street, Ste 100, Tustin, CA 92780, and doing

 business in the state of Ohio.

                                                                                               1

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       4. Defendant regularly engages in business in Ohio and directed at residents of Ohio

and have otherwise availed themselves of the Ohio marketplace and secured the benefits of that

marketplace. Such conduct included, among other things; holding itself out as debt settlement

company providing services to Ohio residents; directing business solicitations into the State of

Ohio, directed at indebted Ohio residents, seeking participation in Defendants’ debt settlement,

credit repair and debt elimination programs; contracting in Ohio with Ohio consumers for

various services, including debt validation; offering to perform and/or performing activities for

Ohio residents including debt settlement, credit repair and debt elimination functions.

                                      Statement of Facts
       5.    On or before September 2021, Plaintiffs contacted LPG to discuss possible debt

elimination services.

       6.      Plaintiff had several telephone conversations wherein she was led to believe she

was retaining Defendant for debt adjustment services which necessarily included credit repair

and debt elimination.

       7.     Based upon the representations made by LPG in the phone calls, Plaintiff believed

by enrolling in the program, she could eliminate their overall debt by disputing the validity of

the debts under the statutes of the Consumer Financial Protection Bureau and the Fair Debt

Collection Practices Act.

       8.     A representative of LPG sent Plaintiffs an Agreement to review and sign; the

representative also instructed Plaintiffs they had a right to withhold payments to their creditors

while the accounts were in dispute.

       9.     The written agreement that Plaintiff signed with the Defendants is attached hereto

as Exhibit “A”.

       10.    On or about October 4, 2021, Plaintiff began paying Defendant $254.38 a month

                                                                                                     2

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for its services.

        11.    Defendants charged substantial up-front fees; Plaintiff’s credit scores severely

reduced pursuant to her participation in the program; Plaintiff’s credit scores will not recover

in the near future.

        12.    Enrolling in LPG’s program resulted in no reduction to Plaintiff’s total debt owed

as agreed, in fact, Plaintiff’s total indebtedness increased substantially due to interest and fees.

        13.    Shortly after enrolling in Defendant’s program, a lawsuit was filed against

Plaintiff by one of her creditors.

        14.    Enrolling in LPG’s program resulted in no payments being made to Plaintiff’s

creditors.

        15.        Upon information and belief, the only services provided to Plaintiff from

Defendant was the mailing of verification packets to Plaintiff’s creditors.

        16.        While Defendant represented mailing these packets would eliminate Plaintiff’s

debt, it knew this representation was false, and the mailings would have no legal effect with

regard to reducing Plaintiff’s debt.

        17.     Defendant made various misrepresentations or non-disclosures in an effort to

induce Plaintiff to enter into the illegal agreement including, but not limited to:

               •      Unsubstantiated claims of savings; Defendant represented to Plaintiff that

                       the program would eliminate her total debt; however, Defendant does not

                       have a record of accomplishment to support that statement.

               •       Misleading or failing to adequately inform consumers, including Plaintiff,

                       that they will be subject to continued collection efforts, including lawsuits,

                       and that their account balances will increase due to extended nonpayment


                                                                                                        3

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                    under the program.

              •    Defendant represented that the majority of consumers which retain it go on

                    to complete the program thereby becoming debt free; however, a high

                    percentage of consumers who attempt Defendant’s debt verification

                    program do not become debt free as a result of its services.

              •    Defendant accepted money from Plaintiff for the purpose of eliminating all

                    debts on the program for less than the amount owed knowing there was a

                    substantial likelihood that they could not provide the services as promised.

                    Defendant knew its business model was legally unsound and nonsensical.

       18.    Based upon the misrepresentations of the LPG representative, Plaintiff agreed to

enter into a contract for the debt relief services of LPG.

       19.    Plaintiff agreed to pay specified fees which, unknown to Plaintiff, were illegal due

to the substantial amount of the fees and requirement of payment up front.

       20.    LPG withdrew over $2,600 in fees from Plaintiff over a period of approximately

one year.

       21.    The Telemarketing Sales Rule prohibits debt relief companies from charging

up-front fees prior to settling accounts because, among other reasons, such a business model is

designed to fail from the beginning. TSR, 16 C.F.R. § 310.4 (a)(5)(i)

       22.    Further, given the lengthy period of time creditors do not receive money owed,

(oftentimes without any contact with the debt relief companies or the debtor), the creditor will

often opt to bring a lawsuit for money owed.

       23.   Defendant advised Plaintiff to quit paying her debts knowing the debt would

continue to accumulate interest, over the limit fees, and late fees.



                                                                                                     4

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       24.    Defendant represented they would attempt to eliminate Plaintiff’s total debt

balance by providing a debt elimination program by sending validation documentation to the

third-party collectors collecting on the debts in the program hoping debt collection would cease.

       25.    While disclaiming that it is practicing law, the vast majority of services LPG

agreed to provide Plaintiff were in fact legal services. The Agreement is a legal fee agreement

whereby LPG agreed to practice law and provide legal services in exchange for money.

       26.    Defendant’s actions did not reduce Plaintiff total debt balance, and in fact, Plaintiff

owes more money and have been sued on numerous accounts enrolled in the Defendant’s debt

elimination program.

                                      Count One:
          (Violations of the Ohio Consumer Sales Practices Act and Debt Adjustment
                                    Companies Act)

       27.     Plaintiff repeats, realleges, and incorporates by reference all of the foregoing

paragraphs.

       28.    The activity described in all previous paragraphs is a “consumer transaction” as

defined by R.C. § 1345.01(A). Defendant solicited and retained Plaintiff to perform debt

adjustment services for a fee.

       29.    Plaintiff’s debts at issue were incurred for personal, family and/or household use.

       30.    Defendant is a “supplier” as that term is defined in R.C. § 1345.01(C), since

Defendant engaged in the business of effecting “consumer transactions”, either directly or

indirectly, by operating a debt adjustments service for consumers in Ohio for purposes that are

primarily for personal, family or household within the meaning specified in R.C. § 1345.01(A).

       31.    Defendant is a “person” as defined by the DACA, R.C. § 4710.01(A) engaged in

the act of “debt adjusting” as defined by the DACA, R.C. § 4710.01(B), and a “supplier” as


                                                                                                        5

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defined by the OCSPA, R.C. § 1345.01(C), since Defendant was engaged in the business of

debt adjusting, budget counseling, debt management, or debt pooling services, or holding

oneself out, by words of similar import, as providing services to debtors in the management of

their debt to a consumer in the State of Ohio for purposes that were primarily for personal,

family or household use.

       32.   Plaintiff is a “consumer” as defined by the OCSPA, R.C. § 1345.01(D).

       33.   Defendant charged and accepted fees or contributions in excess of what are

reasonable fees or contributions, in violation of R.C. §§ 4710.02(A)(3), 4710.02(B)(1-3) and

4710.02(F)(1). Defendant knew that the debt settlement program’s fees exceeded the amount

permitted by R.C. § 4710.02(B).

       34.   Upon information and belief, Defendant failed to arrange for and undergo an audit

conducted by an independent, third party, certified public accountant of the person’s business

and then file the audit and opinion with the consumer protections division of the attorney

general in violation of R.C. §§ 4710.02(D)(1-2) and 4710.02(F)(2).

       35.   Upon information and belief, Defendant failed to obtain and maintain insurance

coverage not less than $100,000.00 for employee dishonesty, forgery, and fraud in violation of

R.C. §§ 4710.02(E)(1-2) and 4710.02(F)(2).

       36.   Defendant’s transactions failed to include the notices, statements, and

cancellation forms as defined by R.C. §§ 4710.05(A) and (B). Such failure is a violation of R.C.

§ 1345.02(A) of the OCSPA. Defendant committed unfair, deceptive and unconscionable acts

or practices in violation of R.C. §§ 1345.02(A) and/or 1345.03(A) of the Consumer Sales

Practices Act including:

              •   Defendant operated a debt settlement company in the State of Ohio without



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                  complying with applicable Ohio law, namely, R.C. § 4710, et seq.

             •   Defendant charged an excessive fee for debt adjusting and failed to provide

                  the service pursuant to the Failure to Deliver Rule, O.A.C. § 109:4-3-09(A).

             •   Defendant is an out of state corporations, failed to register with the Ohio

                  Secretary of State prior to doing business in Ohio as required by R.C. §

                  1703.03.

             •   Defendant made false or misleading statements to induce a purchaser to pay

                  for services.

             •   Defendant engaged in debt adjustment activities, including holding out that

                  it could affect the adjustment, compromise, or discharge of any account,

                  note, or other indebtedness of consumers who sign up for its services,

                  without complying with R.C. §§ 4710.02(A) and (B), specifically that

                  Defendant charged fees in excess of those permitted by the Ohio Debt

                  Adjusters Act.

             •   Defendant violated Ohio Adm. Code § 109:4-3-09(A) by accepting money

                  from consumers for goods or services ordered by mail, telephone, or

                  otherwise and then failed to make full delivery or make a full refund as

                  promised.

             •   Defendant had knowledge of the inability of the consumer to receive a

                  substantial benefit from the subject of the consumer transaction.

             •   Defendant required the consumer to enter into a consumer transaction on

                  terms the supplier knew were substantially one-sided in favor of the

                  supplier.



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       37.   Such acts and practices have been previously determined by Ohio courts to violate

the Consumer Sales Practices Act, R.C. § 1345.01 et seq.

       38.   Defendant committed said violation after such decisions were available for public

inspection pursuant to R.C. § 1345.05(A)(3). State ex rel. Petro v. Debticated Consumer

Counseling, Inc. (Lucas Co. C.P. 2003), Case No. CIO 2002 4856, (PIF# 2173); State of Ohio

ex rel. Cordray v. United Law Group, Inc. (Franklin Co. C.P. 2010), Case No. 10 CVH 021567,

(PIF# 2874); State of Ohio, ex rel. Cordray v. Brotherton (Greene Co. C.P. 2010), Case No.

2009 CV 0709, (PIF# 2831); In Re Nationwide Debt Solution, Inc. (2010), Docket No. 384784

(PIF# 2878); In Re Budulator Corporation, Inc. (2010), Docket No. 388509 (PIF# 2876); State

of Ohio ex rel. Rogers v. Richard Pinnix d/b/a Pinnix Business Services (Franklin Co. C.P.

2008), Case No. 07CVH08-10491(PIF# 2726); State of Ohio ex rel. Dann v. American Housing

Authority, Inc. (Lucas Co. C.P. 2008), Case No. CI-0200705443 (PIF# 2676); State of Ohio ex

rel. Petro v. AAA All Ohio Roofing, et al. (Franklin Co. C.P. 2003), Case No. 02CVH022119

(PIF# 2152); State ex rel. Montgomery v. Bayview Group, Inc. (Franklin Co. C.P. 2003), Case

No. 97CVH12 10749 (PIF# 1727).

       39.   Plaintiff has suffered damages due to the illegal and deceptive acts in violation of

the Ohio Consumer Sales Practices Act in that:

             •    She paid fees that were both illegal and were not in exchange for any services

                   of value.

             •    She quit paying her creditors upon the advice of Defendant’s representatives

                   and the many misrepresentations that were made to her described in the

                   Complaint.

             •    As a result, her creditors exercised their right to the default interest rate


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                     accelerating the balances owed by enormous amounts to be determined at

                     trial.

              •     She suffered mental and emotional hardship, mental and emotional stress,

                     and anxiety.

                                          Count Two:
                  (Violations of the Ohio Credit Services Organizations Act)
       40.    Plaintiff repeats, realleges, and incorporates by reference all of the foregoing

paragraphs.

       41.    Defendant is a credit service organization as defined by R.C. § 4712.01(C)(1) in

that Defendant accepted money in order to improve Plaintiffs’ credit record and gave advice in

connection with doing so.

       42.    Plaintiff is a buyer as defined by R.C. § 4712.01(A) in that she was solicited and

purchased the services of Defendant.

       43.    Defendant has failed to register as a credit services organization with the Ohio

Division of Financial Institutions in violation of R.C. § 4712.02(A).

       44.    Pursuant to R.C. §4712.11(A), Defendant’s violation of R.C. § 4712.02(A)

constitutes unfair or deceptive acts or practices in violation of R.C. § 1345.02.

       45.    Plaintiff has suffered damages due to the illegal and deceptive acts in violation of

the Ohio Credit Services Organization Act in that:

              •     she paid fees that were both illegal and were not in exchange for any services

                     of value.

              •     she quit paying her creditors upon the advice of Defendant’s representatives

                     and the many misrepresentations that were made to her described in the

                     Complaint.


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               •      As a result, her creditors exercised their right to the default interest rate

                       accelerating the balances owed by enormous amounts to be determined at

                       trial.

               •      She suffered mental and emotional hardship, mental and emotional stress,

                       and anxiety.

                                           Count Three:
                       (Violations of the Credit Repair Organizations Act)

        46.    Plaintiff repeats, realleges, and incorporates by reference all of the foregoing

 paragraphs.

        47.    The Credit Repair Organizations Act was enacted to ensure that prospective

 buyers of the services of credit repair organizations are provided with the information necessary

 to make an informed decision regarding the purchase of such services and to protect the public

 from unfair or deceptive advertising and business practices by credit repair organizations. 15

 U.S.C. § 1679(b). The CROA provides that a credit repair organization:

                   a. May not charge or receive any money or other valuable consideration for

                      services which the credit repair organization has agreed to perform before

                      such service is fully performed, 15 U.S.C. § 1679(b);

                   b. May not provide services without a written and dated contract that includes

                      a full and detailed description of the services to be performed and other terms

                      and conditions set forth in 15 U.S.C. §§ 1679d(a)(1), 1679d(b);

                   c. Must provide to the consumer, before any contract or agreement between the

                      consumer and the credit repair organization is executed, the written

                      statement set forth in Section 405(a) of CROA concerning consumer credit

                      file rights under state and federal law and the right to cancel a contract with

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                      a credit repair organization, 15 U.S.C. § 1679c; and

                   d. Must allow a consumer to cancel any contract with the credit repair

                      organization without penalty or obligation if the consumer notifies the credit

                      repair organization of the consumer’s intention to cancel before midnight of

                      the third business day after the date the contract between the consumer and

                      the credit repair organization is executed, 15 U.S.C. § 1679e.

        48.    Defendant is “credit repair organizations” as that term is defined in the Credit

 Repair Organizations Act (“CROA”), because they use instrumentalities of interstate commerce

 to sell, provide, or perform (or represent that such defendant can or will sell, provide, or

 perform) a service for the express or implied purpose of improving a consumer’s credit record,

 credit history, or credit rating, and this service is offered in return for the payment of money.

 15 U.S.C. § 1679a(3).

        49.    Defendant received money prior to fully performing its services, and failed to

 provide any of the proper disclosures, contracts, or right to cancel forms.

        50.   Defendant’s conduct as alleged in Count Three of this Complaint violates the

 Credit Repair Organizations Act, and the Defendants are liable for these violations.

        51.   Plaintiff has suffered damages due to the illegal and deceptive acts in violation of

 the Credit Repair Organization Act in that:

               •      She paid fees that were both illegal and were not in exchange for any services

                       of value.

               •      She quit paying her creditors upon the advice of Defendant’s representatives

                       and the many misrepresentations that were made to them described in the

                       Complaint.


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                •    As a result, her creditors exercised their right to the default interest rate

                      accelerating the balances owed by enormous amounts to be determined at

                      trial.

                •    She suffered mental and emotional hardship, mental and emotional stress,

                      and anxiety.

                                          Count Four:
                               (Fraud / Fraud in the Inducement)
          52.   Plaintiff repeats, realleges, and reincorporates by reference all of the foregoing

 paragraphs.

          53.   Plaintiff specifically relied on the representations, misrepresentations, non-

 disclosures and implied representations described in Paragraphs 9 through 32 when making the

 determination to enter into a contract or continue using the services of Defendant.

          54.   Defendant, through representations, websites, and the Agreement create the

 appearance that Plaintiff is entering into an agreement that will greatly reduce her outstanding

 debts.

          55.   Defendant engaged in the unlawful conduct previously alleged with the actual

 and/or imputed knowledge of the unlawful conduct.

          56.   Defendant knowingly engaged in such conduct with the purpose of inducing

 payment from Plaintiff.

          57.   Plaintiff have been injured by the wrongful and fraudulent conduct of Defendant

 and have been damaged in an amount to be established at trial, as well as entitled to punitive

 damages in an amount to be established at trial.

                                            Count Five:
                           (Violations of the Telemarketing Sales Rule)
          58.   Plaintiff repeats, realleges, and reincorporates by reference all of the foregoing

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 paragraphs.

         59.   The Telemarketing Sales Rule (“TSR”) was promulgated for the explicit purpose

 of preventing consumer harm from debt relief operations like the venture of the Defendant in

 this case.

         60.   The TSR, 16 C.F.R. § 310.2(m), defines “debt relief service” as “any program or

 service represented, directly or by implication, to renegotiate, settle, or in any way alter the

 terms of payments or other terms of the debt between a person and one or more unsecured

 creditors or debt collectors, including, but not limited to, a reduction in the balance, interest

 rate, or fees owed by a person to an unsecured creditor or debt collector.”

         61.   The TSR, 16 C.F.R. § 310.2(dd), defines “telemarketing” as “a plan, program, or

 campaign which is conducted to induce the purchase of goods or services or a charitable

 contribution, by use of one or more telephones and which involves more than one interstate

 telephone call.”

         62.   The TSR, 16 C.F.R. § 310.2 (aa), defines “seller” as “any person who, in

         connection with a telemarketing transaction, provides, offers to provide, or arranges for

 others to provide goods or services to the customer in exchange for consideration.”

         63.   The TSR, 16 C.F.R. § 310.2 (cc), defines “telemarketer” as “any person who, in

 connection with telemarketing, initiates or receives telephone calls to or from a customer or

 donor.”

         64.   Defendants are “sellers” or “telemarketers” of “debt relief services”, who engages

 in “telemarketing”, as defined in the TSR.

         65.   The TSR, 16 C.F.R. § 310.4 (a)(5)(i), provides that a seller or a telemarketer may

 not request or receive payment of any fee or consideration for any debt relief service until and



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 unless among other things, “the seller or telemarketer has renegotiated, settled, reduced, or

 otherwise altered the terms of at least one debt pursuant to a settlement agreement, debt

 management plan, or other such valid contractual agreement executed by the customer” and

 “the customer has made at least one payment” pursuant too such an agreement or plan.

         66.   The TSR, 16 C.F.R. § 310.4(a)(5)(ii), provides that a seller or a telemarketer may

 request or require customers to place funds in an account to be used for the debt relief provider’s

 fees and for payments to creditors or debt collectors in connection with the renegotiation or

 settlement of a debt, provided that, among other things: the customer owns the funds held in

 the account and is paid interest on the account” and “the customer may withdraw from the debt

 relief service at any time without penalty and must receive all funds in the account, other that

 funds earned by the debt relief service in compliance with § 310.4(a)(5)(i)(A) through (C),

 within seven (7) business days of the consumer’s request.”

         67.   The TSR, 16 C.F.R. § 310.3(a)(2)(ii), prohibits a seller or telemarketer from

 misrepresenting, directly or by implication, in the sale of goods or services, any material

 restriction, limitation, or condition to purchase, receive, or use goods or services that are the

 subject of the sales offer.

         68.    The TSR, 16 C.F.R. § 310.3(a)(2)(iii), prohibits a seller or telemarketer from

 misrepresenting, directly or by implication, in the sale of goods or services, any material aspect

 of the performance, efficacy, nature, or central characteristics of goods or services that are the

 subject of a sales offer.

         69.   The TSR, 16 C.F.R. § 310.3(a)(2)(x), prohibits a seller or telemarketer from

 misrepresenting, directly or by implication, in the sale of goods or services, any material aspect

 of any debt relief service.



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         70.    In the course of telemarketing debt relief services, Defendant has requested and

 received payment of fees from Plaintiffs for debt relief services before renegotiating,

 settling, reducing, or otherwise altering the terms of his debts. Defendant requested and received

 payment of these fees prior to Plaintiffs making at least one payment pursuant to any settlement

 agreement, debt-management plan, or other valid contractual agreement between Plaintiffs and

 their creditors.

         71. Therefore, Defendant’s act or practices violate the TSR, 16 C.F.R.

 § 310.4(a)(5)(i), and are abusive acts or practices in telemarketing.

         72.    Plaintiff was charged advances fees for Defendant’s debt relief services.

         73.    Therefore, Defendant’s representations as described herein violate the TSR,

 C.F.R. § 310.3(a)(2)(ii) and (x), and are deceptive acts or practices in telemarketing.

         74.    In numerous instances, in connection with advertising, marketing, promoting,

 offering for sale, or sale of debt relief services, Defendant represented to Plaintiff directly or

 indirectly, expressly or by implication, that her total debt amount would be reduced by up to

 50%.

         75.    In fact, Defendant does not have a track record of consistent debt reduction of this

 degree, if any at all.

         76.    Therefore, Defendant’s representations as described herein violate the TSR,

 C.F.R. § 310.3(a)(2)(iii) and (x), and are deceptive acts or practices in telemarketing.

         77.    In addition, Defendant and its representatives in making its savings claims

 (amounts of monies s would save by using Defendant’s services) did not disclose the following

 in violation of the TSR:

                          •   State the savings was based on the Plaintiff debt when she signed up



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                                 for the program.

                          •      Include the impact of the Defendant’s fees on their claimed savings

                                 to the Plaintiff.

                          •      In calculating the results over time, did not include customers who

                                 dropped out or otherwise failed to complete the program.

                                                 Count Six
                                            (Breach of Contract)

         78.     Plaintiff repeats, realleges, and reincorporates by reference all of the foregoing

 paragraphs.

         79.     Defendant entered into a contract with Plaintiff and represented it would eliminate

 Plaintiff’s debt.

         80.     Defendant further provided advice and explanation on the Fair Credit Reporting Act, the

 Federal Trade Commission Act, the Truth in Lending Act, and the Fair Debt Collection Practices Act.

         81.     Defendant cite the statutes listed in the prior paragraph as authority for its ‘Debt

 Validation Services’ though it is not clear how the Defendant would eliminate defendant’s debt through

 the statutes listed in paragraph 86.

         82.     Defendant did not perform its obligations pursuant to the contract as agreed as no debts

 of Plaintiff were eliminated.

         83.     Plaintiff paid Defendant pursuant to the contract as agreed.

         84.     Plaintiff has been damaged by Defendant’s non-performance and resulting breach of the

 contract.

         85.     As such, Plaintiffs is entitled to damages for the breach of contract.

                                         PRAYER FOR RELIEF

 WHEREFORE, Plaintiff Teresa Klaus, prays this Court grant the following relief:

        1. ISSUE an order declaring that the Defendant has engaged in acts and practices in

                                                                                                        16

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         violation of the Consumer Sales Practices Act, R.C. § 1345.01 et seq., the Debt

         Adjustment Companies Act, R.C. § 4710.01 et seq., the Ohio Credit Services

         Organization Act R.C. § 4712.01, et seq., the Credit Repair Organization Act 15

         U.S.C. § 1679, et seq. and the Telemarketing Sales Rule 16 C.F.R. § 310, et seq.

      2. ISSUE a Permanent Injunction enjoining the Defendant, its agents, servants,

         employees, successors or assigns, and all persons acting in concert and participation

         with it, directly or indirectly, through any corporate device, partnership, or other

         association, under this or any other name, from engaging in the acts and practices

         which Plaintiff complains in the State of Ohio until complying with the laws of the

         State of Ohio and satisfaction of any monetary obligations to Plaintiff.

      3. GRANT judgment against the Defendant in the amount of three times the actual

         damages or $200.00 for each unlawful act specified, whichever is greater, pursuant to

         R.C. § 1345.09(B).

      4. GRANT judgment against the Defendant for common law fraud in an amount of

         damages in excess of $25,000.00.

      5. GRANT judgment against the Defendant in excess of $50,000.00 for violations of the

         Telemarketing Sales Rule 16 CFR§ 310, et seq.

      6. GRANT statutory damages for violations of the Credit Repair Organization Act 15

         U.S.C. § 1679g.

      7. GRANT statutory damages for violations of the Ohio Credit Services Organization

         Act R.C. § 4712.10.

      8. GRANT judgment against the Defendant in excess of $25,000.00 for its breach of

         contract with Defendants.



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      9. Costs and reasonable attorney fees, pursuant to R.C. § 1345.09(F)(2).

      10. GRANT punitive damages.

      11. GRANT such other relief as this Court deems to be just, equitable and appropriate.


                                                      Respectfully Submitted:



                                                      /s/ Jeremiah E. Heck
                                                      Jeremiah E. Heck (0076742)
                                                      David B. Schultz (0077281)
                                                      Luftman Heck & Associates LLP
                                                      6253 Riverside Drive, Suite 200
                                                      Dublin, Ohio 43017
                                                      Phone: (614) 224-1500
                                                      Fax: (614) 224-2894
                                                      dschultz@lawlh.com
                                                      Attorney for Plaintiffs




                                DEMAND FOR JURY TRIAL

      Please take notice that Plaintiff, Kathlene Scarlett, demands trial by jury in this action.



                                                      /s/ Jeremiah E. Heck
                                                      Jeremiah E. Heck (0076742)




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                 Case:8:23-ap-01046-SC
                 Case  3:22-cv-00342-WHR-PBS
JS 44 Reverse (Rev 04/21)                Doc -2DocFiled
                                                     #: 1-2 Filed: 11/18/22
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                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)   Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
        only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
        the official, giving both name and title.
  (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

*(1(9$ 6+()),(/'                                              Case No. 3:22-cv-2093
 'DQD 6W                                         
7ROHGR 2+                                               Judge:
                                                       
       $QG                                             
                                                       
0<5$1'$ 6+()),(/'                                      
 'DQD 6W                                          
7ROHGR 2+                                        
                                                       
               3ODLQWLIIV                              
       Y                                              
                                                       
7+( /,7,*$7,21 35$&7,&( *5283 3&                       
&2 5HJLVWHUHG $JHQW                                          COMPLAINT
'DQLHO 6 0DUFK                                               FOR DECLARATORY AND
7XVWLQ &$                                               INJUNCTIVE RELIEF
                                                       
               'HIHQGDQW                               



                                           Introduction

            7KLV LV DQ DFWLRQ IRU GDPDJHV EURXJKW E\ D FRQVXPHU DJDLQVW 'HIHQGDQW IRU

 YLRODWLRQV RI WKH 'HEW $GMXVWPHQW &RPSDQLHV $FW 5&   HW VHT ³'$&$´  WKH 2KLR

 &RQVXPHU 6DOHV 3UDFWLFHV $FW 5&   HW VHT ³2&63$´  WKH 2KLR &UHGLW 6HUYLFHV

 2UJDQL]DWLRQ $FW 5&  HW VHT ³2&62$´  WKH &UHGLW 5HSDLU 2UJDQL]DWLRQV $FW 

 86&  M ³&52$´  WKH 7HOHPDUNHWLQJ 6DOHV 5XOH  &)5   ³765´ 

 %UHDFK RI &RQWUDFW DQG &RPPRQ /DZ )UDXG DOO RI ZKLFK SURKLELW SHUVRQV HQJDJHG LQ GHEW

 DGMXVWLQJ DQG FUHGLW UHSDLU IURP HQJDJLQJ LQ DEXVLYH GHFHSWLYH DQG XQIDLU SUDFWLFHV

                                     Jurisdiction and Venue

               7KLV &RXUW PDLQWDLQV VXEMHFW PDWWHU MXULVGLFWLRQ SXUVXDQW WR WKH 7HOHPDUNHWLQJ

 6DOHV 5XOH  &)5   HW VHT DV IXUWKHU DOOHJHG KHUHLQ

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               7KLV &RXUW PD\ DOVR H[HUFLVH VXSSOHPHQWDO MXULVGLFWLRQ RYHU WKH UHODWHG VWDWH

 ODZ FODLPV DULVLQJ RXW RI WKH VDPH QXFOHXV RI RSHUDWLYH IDFWV ZKLFK JLYH ULVH WR DQ\ IHGHUDO

 ODZ FODLPV XQGHU  86&  

               7KH WUDQVDFWLRQV DQG RFFXUUHQFHV ZKLFK JLYH ULVH WR WKLV DFWLRQ RFFXUUHG LQ

 /XFDV &RXQW\ 2KLR

               9HQXH LV SURSHU LQ WKH 6RXWKHUQ 'LVWULFW RI 2KLR

                                            Parties

               3ODLQWLII *HQHYD 6KHIILHOG LV D FRQVXPHU UHVLGLQJ DW  'DQD 6W 7ROHGR

2+ 

               3ODLQWLII 0\UDQGD 6KHIILHOG LV D FRQVXPHU UHVLGLQJ DW  'DQD 6W 7ROHGR

2+ 

               8SRQ LQIRUPDWLRQ DQG EHOLHI 'HIHQGDQW /LWLJDWLRQ 3UDFWLFH *URXS 3&

 KHUHLQDIWHU ³/3*´ LV D &DOLIRUQLD GHEW VHWWOHPHQW DQG GHEW YDOLGDWLRQ FRPSDQ\ RSHUDWLQJ

IURP DQ DGGUHVV DW  ( WK 6WUHHW 6WH  7XVWLQ &$  DQG GRLQJ EXVLQHVV LQ WKH

VWDWH RI 2KLR

         'HIHQGDQW UHJXODUO\ HQJDJHV LQ EXVLQHVV LQ 2KLR DQG GLUHFWHG DW UHVLGHQWV RI 2KLR

DQG KDYH RWKHUZLVH DYDLOHG LWVHOI RI WKH 2KLR PDUNHWSODFH DQG VHFXUHG WKH EHQHILWV RI WKDW

PDUNHWSODFH 6XFK FRQGXFW LQFOXGHG DPRQJ RWKHU WKLQJV KROGLQJ LWVHOI RXW DV GHEW VHWWOHPHQW

FRPSDQ\ SURYLGLQJ VHUYLFHV WR 2KLR UHVLGHQWV GLUHFWLQJ EXVLQHVV VROLFLWDWLRQV LQWR WKH 6WDWH RI

2KLR GLUHFWHG DW LQGHEWHG 2KLR UHVLGHQWV VHHNLQJ SDUWLFLSDWLRQ LQ 'HIHQGDQW¶V GHEW VHWWOHPHQW

FUHGLW UHSDLU DQG GHEW HOLPLQDWLRQ SURJUDPV FRQWUDFWLQJ LQ 2KLR ZLWK 2KLR FRQVXPHUV IRU

YDULRXV VHUYLFHV LQFOXGLQJ GHEW YDOLGDWLRQ RIIHULQJ WR SHUIRUP DQGRU SHUIRUPLQJ DFWLYLWLHV IRU

2KLR UHVLGHQWV LQFOXGLQJ GHEW VHWWOHPHQW FUHGLW UHSDLU DQG GHEW HOLPLQDWLRQ IXQFWLRQV
                                                                                                    

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                                        Statement of Facts

         /3* LV LQ WKH EXVLQHVV RI PDUNHWLQJ DPRQJ RWKHU VHUYLFHV GHEW DGMXVWPHQW FUHGLW

UHSDLU DQG GHEW HOLPLQDWLRQ VHUYLFHV

         2Q RU EHIRUH -XO\   3ODLQWLIIV FRQWDFWHG /3* WR GLVFXVV SRVVLEOH GHEW

HOLPLQDWLRQ VHUYLFHV

         3ODLQWLII KDG VHYHUDO WHOHSKRQH FRQYHUVDWLRQV ZKHUHLQ VKH ZDV OHG WR EHOLHYH VKH

ZDV UHWDLQLQJ 'HIHQGDQW IRU GHEW DGMXVWPHQW VHUYLFHV ZKLFK QHFHVVDULO\ LQFOXGHG FUHGLW UHSDLU

DQG GHEW HOLPLQDWLRQ

           %DVHG XSRQ WKH UHSUHVHQWDWLRQV PDGH E\ /3* LQ WKH SKRQH FDOOV 3ODLQWLII V

EHOLHYHG E\ HQUROOLQJ LQ WKH SURJUDP WKH\ FRXOG HOLPLQDWH WKHLU RYHUDOO GHEW E\ GLVSXWLQJ WKH

YDOLGLW\ RI WKH GHEWV XQGHU WKH VWDWXWHV RI WKH &RQVXPHU )LQDQFLDO 3URWHFWLRQ %XUHDX DQG WKH

)DLU 'HEW &ROOHFWLRQ 3UDFWLFHV $FW

           $Q /3* UHSUHVHQWDWLYH VHQW 3ODLQWLIIV DQ $JUHHPHQW WR UHYLHZ DQG VLJQ DWWDFKHG

DV Exhibit A  WKH /3* UHSUHVHQWDWLYH DOVR LQVWUXFWHG 3ODLQWLIIV WKH\ KDG D ULJKW WR ZLWKKROG

SD\PHQWV WR WKHLU FUHGLWRUV ZKLOH WKH DFFRXQWV ZHUH LQ GLVSXWH

           'HIHQGDQWV FKDUJHG VXEVWDQWLDO XSIURQW IHHV 3ODLQWLII¶V FUHGLW VFRUHV VHYHUHO\

UHGXFHG SXUVXDQW WR KHU SDUWLFLSDWLRQ LQ WKH SURJUDP 3ODLQWLIIV¶ FUHGLW VFRUHV ZLOO QRW UHFRYHU

LQ WKH QHDU IXWXUH

           (QUROOLQJ LQ 'HIHQGDQWV¶ SURJUDP UHVXOWHG LQ QR UHGXFWLRQ WR 3ODLQWLII¶V WRWDO GHEW

RZHG DV DJUHHG LQ IDFW 3ODLQWLII¶V WRWDO LQGHEWHGQHVV LQFUHDVHG VXEVWDQWLDOO\ GXH WR LQWHUHVW DQG

IHHV

           3ODLQWLIIV¶ LQFOXGHG RQO\  DFFRXQWV LQ 'HIHQGDQWV SURJUDP  'LVFRYHU %DQN

6WXGHQW /RDQV



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           $IWHU HQUROOLQJ LQ 'HIHQGDQW¶V SURJUDP D ODZVXLW ZDV ILOHG DJDLQVW 3ODLQWLII RQ

ERWK 'LVFRYHU %DQN VWXGHQW ORDQV UHIHUUHG WR LQ 3DUDJUDSK  ZKLFK ZDV WKH HQWLUHW\ RI WKH

DFFRXQWV LQFOXGHG LQ 'HIHQGDQW¶V SURJUDP

           (QUROOLQJ LQ /3*¶V SURJUDP UHVXOWHG LQ QR SD\PHQWV EHLQJ PDGH WR 3ODLQWLII¶V

FUHGLWRUV

               8SRQ LQIRUPDWLRQ DQG EHOLHI WKH RQO\ VHUYLFHV SURYLGHG WR 3ODLQWLII IURP

'HIHQGDQWV ZHUH WKH PDLOLQJ RI YHULILFDWLRQ SDFNHWV WR 3ODLQWLII¶V FUHGLWRUV

               :KLOH 'HIHQGDQWV UHSUHVHQWHG PDLOLQJ WKHVH SDFNHWV ZRXOG HOLPLQDWH 3ODLQWLII¶V

GHEW LW NQHZ WKLV UHSUHVHQWDWLRQ ZDV IDOVH DQG WKH PDLOLQJV ZRXOG KDYH QR OHJDO HIIHFW ZLWK

UHJDUG WR UHGXFLQJ 3ODLQWLII¶V GHEW

            'HIHQGDQWV PDGH YDULRXV PLVUHSUHVHQWDWLRQV RU QRQGLVFORVXUHV LQ DQ HIIRUW WR

LQGXFH 3ODLQWLII WR HQWHU LQWR WKH LOOHJDO DJUHHPHQW LQFOXGLQJ EXW QRW OLPLWHG WR

                    8QVXEVWDQWLDWHG FODLPV RI VDYLQJV 'HIHQGDQWV UHSUHVHQWHG WR 3ODLQWLIIV WKDW

                      WKH SURJUDP ZRXOG HOLPLQDWH 3ODLQWLIIV¶ WRWDO GHEW KRZHYHU 'HIHQGDQWV GR

                      QRW KDYH D UHFRUG RI DFFRPSOLVKPHQW WR VXSSRUW WKDW VWDWHPHQW

                     0LVOHDGLQJ RU IDLOLQJ WR DGHTXDWHO\ LQIRUP FRQVXPHUV LQFOXGLQJ 3ODLQWLIIV

                      WKDW WKH\ ZLOO EH VXEMHFW WR FRQWLQXHG FROOHFWLRQ HIIRUWV LQFOXGLQJ ODZVXLWV

                      DQG WKDW WKHLU DFFRXQW EDODQFHV ZLOO LQFUHDVH GXH WR H[WHQGHG QRQSD\PHQW

                      XQGHU WKH SURJUDP

                    'HIHQGDQW UHSUHVHQWHG WKDW WKH PDMRULW\ RI FRQVXPHUV ZKLFK UHWDLQ LW JR RQ

                      WR FRPSOHWH WKH SURJUDP WKHUHE\ EHFRPLQJ GHEW IUHH KRZHYHU D KLJK

                      SHUFHQWDJH RI FRQVXPHUV ZKR DWWHPSW 'HIHQGDQW¶V GHEW YHULILFDWLRQ

                      SURJUDP GR QRW EHFRPH GHEW IUHH DV D UHVXOW RI LWV VHUYLFHV


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                  'HIHQGDQW DFFHSWHG PRQH\ IURP 3ODLQWLIIV IRU WKH SXUSRVH RI HOLPLQDWLQJ DOO

                    GHEWV RQ WKH SURJUDP IRU OHVV WKDQ WKH DPRXQW RZHG NQRZLQJ WKHUH ZDV D

                    VXEVWDQWLDO OLNHOLKRRG WKDW WKH\ FRXOG QRW SURYLGH WKH VHUYLFHV DV SURPLVHG

                    'HIHQGDQW NQHZ LWV EXVLQHVV PRGHO ZDV OHJDOO\ XQVRXQG DQG QRQVHQVLFDO

           %DVHG XSRQ WKH PLVUHSUHVHQWDWLRQV RI WKH 5HOLDQFH UHSUHVHQWDWLYH 3ODLQWLII DJUHHG

WR HQWHU LQWR D FRQWUDFW IRU WKH GHEW UHOLHI VHUYLFHV RI /3*

           3ODLQWLII DJUHHG WR SD\ VSHFLILHG IHHV ZKLFK XQNQRZQ WR 3ODLQWLII ZHUH LOOHJDO GXH

WR WKH VXEVWDQWLDO DPRXQW RI WKH IHHV DQG UHTXLUHPHQW RI SD\PHQW XS IURQW

           /3* ZLWKGUHZ RYHU  LQ IHHV IURP 'HIHQGDQW RYHU D SHULRG RI

DSSUR[LPDWHO\ WKUHH \HDUV

           7KH 7HOHPDUNHWLQJ 6DOHV 5XOH SURKLELWV GHEW UHOLHI FRPSDQLHV IURP FKDUJLQJ

XSIURQW IHHV SULRU WR VHWWOLQJ DFFRXQWV EHFDXVH DPRQJ RWKHU UHDVRQV VXFK D EXVLQHVV PRGHO LV

GHVLJQHG WR IDLO IURP WKH EHJLQQLQJ 765  &)5   D  L

           )XUWKHU JLYHQ WKH OHQJWK\ SHULRG RI WLPH FUHGLWRUV GR QRW UHFHLYH PRQH\ RZHG

 RIWHQWLPHV ZLWKRXW DQ\ FRQWDFW ZLWK WKH GHEW UHOLHI FRPSDQLHV RU WKH GHEWRU  WKH FUHGLWRU ZLOO

RIWHQ RSW WR EULQJ D ODZVXLW IRU PRQH\ RZHG

          'HIHQGDQW DGYLVHG 3ODLQWLIIV WR TXLW SD\LQJ WKHLU GHEWV NQRZLQJ WKH GHEW ZRXOG

FRQWLQXH WR DFFXPXODWH LQWHUHVW RYHU WKH OLPLW IHHV DQG ODWH IHHV

           'HIHQGDQW UHSUHVHQWHG WKH\ ZRXOG DWWHPSW WR HOLPLQDWH 3ODLQWLIIV¶ WRWDO GHEW

EDODQFH E\ SURYLGLQJ D GHEW HOLPLQDWLRQ SURJUDP E\ VHQGLQJ YDOLGDWLRQ GRFXPHQWDWLRQ WR WKH

WKLUGSDUW\ FROOHFWRUV FROOHFWLQJ RQ WKH GHEWV LQ WKH SURJUDP KRSLQJ GHEW FROOHFWLRQ ZRXOG FHDVH

           7KH YDVW PDMRULW\ RI VHUYLFHV /3* DJUHHG WR SURYLGH 3ODLQWLIIV ZDV LQ IDFW OHJDO

VHUYLFHV 7KH $JUHHPHQW LV D OHJDO IHH DJUHHPHQW ZKHUHE\ /3* DJUHHG WR SUDFWLFH ODZ DQG



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SURYLGH OHJDO VHUYLFHV LQ H[FKDQJH IRU PRQH\

           'HIHQGDQW¶V DFWLRQV GLG QRW UHGXFH 3ODLQWLIIV¶ WRWDO GHEW EDODQFH DQG LQ IDFW

3ODLQWLII RZH PRUH PRQH\ DQG KDYH EHHQ VXHG RQ QXPHURXV DFFRXQWV HQUROOHG LQ WKH

'HIHQGDQW¶V GHEW HOLPLQDWLRQ SURJUDP

                                      Count One:
          (Violations of the Ohio Consumer Sales Practices Act and Debt Adjustment
                                    Companies Act)

            3ODLQWLII UHSHDWV UHDOOHJHV DQG LQFRUSRUDWHV E\ UHIHUHQFH DOO RI WKH IRUHJRLQJ

SDUDJUDSKV

           7KH DFWLYLW\ GHVFULEHG LQ DOO SUHYLRXV SDUDJUDSKV LV D ³FRQVXPHU WUDQVDFWLRQ´ DV

GHILQHG E\ 5&   $  'HIHQGDQW VROLFLWHG DQG UHWDLQHG 3ODLQWLII WR SHUIRUP GHEW

DGMXVWPHQW VHUYLFHV IRU D IHH

           3ODLQWLII¶V GHEWV DW LVVXH ZHUH LQFXUUHG IRU SHUVRQDO IDPLO\ DQGRU KRXVHKROG XVH

           'HIHQGDQW LV D ³VXSSOLHU´ DV WKDW WHUP LV GHILQHG LQ 5&   &  VLQFH

'HIHQGDQW HQJDJHG LQ WKH EXVLQHVV RI HIIHFWLQJ ³FRQVXPHU WUDQVDFWLRQV´ HLWKHU GLUHFWO\ RU

LQGLUHFWO\ E\ RSHUDWLQJ D GHEW DGMXVWPHQWV VHUYLFH IRU FRQVXPHUV LQ 2KLR IRU SXUSRVHV WKDW DUH

SULPDULO\ IRU SHUVRQDO IDPLO\ RU KRXVHKROG ZLWKLQ WKH PHDQLQJ VSHFLILHG LQ 5&   $ 

           'HIHQGDQW LV D ³SHUVRQ´ DV GHILQHG E\ WKH '$&$ 5&   $ HQJDJHG LQ

WKH DFW RI ³GHEW DGMXVWLQJ´ DV GHILQHG E\ WKH '$&$ 5&   %  DQG D ³VXSSOLHU´ DV

GHILQHG E\ WKH 2&63$ 5&   &  VLQFH 'HIHQGDQW ZDV HQJDJHG LQ WKH EXVLQHVV RI

GHEW DGMXVWLQJ EXGJHW FRXQVHOLQJ GHEW PDQDJHPHQW RU GHEW SRROLQJ VHUYLFHV RU KROGLQJ

RQHVHOI RXW E\ ZRUGV RI VLPLODU LPSRUW DV SURYLGLQJ VHUYLFHV WR GHEWRUV LQ WKH PDQDJHPHQW RI

WKHLU GHEW WR D FRQVXPHU LQ WKH 6WDWH RI 2KLR IRU SXUSRVHV WKDW ZHUH SULPDULO\ IRU SHUVRQDO

IDPLO\ RU KRXVHKROG XVH


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                                         Exhibit "21"
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          3ODLQWLII LV D ³FRQVXPHU´ DV GHILQHG E\ WKH 2&63$ 5&   ' 

          'HIHQGDQW FKDUJHG DQG DFFHSWHG IHHV RU FRQWULEXWLRQV LQ H[FHVV RI ZKDW DUH

UHDVRQDEOH IHHV RU FRQWULEXWLRQV LQ YLRODWLRQ RI 5&   $    %  DQG

 )   'HIHQGDQW NQHZ WKDW WKH GHEW VHWWOHPHQW SURJUDP¶V IHHV H[FHHGHG WKH DPRXQW

SHUPLWWHG E\ 5&   % 

          8SRQ LQIRUPDWLRQ DQG EHOLHI 'HIHQGDQW IDLOHG WR DUUDQJH IRU DQG XQGHUJR DQ DXGLW

FRQGXFWHG E\ DQ LQGHSHQGHQW WKLUG SDUW\ FHUWLILHG SXEOLF DFFRXQWDQW RI WKH SHUVRQ¶V EXVLQHVV

DQG WKHQ ILOH WKH DXGLW DQG RSLQLRQ ZLWK WKH FRQVXPHU SURWHFWLRQV GLYLVLRQ RI WKH DWWRUQH\

JHQHUDO LQ YLRODWLRQ RI 5&   '  DQG  )  

          8SRQ LQIRUPDWLRQ DQG EHOLHI 'HIHQGDQW IDLOHG WR REWDLQ DQG PDLQWDLQ LQVXUDQFH

FRYHUDJH QRW OHVV WKDQ  IRU HPSOR\HH GLVKRQHVW\ IRUJHU\ DQG IUDXG LQ YLRODWLRQ RI

5&   (  DQG  )  

          'HIHQGDQW¶V WUDQVDFWLRQV IDLOHG WR LQFOXGH WKH QRWLFHV VWDWHPHQWV DQG

FDQFHOODWLRQ IRUPV DV GHILQHG E\ 5&   $ DQG %  6XFK IDLOXUH LV D YLRODWLRQ RI 5&

  $ RI WKH 2&63$ 'HIHQGDQW FRPPLWWHG XQIDLU GHFHSWLYH DQG XQFRQVFLRQDEOH DFWV

RU SUDFWLFHV LQ YLRODWLRQ RI 5&   $ DQGRU  $ RI WKH &RQVXPHU 6DOHV

3UDFWLFHV $FW LQFOXGLQJ

                 'HIHQGDQW RSHUDWHG D GHEW VHWWOHPHQW FRPSDQ\ LQ WKH 6WDWH RI 2KLR ZLWKRXW

                   FRPSO\LQJ ZLWK DSSOLFDEOH 2KLR ODZ QDPHO\ 5&   HW VHT

                 'HIHQGDQW FKDUJHG DQ H[FHVVLYH IHH IRU GHEW DGMXVWLQJ DQG IDLOHG WR SURYLGH

                   WKH VHUYLFH SXUVXDQW WR WKH )DLOXUH WR 'HOLYHU 5XOH 2$&   $ 

                 'HIHQGDQW LV DQ RXW RI VWDWH FRUSRUDWLRQV IDLOHG WR UHJLVWHU ZLWK WKH 2KLR

                   6HFUHWDU\ RI 6WDWH SULRU WR GRLQJ EXVLQHVV LQ 2KLR DV UHTXLUHG E\ 5& 



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                   

                 'HIHQGDQW PDGH IDOVH RU PLVOHDGLQJ VWDWHPHQWV WR LQGXFH D SXUFKDVHU WR SD\

                   IRU VHUYLFHV

                 'HIHQGDQW HQJDJHG LQ GHEW DGMXVWPHQW DFWLYLWLHV LQFOXGLQJ KROGLQJ RXW WKDW

                   LW FRXOG DIIHFW WKH DGMXVWPHQW FRPSURPLVH RU GLVFKDUJH RI DQ\ DFFRXQW

                   QRWH RU RWKHU LQGHEWHGQHVV RI FRQVXPHUV ZKR VLJQ XS IRU LWV VHUYLFHV

                   ZLWKRXW FRPSO\LQJ ZLWK 5&   $ DQG %  VSHFLILFDOO\ WKDW

                   'HIHQGDQW FKDUJHG IHHV LQ H[FHVV RI WKRVH SHUPLWWHG E\ WKH 2KLR 'HEW

                   $GMXVWHUV $FW

                 'HIHQGDQW YLRODWHG 2KLR $GP &RGH   $ E\ DFFHSWLQJ PRQH\

                   IURP FRQVXPHUV IRU JRRGV RU VHUYLFHV RUGHUHG E\ PDLO WHOHSKRQH RU

                   RWKHUZLVH DQG WKHQ IDLOHG WR PDNH IXOO GHOLYHU\ RU PDNH D IXOO UHIXQG DV

                   SURPLVHG

                 'HIHQGDQW KDG NQRZOHGJH RI WKH LQDELOLW\ RI WKH FRQVXPHU WR UHFHLYH D

                   VXEVWDQWLDO EHQHILW IURP WKH VXEMHFW RI WKH FRQVXPHU WUDQVDFWLRQ

                 'HIHQGDQW UHTXLUHG WKH FRQVXPHU WR HQWHU LQWR D FRQVXPHU WUDQVDFWLRQ RQ

                   WHUPV WKH VXSSOLHU NQHZ ZHUH VXEVWDQWLDOO\ RQHVLGHG LQ IDYRU RI WKH

                   VXSSOLHU

          6XFK DFWV DQG SUDFWLFHV KDYH EHHQ SUHYLRXVO\ GHWHUPLQHG E\ 2KLR FRXUWV WR YLRODWH

WKH &RQVXPHU 6DOHV 3UDFWLFHV $FW 5&   HW VHT

       43.   'HIHQGDQW FRPPLWWHG VDLG YLRODWLRQ DIWHU VXFK GHFLVLRQV ZHUH DYDLODEOH IRU SXEOLF

LQVSHFWLRQ SXUVXDQW WR 5&   $   State ex rel. Petro v. Debticated Consumer

Counseling, Inc. /XFDV &R &3   &DVH 1R &,2   3,)   State of Ohio



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ex rel. Cordray v. United Law Group, Inc. )UDQNOLQ &R &3  , &DVH 1R  &9+ 

 3,)   State of Ohio, ex rel. Cordray v. Brotherton *UHHQH &R &3   &DVH 1R

 &9  3,)   In Re Nationwide Debt Solution, Inc.   'RFNHW 1R 

 3,)   In Re Budulator Corporation, Inc.   'RFNHW 1R  3,)   State

of Ohio ex rel. Rogers v. Richard Pinnix d/b/a Pinnix Business Services )UDQNOLQ &R &3

  &DVH 1R &9+ 3,)   State of Ohio ex rel. Dann v. American Housing

Authority, Inc. /XFDV &R &3   &DVH 1R &, 3,)   State of Ohio ex

rel. Petro v. AAA All Ohio Roofing, et al. )UDQNOLQ &R &3   &DVH 1R &9+

 3,)   State ex rel. Montgomery v. Bayview Group, Inc. )UDQNOLQ &R &3   &DVH

1R &9+  3,)  

          3ODLQWLII KDV VXIIHUHG GDPDJHV GXH WR WKH LOOHJDO DQG GHFHSWLYH DFWV LQ YLRODWLRQ RI

WKH 2KLR &RQVXPHU 6DOHV 3UDFWLFHV $FW LQ WKDW

                  7KH\ SDLG IHHV WKDW ZHUH ERWK LOOHJDO DQG ZHUH QRW LQ H[FKDQJH IRU DQ\

                    VHUYLFHV RI YDOXH

                  7KH\ TXLW SD\LQJ KHU FUHGLWRUV XSRQ WKH DGYLFH RI 'HIHQGDQW¶V

                    UHSUHVHQWDWLYHV DQG WKH PDQ\ PLVUHSUHVHQWDWLRQV WKDW ZHUH PDGH WR KHU

                    GHVFULEHG LQ WKH &RPSODLQW

                  $V D UHVXOW 3ODLQWLIIV¶ FUHGLWRUV H[HUFLVHG WKHLU ULJKW WR WKH GHIDXOW LQWHUHVW

                    UDWH DFFHOHUDWLQJ WKH EDODQFHV RZHG E\ HQRUPRXV DPRXQWV WR EH GHWHUPLQHG

                    DW WULDO

                  3ODLQWLIIV VXIIHUHG PHQWDO DQG HPRWLRQDO KDUGVKLS PHQWDO DQG HPRWLRQDO

                    VWUHVV DQG DQ[LHW\

                                         Count Two:
                 (Violations of the Ohio Credit Services Organizations Act)

                                                                                                      

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           3ODLQWLIIV UHSHDWV UHDOOHJHV DQG LQFRUSRUDWHV E\ UHIHUHQFH DOO RI WKH IRUHJRLQJ

SDUDJUDSKV

           'HIHQGDQW LV D FUHGLW VHUYLFH RUJDQL]DWLRQ DV GHILQHG E\ 5&   &  LQ

WKDW 'HIHQGDQW DFFHSWHG PRQH\ LQ RUGHU WR LPSURYH 3ODLQWLIIV¶ FUHGLW UHFRUG DQG JDYH DGYLFH LQ

FRQQHFWLRQ ZLWK GRLQJ VR

           3ODLQWLIIV DUH EX\HUV DV GHILQHG E\ 5&   $ LQ WKDW VKH ZDV VROLFLWHG DQG

SXUFKDVHG WKH VHUYLFHV RI 'HIHQGDQW

           'HIHQGDQW IDLOHG WR UHJLVWHU DV D FUHGLW VHUYLFHV RUJDQL]DWLRQ ZLWK WKH 2KLR

'LYLVLRQ RI )LQDQFLDO ,QVWLWXWLRQV LQ YLRODWLRQ RI 5&   $ 

           3XUVXDQW WR 5&  $  'HIHQGDQWV¶ YLRODWLRQ RI 5&   $

FRQVWLWXWHV XQIDLU RU GHFHSWLYH DFWV RU SUDFWLFHV LQ YLRODWLRQ RI 5&  

           3ODLQWLIIV KDYH VXIIHUHG GDPDJHV GXH WR WKH LOOHJDO DQG GHFHSWLYH DFWV LQ YLRODWLRQ

RI WKH 2KLR &UHGLW 6HUYLFHV 2UJDQL]DWLRQ $FW LQ WKDW

                  3ODLQWLIIV SDLG IHHV WKDW ZHUH ERWK LOOHJDO DQG ZHUH QRW LQ H[FKDQJH IRU DQ\

                    VHUYLFHV RI YDOXH

                  3ODLQWLIIV TXLW SD\LQJ WKHLU FUHGLWRUV XSRQ WKH DGYLFH RI /3* UHSUHVHQWDWLYHV

                    DQG WKH PDQ\ PLVUHSUHVHQWDWLRQV WKDW ZHUH PDGH WR WKHP GHVFULEHG LQ WKH

                    &RPSODLQW

                  $V D UHVXOW 3ODLQWLIIV FUHGLWRUV H[HUFLVHG WKHLU ULJKW WR WKH GHIDXOW LQWHUHVW UDWH

                    DFFHOHUDWLQJ WKH EDODQFHV RZHG E\ HQRUPRXV DPRXQWV WR EH GHWHUPLQHG DW

                    WULDO

                  3ODLQWLIIV VXIIHUHG PHQWDO DQG HPRWLRQDO KDUGVKLS PHQWDO DQG HPRWLRQDO

                    VWUHVV DQG DQ[LHW\


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                                        Count Three:
                    (Violations of the Credit Repair Organizations Act)

           3ODLQWLIIV UHSHDWV UHDOOHJHV DQG LQFRUSRUDWHV E\ UHIHUHQFH DOO RI WKH IRUHJRLQJ

SDUDJUDSKV

           7KH &UHGLW 5HSDLU 2UJDQL]DWLRQV $FW ZDV HQDFWHG WR HQVXUH WKDW SURVSHFWLYH

EX\HUV RI WKH VHUYLFHV RI FUHGLW UHSDLU RUJDQL]DWLRQV DUH SURYLGHG ZLWK WKH LQIRUPDWLRQ QHFHVVDU\

WR PDNH DQ LQIRUPHG GHFLVLRQ UHJDUGLQJ WKH SXUFKDVH RI VXFK VHUYLFHV DQG WR SURWHFW WKH SXEOLF

IURP XQIDLU RU GHFHSWLYH DGYHUWLVLQJ DQG EXVLQHVV SUDFWLFHV E\ FUHGLW UHSDLU RUJDQL]DWLRQV 

86&   E  7KH &52$ SURYLGHV WKDW D FUHGLW UHSDLU RUJDQL]DWLRQ

               D 0D\ QRW FKDUJH RU UHFHLYH DQ\ PRQH\ RU RWKHU YDOXDEOH FRQVLGHUDWLRQ IRU

                   VHUYLFHV ZKLFK WKH FUHGLW UHSDLU RUJDQL]DWLRQ KDV DJUHHG WR SHUIRUP EHIRUH

                   VXFK VHUYLFH LV IXOO\ SHUIRUPHG  86&   E 

               E 0D\ QRW SURYLGH VHUYLFHV ZLWKRXW D ZULWWHQ DQG GDWHG FRQWUDFW WKDW LQFOXGHV

                   D IXOO DQG GHWDLOHG GHVFULSWLRQ RI WKH VHUYLFHV WR EH SHUIRUPHG DQG RWKHU WHUPV

                   DQG FRQGLWLRQV VHW IRUWK LQ  86&  G D   G E 

               F 0XVW SURYLGH WR WKH FRQVXPHU EHIRUH DQ\ FRQWUDFW RU DJUHHPHQW EHWZHHQ WKH

                   FRQVXPHU DQG WKH FUHGLW UHSDLU RUJDQL]DWLRQ LV H[HFXWHG WKH ZULWWHQ

                   VWDWHPHQW VHW IRUWK LQ 6HFWLRQ  D RI &52$ FRQFHUQLQJ FRQVXPHU FUHGLW

                   ILOH ULJKWV XQGHU VWDWH DQG IHGHUDO ODZ DQG WKH ULJKW WR FDQFHO D FRQWUDFW ZLWK

                   D FUHGLW UHSDLU RUJDQL]DWLRQ  86&  F DQG

               G 0XVW DOORZ D FRQVXPHU WR FDQFHO DQ\ FRQWUDFW ZLWK WKH FUHGLW UHSDLU

                   RUJDQL]DWLRQ ZLWKRXW SHQDOW\ RU REOLJDWLRQ LI WKH FRQVXPHU QRWLILHV WKH FUHGLW

                   UHSDLU RUJDQL]DWLRQ RI WKH FRQVXPHU¶V LQWHQWLRQ WR FDQFHO EHIRUH PLGQLJKW RI

                   WKH WKLUG EXVLQHVV GD\ DIWHU WKH GDWH WKH FRQWUDFW EHWZHHQ WKH FRQVXPHU DQG

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                   WKH FUHGLW UHSDLU RUJDQL]DWLRQ LV H[HFXWHG  86&  H

           'HIHQGDQW LV D ³FUHGLW UHSDLU RUJDQL]DWLRQ´ DV WKDW WHUP LV GHILQHG LQ WKH &UHGLW

5HSDLU 2UJDQL]DWLRQV $FW ³&52$´  EHFDXVH LW XVHV LQVWUXPHQWDOLWLHV RI LQWHUVWDWH FRPPHUFH

WR VHOO SURYLGH RU SHUIRUP RU UHSUHVHQW WKDW VXFK GHIHQGDQWV FDQ RU ZLOO VHOO SURYLGH RU

SHUIRUP D VHUYLFH IRU WKH H[SUHVV RU LPSOLHG SXUSRVH RI LPSURYLQJ D FRQVXPHU¶V FUHGLW UHFRUG

FUHGLW KLVWRU\ RU FUHGLW UDWLQJ DQG WKLV VHUYLFH LV RIIHUHG LQ UHWXUQ IRU WKH SD\PHQW RI PRQH\

 86&  D  

           'HIHQGDQW UHFHLYHG PRQH\ SULRU WR IXOO\ SHUIRUPLQJ LWV VHUYLFHV DQG IDLOHG WR

SURYLGH DQ\ RI WKH SURSHU GLVFORVXUHV FRQWUDFWV RU ULJKW WR FDQFHO IRUPV

          'HIHQGDQW¶V FRQGXFW DV DOOHJHG LQ &RXQW 7KUHH RI WKLV &RPSODLQW YLRODWHV WKH

&UHGLW 5HSDLU 2UJDQL]DWLRQV $FW DQG WKH 'HIHQGDQWV DUH OLDEOH IRU WKHVH YLRODWLRQV

          3ODLQWLIIV KDYH VXIIHUHG GDPDJHV GXH WR WKH LOOHJDO DQG GHFHSWLYH DFWV LQ YLRODWLRQ

RI WKH &UHGLW 5HSDLU 2UJDQL]DWLRQ $FW LQ WKDW

                  3ODLQWLIIV SDLG IHHV WKDW ZHUH ERWK LOOHJDO DQG ZHUH QRW LQ H[FKDQJH IRU DQ\

                    VHUYLFHV RI YDOXH

                  3ODLQWLIIV TXLW SD\LQJ KHU FUHGLWRUV XSRQ WKH DGYLFH RI 'HIHQGDQW¶V

                    UHSUHVHQWDWLYHV DQG WKH PDQ\ PLVUHSUHVHQWDWLRQV WKDW ZHUH PDGH WR WKHP

                    GHVFULEHG LQ WKH &RPSODLQW

                  $V D UHVXOW 3ODLQWLIIV¶ FUHGLWRUV H[HUFLVHG WKHLU ULJKW WR WKH GHIDXOW LQWHUHVW

                    UDWH DFFHOHUDWLQJ WKH EDODQFHV RZHG E\ HQRUPRXV DPRXQWV WR EH GHWHUPLQHG

                    DW WULDO

                  3ODLQWLIIV VXIIHUHG PHQWDO DQG HPRWLRQDO KDUGVKLS PHQWDO DQG HPRWLRQDO

                    VWUHVV DQG DQ[LHW\


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                                         Count Four:
                              (Fraud / Fraud in the Inducement)
            3ODLQWLIIV UHSHDWV UHDOOHJHV DQG UHLQFRUSRUDWHV E\ UHIHUHQFH DOO RI WKH IRUHJRLQJ

SDUDJUDSKV

            3ODLQWLIIV VSHFLILFDOO\ UHOLHG RQ WKH UHSUHVHQWDWLRQV PLVUHSUHVHQWDWLRQV QRQ

GLVFORVXUHV DQG LPSOLHG UHSUHVHQWDWLRQV GHVFULEHG LQ 3DUDJUDSKV  WKURXJK  ZKHQ PDNLQJ WKH

GHWHUPLQDWLRQ WR HQWHU LQWR D FRQWUDFW RU FRQWLQXH XVLQJ WKH VHUYLFHV RI 'HIHQGDQWV

            'HIHQGDQW WKURXJK UHSUHVHQWDWLRQV ZHEVLWHV DQG WKH $JUHHPHQW FUHDWH WKH

DSSHDUDQFH WKDW 3ODLQWLIIV DUH HQWHULQJ LQWR DQ DJUHHPHQW WKDW ZLOO JUHDWO\ UHGXFH KHU RXWVWDQGLQJ

GHEWV

            'HIHQGDQW HQJDJHG LQ WKH XQODZIXO FRQGXFW SUHYLRXVO\ DOOHJHG ZLWK WKH DFWXDO

DQGRU LPSXWHG NQRZOHGJH RI WKH XQODZIXO FRQGXFW

            'HIHQGDQW NQRZLQJO\ HQJDJHG LQ VXFK FRQGXFW ZLWK WKH SXUSRVH RI LQGXFLQJ

SD\PHQW IURP 3ODLQWLIIV

            3ODLQWLIIV KDYH EHHQ LQMXUHG E\ WKH ZURQJIXO DQG IUDXGXOHQW FRQGXFW RI 'HIHQGDQW

DQG KDYH EHHQ GDPDJHG LQ DQ DPRXQW WR EH HVWDEOLVKHG DW WULDO DV ZHOO DV HQWLWOHG WR SXQLWLYH

GDPDJHV LQ DQ DPRXQW WR EH HVWDEOLVKHG DW WULDO

                                          Count Five:
                         (Violations of the Telemarketing Sales Rule)
            3ODLQWLIIV UHSHDWV UHDOOHJHV DQG UHLQFRUSRUDWHV E\ UHIHUHQFH DOO RI WKH IRUHJRLQJ

SDUDJUDSKV

            7KH 7HOHPDUNHWLQJ 6DOHV 5XOH ³765´ ZDV SURPXOJDWHG IRU WKH H[SOLFLW SXUSRVH

RI SUHYHQWLQJ FRQVXPHU KDUP IURP GHEW UHOLHI RSHUDWLRQV OLNH WKH YHQWXUH RI WKH 'HIHQGDQW LQ

WKLV FDVH

            7KH 765  &)5   P  GHILQHV ³GHEW UHOLHI VHUYLFH´ DV ³DQ\ SURJUDP RU

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VHUYLFH UHSUHVHQWHG GLUHFWO\ RU E\ LPSOLFDWLRQ WR UHQHJRWLDWH VHWWOH RU LQ DQ\ ZD\ DOWHU WKH

WHUPV RI SD\PHQWV RU RWKHU WHUPV RI WKH GHEW EHWZHHQ D SHUVRQ DQG RQH RU PRUH XQVHFXUHG

FUHGLWRUV RU GHEW FROOHFWRUV LQFOXGLQJ EXW QRW OLPLWHG WR D UHGXFWLRQ LQ WKH EDODQFH LQWHUHVW

UDWH RU IHHV RZHG E\ D SHUVRQ WR DQ XQVHFXUHG FUHGLWRU RU GHEW FROOHFWRU´

           7KH 765  &)5   GG  GHILQHV ³WHOHPDUNHWLQJ´ DV ³D SODQ SURJUDP RU

FDPSDLJQ ZKLFK LV FRQGXFWHG WR LQGXFH WKH SXUFKDVH RI JRRGV RU VHUYLFHV RU D FKDULWDEOH

FRQWULEXWLRQ E\ XVH RI RQH RU PRUH WHOHSKRQHV DQG ZKLFK LQYROYHV PRUH WKDQ RQH LQWHUVWDWH

WHOHSKRQH FDOO´

           7KH 765  &)5   DD  GHILQHV ³VHOOHU´ DV ³DQ\ SHUVRQ ZKR LQ

       FRQQHFWLRQ ZLWK D WHOHPDUNHWLQJ WUDQVDFWLRQ SURYLGHV RIIHUV WR SURYLGH RU DUUDQJHV IRU

RWKHUV WR SURYLGH JRRGV RU VHUYLFHV WR WKH FXVWRPHU LQ H[FKDQJH IRU FRQVLGHUDWLRQ´

           7KH 765  &)5   FF  GHILQHV ³WHOHPDUNHWHU´ DV ³DQ\ SHUVRQ ZKR LQ

FRQQHFWLRQ ZLWK WHOHPDUNHWLQJ LQLWLDWHV RU UHFHLYHV WHOHSKRQH FDOOV WR RU IURP D FXVWRPHU RU

GRQRU´

           'HIHQGDQW LV D ³VHOOHU´ RU ³WHOHPDUNHWHU´ RI ³GHEW UHOLHI VHUYLFHV´ ZKR HQJDJHV

LQ ³WHOHPDUNHWLQJ´ DV GHILQHG LQ WKH 765

           7KH 765  &)5   D  L  SURYLGHV WKDW D VHOOHU RU D WHOHPDUNHWHU PD\

QRW UHTXHVW RU UHFHLYH SD\PHQW RI DQ\ IHH RU FRQVLGHUDWLRQ IRU DQ\ GHEW UHOLHI VHUYLFH XQWLO DQG

XQOHVV DPRQJ RWKHU WKLQJV ³WKH VHOOHU RU WHOHPDUNHWHU KDV UHQHJRWLDWHG VHWWOHG UHGXFHG RU

RWKHUZLVH DOWHUHG WKH WHUPV RI DW OHDVW RQH GHEW SXUVXDQW WR D VHWWOHPHQW DJUHHPHQW GHEW

PDQDJHPHQW SODQ RU RWKHU VXFK YDOLG FRQWUDFWXDO DJUHHPHQW H[HFXWHG E\ WKH FXVWRPHU´ DQG

³WKH FXVWRPHU KDV PDGH DW OHDVW RQH SD\PHQW´ SXUVXDQW WRR VXFK DQ DJUHHPHQW RU SODQ

           7KH 765  &)5   D  LL  SURYLGHV WKDW D VHOOHU RU D WHOHPDUNHWHU PD\



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UHTXHVW RU UHTXLUH FXVWRPHUV WR SODFH IXQGV LQ DQ DFFRXQW WR EH XVHG IRU WKH GHEW UHOLHI SURYLGHU¶V

IHHV DQG IRU SD\PHQWV WR FUHGLWRUV RU GHEW FROOHFWRUV LQ FRQQHFWLRQ ZLWK WKH UHQHJRWLDWLRQ RU

VHWWOHPHQW RI D GHEW SURYLGHG WKDW DPRQJ RWKHU WKLQJV WKH FXVWRPHU RZQV WKH IXQGV KHOG LQ

WKH DFFRXQW DQG LV SDLG LQWHUHVW RQ WKH DFFRXQW´ DQG ³WKH FXVWRPHU PD\ ZLWKGUDZ IURP WKH GHEW

UHOLHI VHUYLFH DW DQ\ WLPH ZLWKRXW SHQDOW\ DQG PXVW UHFHLYH DOO IXQGV LQ WKH DFFRXQW RWKHU WKDW

IXQGV HDUQHG E\ WKH GHEW UHOLHI VHUYLFH LQ FRPSOLDQFH ZLWK   D  L $ WKURXJK & 

ZLWKLQ VHYHQ  EXVLQHVV GD\V RI WKH FRQVXPHU¶V UHTXHVW´

           7KH 765  &)5   D  LL  SURKLELWV D VHOOHU RU WHOHPDUNHWHU IURP

PLVUHSUHVHQWLQJ GLUHFWO\ RU E\ LPSOLFDWLRQ LQ WKH VDOH RI JRRGV RU VHUYLFHV DQ\ PDWHULDO

UHVWULFWLRQ OLPLWDWLRQ RU FRQGLWLRQ WR SXUFKDVH UHFHLYH RU XVH JRRGV RU VHUYLFHV WKDW DUH WKH

VXEMHFW RI WKH VDOHV RIIHU

            7KH 765  &)5   D  LLL  SURKLELWV D VHOOHU RU WHOHPDUNHWHU IURP

PLVUHSUHVHQWLQJ GLUHFWO\ RU E\ LPSOLFDWLRQ LQ WKH VDOH RI JRRGV RU VHUYLFHV DQ\ PDWHULDO DVSHFW

RI WKH SHUIRUPDQFH HIILFDF\ QDWXUH RU FHQWUDO FKDUDFWHULVWLFV RI JRRGV RU VHUYLFHV WKDW DUH WKH

VXEMHFW RI D VDOHV RIIHU

           7KH 765  &)5   D  [  SURKLELWV D VHOOHU RU WHOHPDUNHWHU IURP

PLVUHSUHVHQWLQJ GLUHFWO\ RU E\ LPSOLFDWLRQ LQ WKH VDOH RI JRRGV RU VHUYLFHV DQ\ PDWHULDO DVSHFW

RI DQ\ GHEW UHOLHI VHUYLFH

           ,Q WKH FRXUVH RI WHOHPDUNHWLQJ GHEW UHOLHI VHUYLFHV 'HIHQGDQW KDV UHTXHVWHG DQG

UHFHLYHG SD\PHQW RI IHHV IURP 3ODLQWLIIV IRU GHEW UHOLHI VHUYLFHV EHIRUH UHQHJRWLDWLQJ

VHWWOLQJ UHGXFLQJ RU RWKHUZLVH DOWHULQJ WKH WHUPV RI KLV GHEWV 'HIHQGDQW UHTXHVWHG DQG UHFHLYHG

SD\PHQW RI WKHVH IHHV SULRU WR 3ODLQWLIIV PDNLQJ DW OHDVW RQH SD\PHQW SXUVXDQW WR DQ\ VHWWOHPHQW

DJUHHPHQW GHEWPDQDJHPHQW SODQ RU RWKHU YDOLG FRQWUDFWXDO DJUHHPHQW EHWZHHQ 3ODLQWLIIV DQG



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WKHLU FUHGLWRUV

         7KHUHIRUH 'HIHQGDQW¶V DFW RU SUDFWLFHV YLRODWH WKH 765  &)5

  D  L  DQG DUH DEXVLYH DFWV RU SUDFWLFHV LQ WHOHPDUNHWLQJ

            3ODLQWLIIV ZHUH FKDUJHG DGYDQFHV IHHV IRU 'HIHQGDQW¶V GHEW UHOLHI VHUYLFHV

            7KHUHIRUH 'HIHQGDQW¶V UHSUHVHQWDWLRQV DV GHVFULEHG KHUHLQ YLRODWH WKH 765

&)5   D  LL DQG [  DQG DUH GHFHSWLYH DFWV RU SUDFWLFHV LQ WHOHPDUNHWLQJ

            ,Q QXPHURXV LQVWDQFHV LQ FRQQHFWLRQ ZLWK DGYHUWLVLQJ PDUNHWLQJ SURPRWLQJ

RIIHULQJ IRU VDOH RU VDOH RI GHEW UHOLHI VHUYLFHV 'HIHQGDQW UHSUHVHQWHG WR 3ODLQWLIIV GLUHFWO\ RU

LQGLUHFWO\ H[SUHVVO\ RU E\ LPSOLFDWLRQ WKDW 3ODLQWLIIV WRWDO GHEW DPRXQW ZRXOG EH UHGXFHG E\

XS WR 

            ,Q IDFW 'HIHQGDQW GR QRW KDYH D WUDFN UHFRUG RI FRQVLVWHQW GHEW UHGXFWLRQ RI WKLV

GHJUHH LI DQ\ DW DOO

            7KHUHIRUH 'HIHQGDQW¶V UHSUHVHQWDWLRQV DV GHVFULEHG KHUHLQ YLRODWH WKH 765

&)5   D  LLL DQG [  DQG DUH GHFHSWLYH DFWV RU SUDFWLFHV LQ WHOHPDUNHWLQJ

            ,Q DGGLWLRQ 'HIHQGDQW DQG LWV UHSUHVHQWDWLYHV LQ PDNLQJ LWV VDYLQJV FODLPV

 DPRXQWV RI PRQLHV V ZRXOG VDYH E\ XVLQJ 'HIHQGDQW¶V VHUYLFHV GLG QRW GLVFORVH WKH IROORZLQJ

LQ YLRODWLRQ RI WKH 765

                            6WDWH WKH VDYLQJV ZDV EDVHG RQ WKH 3ODLQWLIIV¶ GHEW ZKHQ WKH\ VLJQHG

                             XS IRU WKH SURJUDP

                            ,QFOXGH WKH LPSDFW RI WKH 'HIHQGDQW¶V IHHV RQ WKHLU FODLPHG VDYLQJV

                             WR WKH 3ODLQWLIIV

                            ,Q FDOFXODWLQJ WKH UHVXOWV RYHU WLPH GLG QRW LQFOXGH FXVWRPHUV ZKR

                             GURSSHG RXW RU RWKHUZLVH IDLOHG WR FRPSOHWH WKH SURJUDP



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                                            Count Six
                                       (Breach of Contract)

             3ODLQWLIIV UHSHDW UHDOOHJH DQG UHLQFRUSRUDWH E\ UHIHUHQFH DOO RI WKH IRUHJRLQJ

SDUDJUDSKV

             'HIHQGDQW HQWHUHG LQWR D FRQWUDFW ZLWK 3ODLQWLIIV DQG UHSUHVHQWHG LW ZRXOG

HOLPLQDWH 3ODLQWLIIV¶ GHEW

             'HIHQGDQW IXUWKHU SURYLGHG DGYLFH DQG H[SODQDWLRQ RQ WKH )DLU &UHGLW 5HSRUWLQJ

$FW WKH )HGHUDO 7UDGH &RPPLVVLRQ $FW WKH 7UXWK LQ /HQGLQJ $FW DQG WKH )DLU 'HEW &ROOHFWLRQ

3UDFWLFHV $FW

             'HIHQGDQW GLG QRW SHUIRUP LWV REOLJDWLRQV SXUVXDQW WR WKH FRQWUDFW DV DJUHHG DV QR

GHEWV RI 3ODLQWLIIV ZHUH HOLPLQDWHG

             3ODLQWLII SDLG 'HIHQGDQW SXUVXDQW WR WKH FRQWUDFW DV DJUHHG

             3ODLQWLII KDV EHHQ GDPDJHG E\ 'HIHQGDQW¶V QRQSHUIRUPDQFH DQG UHVXOWLQJ EUHDFK

RI WKH FRQWUDFW

             $V VXFK 3ODLQWLIIV DUH HQWLWOHG WR GDPDJHV IRU WKH EUHDFK RI FRQWUDFW

                                           Count Seven
                                       (Legal Malpractice)


             3ODLQWLIIV UHSHDWV UHDOOHJHV DQG UHLQFRUSRUDWHV E\ UHIHUHQFH DOO RI WKH IRUHJRLQJ

SDUDJUDSKV

             'HIHQGDQW RZHG D GXW\ RU REOLJDWLRQ WR 3ODLQWLII

             'HIHQGDQW EUHDFKHG WKDW GXW\ RU REOLJDWLRQ E\ QRW SHUIRUPLQJ DQ\ VHUYLFHV DV

DJUHHG

             'HIHQGDQW IDLOHG WR FRQIRUP WR WKH DSSOLFDEOH VWDQGDUG RI FDUH UHTXLUHG E\ ODZ

             'HIHQGDQW ZDV WKH SUR[LPDWH FDXVH RI GDPDJH WR 3ODLQWLII


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           &RQVHTXHQWO\ 'HIHQGDQW¶V DFWLRQV RU ODFN RI DFWLRQ DV SUHYLRXVO\ GHVFULEHG

FRQVWLWXWHV OHJDO PDOSUDFWLFH

                                    PRAYER FOR RELIEF

WHEREFORE, 3ODLQWLIIV SUD\V WKLV &RXUW JUDQW WKH IROORZLQJ UHOLHI

       ,668( DQ RUGHU GHFODULQJ WKDW WKH 'HIHQGDQW KDV HQJDJHG LQ DFWV DQG SUDFWLFHV LQ

          YLRODWLRQ RI WKH &RQVXPHU 6DOHV 3UDFWLFHV $FW 5&   HW VHT WKH 'HEW

          $GMXVWPHQW &RPSDQLHV $FW 5&   HW VHT WKH 2KLR &UHGLW 6HUYLFHV

          2UJDQL]DWLRQ $FW 5&   HW VHT WKH &UHGLW 5HSDLU 2UJDQL]DWLRQ $FW  86&

            HW VHT DQG WKH 7HOHPDUNHWLQJ 6DOHV 5XOH  &)5   HW VHT

       ,668( D 3HUPDQHQW ,QMXQFWLRQ HQMRLQLQJ WKH 'HIHQGDQW LWV DJHQWV VHUYDQWV

          HPSOR\HHV VXFFHVVRUV RU DVVLJQV DQG DOO SHUVRQV DFWLQJ LQ FRQFHUW DQG SDUWLFLSDWLRQ

          ZLWK LW GLUHFWO\ RU LQGLUHFWO\ WKURXJK DQ\ FRUSRUDWH GHYLFH SDUWQHUVKLS RU RWKHU

          DVVRFLDWLRQ XQGHU WKLV RU DQ\ RWKHU QDPH IURP HQJDJLQJ LQ WKH DFWV DQG SUDFWLFHV

          ZKLFK 3ODLQWLIIV FRPSODLQV LQ WKH 6WDWH RI 2KLR XQWLO FRPSO\LQJ ZLWK WKH ODZV RI WKH

          6WDWH RI 2KLR DQG VDWLVIDFWLRQ RI DQ\ PRQHWDU\ REOLJDWLRQV WR 3ODLQWLII

       *5$17 MXGJPHQW DJDLQVW WKH 'HIHQGDQW LQ WKH DPRXQW RI WKUHH WLPHV WKH DFWXDO

          GDPDJHV RU  IRU HDFK XQODZIXO DFW VSHFLILHG ZKLFKHYHU LV JUHDWHU SXUVXDQW WR

          5&   % 

       *5$17 MXGJPHQW DJDLQVW WKH 'HIHQGDQW IRU FRPPRQ ODZ IUDXG LQ DQ DPRXQW RI

          GDPDJHV LQ H[FHVV RI 

       *5$17 MXGJPHQW DJDLQVW WKH 'HIHQGDQW LQ H[FHVV RI  IRU YLRODWLRQV RI WKH

          7HOHPDUNHWLQJ 6DOHV 5XOH  &)5  HW VHT

       *5$17 VWDWXWRU\ GDPDJHV IRU YLRODWLRQV RI WKH &UHGLW 5HSDLU 2UJDQL]DWLRQ $FW 

          86&  J

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        *5$17 VWDWXWRU\ GDPDJHV IRU YLRODWLRQV RI WKH 2KLR &UHGLW 6HUYLFHV 2UJDQL]DWLRQ

           $FW 5&  

        *5$17 MXGJPHQW DJDLQVW WKH 'HIHQGDQW LQ H[FHVV RI  IRU LWV EUHDFK RI

           FRQWUDFW ZLWK 'HIHQGDQW

        &RVWV DQG UHDVRQDEOH DWWRUQH\ IHHV SXUVXDQW WR 5&   )  

        *5$17 SXQLWLYH GDPDJHV

        *5$17 VXFK RWKHU UHOLHI DV WKLV &RXUW GHHPV WR EH MXVW HTXLWDEOH DQG DSSURSULDWH


                                                      5HVSHFWIXOO\ 6XEPLWWHG



                                                      /s/ Jeremiah E. Heck
                                                      -HUHPLDK ( +HFN 
                                                      'DYLG % 6FKXOW] 
                                                      /XIWPDQ +HFN $VVRFLDWHV //3
                                                       5LYHUVLGH 'ULYH 6XLWH 
                                                      'XEOLQ 2KLR 
                                                      3KRQH  
                                                      )D[  
                                                      GVFKXOW]#ODZOKFRP
                                                      Attorney for Plaintiffs




                                 DEMAND FOR JURY TRIAL

        3OHDVH WDNH QRWLFH WKDW 3ODLQWLIIV *HQHYD 6KHIILHOG DQG 0\UDQGD 6KHIILHOG GHPDQGV WULDO
E\ MXU\ LQ WKLV DFWLRQ



                                                      /s/ Jeremiah E. Heck
                                                      -HUHPLDK ( +HFN 

                                                                                                

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                                                Client Information

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Las 4 SSN: XXX-XX-4607

                                               Co-Client Information

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Last 4 SSN: XXX-XX-5325




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                                                  Exhibit "21"
                                           ID: a48d7911-ee01-deee-0353-a67e41dababf Signed: 2019-07-22T15:02:55-05:00
Case 8:23-ap-01046-SC Doc -2 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                      ID: a48d7911-ee01-deee-0353-a67e41dababf Signed: 2019-07-22T15:02:55-05:00
Case 8:23-ap-01046-SC Doc -2 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                     Exhibit Exhibits 13 - 27 Page 254 of 350
                   INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               $XWKRULW\ )RU &LYLO &RYHU 6KHHW

7KH -6  FLYLO FRYHU VKHHW DQG WKH LQIRUPDWLRQ FRQWDLQHG KHUHLQ QHLWKHU UHSODFHV QRU VXSSOHPHQWV WKH ILOLQJV DQG VHUYLFH RI SOHDGLQJ RU RWKHU SDSHUV DV
UHTXLUHG E\ ODZ H[FHSW DV SURYLGHG E\ ORFDO UXOHV RI FRXUW 7KLV IRUP DSSURYHG E\ WKH -XGLFLDO &RQIHUHQFH RI WKH 8QLWHG 6WDWHV LQ 6HSWHPEHU  LV
UHTXLUHG IRU WKH XVH RI WKH &OHUN RI &RXUW IRU WKH SXUSRVH RI LQLWLDWLQJ WKH FLYLO GRFNHW VKHHW &RQVHTXHQWO\ D FLYLO FRYHU VKHHW LV VXEPLWWHG WR WKH &OHUN RI
&RXUW IRU HDFK FLYLO FRPSODLQW ILOHG 7KH DWWRUQH\ ILOLQJ D FDVH VKRXOG FRPSOHWH WKH IRUP DV IROORZV

I.(a)   Plaintiffs-Defendants. (QWHU QDPHV ODVW ILUVW PLGGOH LQLWLDO RI SODLQWLII DQG GHIHQGDQW ,I WKH SODLQWLII RU GHIHQGDQW LV D JRYHUQPHQW DJHQF\ XVH
        RQO\ WKH IXOO QDPH RU VWDQGDUG DEEUHYLDWLRQV ,I WKH SODLQWLII RU GHIHQGDQW LV DQ RIILFLDO ZLWKLQ D JRYHUQPHQW DJHQF\ LGHQWLI\ ILUVW WKH DJHQF\ DQG WKHQ
        WKH RIILFLDO JLYLQJ ERWK QDPH DQG WLWOH
  (b)   County of Residence. )RU HDFK FLYLO FDVH ILOHG H[FHSW 86 SODLQWLII FDVHV HQWHU WKH QDPH RI WKH FRXQW\ ZKHUH WKH ILUVW OLVWHG SODLQWLII UHVLGHV DW WKH
        WLPH RI ILOLQJ ,Q 86 SODLQWLII FDVHV HQWHU WKH QDPH RI WKH FRXQW\ LQ ZKLFK WKH ILUVW OLVWHG GHIHQGDQW UHVLGHV DW WKH WLPH RI ILOLQJ 127( ,Q ODQG
        FRQGHPQDWLRQ FDVHV WKH FRXQW\ RI UHVLGHQFH RI WKH GHIHQGDQW LV WKH ORFDWLRQ RI WKH WUDFW RI ODQG LQYROYHG
  (c)   Attorneys. (QWHU WKH ILUP QDPH DGGUHVV WHOHSKRQH QXPEHU DQG DWWRUQH\ RI UHFRUG ,I WKHUH DUH VHYHUDO DWWRUQH\V OLVW WKHP RQ DQ DWWDFKPHQW QRWLQJ
        LQ WKLV VHFWLRQ  VHH DWWDFKPHQW 

II.     Jurisdiction. 7KH EDVLV RI MXULVGLFWLRQ LV VHW IRUWK XQGHU 5XOH  D  )5&Y3 ZKLFK UHTXLUHV WKDW MXULVGLFWLRQV EH VKRZQ LQ SOHDGLQJV 3ODFH DQ ;
        LQ RQH RI WKH ER[HV ,I WKHUH LV PRUH WKDQ RQH EDVLV RI MXULVGLFWLRQ SUHFHGHQFH LV JLYHQ LQ WKH RUGHU VKRZQ EHORZ
        8QLWHG 6WDWHV SODLQWLII  -XULVGLFWLRQ EDVHG RQ  86&  DQG  6XLWV E\ DJHQFLHV DQG RIILFHUV RI WKH 8QLWHG 6WDWHV DUH LQFOXGHG KHUH
        8QLWHG 6WDWHV GHIHQGDQW  :KHQ WKH SODLQWLII LV VXLQJ WKH 8QLWHG 6WDWHV LWV RIILFHUV RU DJHQFLHV SODFH DQ ; LQ WKLV ER[
        )HGHUDO TXHVWLRQ  7KLV UHIHUV WR VXLWV XQGHU  86&  ZKHUH MXULVGLFWLRQ DULVHV XQGHU WKH &RQVWLWXWLRQ RI WKH 8QLWHG 6WDWHV DQ DPHQGPHQW
        WR WKH &RQVWLWXWLRQ DQ DFW RI &RQJUHVV RU D WUHDW\ RI WKH 8QLWHG 6WDWHV ,Q FDVHV ZKHUH WKH 86 LV D SDUW\ WKH 86 SODLQWLII RU GHIHQGDQW FRGH WDNHV
        SUHFHGHQFH DQG ER[  RU  VKRXOG EH PDUNHG
        'LYHUVLW\ RI FLWL]HQVKLS  7KLV UHIHUV WR VXLWV XQGHU  86&  ZKHUH SDUWLHV DUH FLWL]HQV RI GLIIHUHQW VWDWHV :KHQ %R[  LV FKHFNHG WKH
        FLWL]HQVKLS RI WKH GLIIHUHQW SDUWLHV PXVW EH FKHFNHG. 6HH 6HFWLRQ ,,, EHORZ; NOTE: federal question actions take precedence over diversity
        cases.

III.    Residence (citizenship) of Principal Parties. 7KLV VHFWLRQ RI WKH -6  LV WR EH FRPSOHWHG LI GLYHUVLW\ RI FLWL]HQVKLS ZDV LQGLFDWHG DERYH 0DUN WKLV
        VHFWLRQ IRU HDFK SULQFLSDO SDUW\

IV.     Nature of Suit. 3ODFH DQ ; LQ WKH DSSURSULDWH ER[ ,I WKHUH DUH PXOWLSOH QDWXUH RI VXLW FRGHV DVVRFLDWHG ZLWK WKH FDVH SLFN WKH QDWXUH RI VXLW FRGH
        WKDW LV PRVW DSSOLFDEOH &OLFN KHUH IRU 1DWXUH RI 6XLW &RGH 'HVFULSWLRQV

V.      Origin. 3ODFH DQ ; LQ RQH RI WKH VHYHQ ER[HV
        2ULJLQDO 3URFHHGLQJV  &DVHV ZKLFK RULJLQDWH LQ WKH 8QLWHG 6WDWHV GLVWULFW FRXUWV
        5HPRYHG IURP 6WDWH &RXUW  3URFHHGLQJV LQLWLDWHG LQ VWDWH FRXUWV PD\ EH UHPRYHG WR WKH GLVWULFW FRXUWV XQGHU 7LWOH  86& 6HFWLRQ 
        5HPDQGHG IURP $SSHOODWH &RXUW  &KHFN WKLV ER[ IRU FDVHV UHPDQGHG WR WKH GLVWULFW FRXUW IRU IXUWKHU DFWLRQ 8VH WKH GDWH RI UHPDQG DV WKH ILOLQJ
        GDWH
        5HLQVWDWHG RU 5HRSHQHG  &KHFN WKLV ER[ IRU FDVHV UHLQVWDWHG RU UHRSHQHG LQ WKH GLVWULFW FRXUW 8VH WKH UHRSHQLQJ GDWH DV WKH ILOLQJ GDWH
        7UDQVIHUUHG IURP $QRWKHU 'LVWULFW  )RU FDVHV WUDQVIHUUHG XQGHU 7LWOH  86& 6HFWLRQ  D  'R QRW XVH WKLV IRU ZLWKLQ GLVWULFW WUDQVIHUV RU
        PXOWLGLVWULFW OLWLJDWLRQ WUDQVIHUV
        0XOWLGLVWULFW /LWLJDWLRQ ± 7UDQVIHU  &KHFN WKLV ER[ ZKHQ D PXOWLGLVWULFW FDVH LV WUDQVIHUUHG LQWR WKH GLVWULFW XQGHU DXWKRULW\ RI 7LWOH  86&
        6HFWLRQ 
        0XOWLGLVWULFW /LWLJDWLRQ ± 'LUHFW )LOH  &KHFN WKLV ER[ ZKHQ D PXOWLGLVWULFW FDVH LV ILOHG LQ WKH VDPH GLVWULFW DV WKH 0DVWHU 0'/ GRFNHW
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. 2ULJLQ &RGH  ZDV XVHG IRU KLVWRULFDO UHFRUGV DQG LV QR ORQJHU UHOHYDQW GXH WR
        FKDQJHV LQ VWDWXWH

VI.     Cause of Action. 5HSRUW WKH FLYLO VWDWXWH GLUHFWO\ UHODWHG WR WKH FDXVH RI DFWLRQ DQG JLYH D EULHI GHVFULSWLRQ RI WKH FDXVH Do not cite jurisdictional
        statutes unless diversity. ([DPSOH 86 &LYLO 6WDWXWH  86&  %ULHI 'HVFULSWLRQ 8QDXWKRUL]HG UHFHSWLRQ RI FDEOH VHUYLFH

VII.    Requested in Complaint. &ODVV $FWLRQ 3ODFH DQ ; LQ WKLV ER[ LI \RX DUH ILOLQJ D FODVV DFWLRQ XQGHU 5XOH  )5&Y3
        'HPDQG ,Q WKLV VSDFH HQWHU WKH DFWXDO GROODU DPRXQW EHLQJ GHPDQGHG RU LQGLFDWH RWKHU GHPDQG VXFK DV D SUHOLPLQDU\ LQMXQFWLRQ
        -XU\ 'HPDQG &KHFN WKH DSSURSULDWH ER[ WR LQGLFDWH ZKHWKHU RU QRW D MXU\ LV EHLQJ GHPDQGHG

VIII. Related Cases. 7KLV VHFWLRQ RI WKH -6  LV XVHG WR UHIHUHQFH UHODWHG SHQGLQJ FDVHV LI DQ\ ,I WKHUH DUH UHODWHG SHQGLQJ FDVHV LQVHUW WKH GRFNHW
      QXPEHUV DQG WKH FRUUHVSRQGLQJ MXGJH QDPHV IRU VXFK FDVHV

Date and Attorney Signature. 'DWH DQG VLJQ WKH FLYLO FRYHU VKHHW




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                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

ANIBAL COLON JR.,

            Plaintiff,                                    Case No. 6:22-cv-02343

  v.

THE LITIGATION PRACTICE GROUP PC,

            Defendant.
                                                  /

                                       COMPLAINT

       NOW COMES ANIBAL COLON JR. (“Plaintiff”) by and through his

undersigned attorney, complaining as to the conduct of THE LITIGATION

PRACTICE GROUP PC (“Defendant”) as follows:

                                  NATURE OF THE ACTION

       1.        Plaintiff brings this action seeking redress for Defendant’s violations of

the Credit Repair Organization Act (“CROA”) pursuant to 15 U.S.C. § 1679 et seq.,

the Florida Credit Service Organization Act (“FCSOA”) pursuant to Fla. Stat. §

817.700 et seq., and the Florida Deceptive and Unfair Trade Practices Act

(“FDUTPA”) pursuant to Fla. Stat. § 501.201 et seq.

                                 JURISDICTION AND VENUE

       2.        Subject matter jurisdiction is conferred upon this Court by the CROA

pursuant to 15 U.S.C. § 1679 et seq., 28 U.S.C. §§ 1331 and 1337, as the action arises



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under the laws of the United States. Supplemental jurisdiction exists for the state law

claims pursuant to 28 U.S.C. § 1367.

      3.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Plaintiff

resides in the Middle District of Florida and all of the events or omissions giving rise

to Plaintiff’s claims occurred in this Middle District of Florida.

                                        PARTIES

      4.     Plaintiff is a consumer and a natural person over 18-years-of-age who, at

all-times relevant, resided in the Middle District of Florida.

      5.     Defendant is a credit repair organization and law corporation that offers

its customers the ability to eliminate and resolve their debit issues through Defendant’s

services. Defendant is a professional corporation organized under the laws of the state

of California with its principal place of business located at 17542 17th Street, Suite 100,

Tustin, California 92780.

      6.     Defendant acted through its agents, employees, officers, members,

directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

representatives and insurers at all times relevant to the instant action.

                       FACTS SUPPORTING CAUSES OF ACTION

      7.     In November 2019, Plaintiff had a number of debts which were impacting

his credit, prompting him to begin looking for companies who may be able to assist

him in improving his credit and resolving his obligations.

      8.     After diligent research, Plaintiff happened upon Defendant due to its

representations that it could help consumers improve their creditworthiness.

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      9.     As such, Plaintiff spoke with Defendant who advised Plaintiff that it

would be able to remove negative information from his credit profile, resolve

obligations with creditors and improve his credit score.

      10.    On November 24, 2019, Plaintiff entered into an agreement in

connection with Defendant’s credit repair services.

      11.    As part of agreement, Plaintiff paid Defendant a recurring monthly fee of

$278.92 in exchange for Defendant’s services that included removing erroneous or

inaccurate information appearing on Plaintiff’s credit report by contesting debts.

      12.    After months of making payments and informing Defendant of the

inaccurate information which he wanted addressed through Defendant’s dispute

process, none of the inaccurate information had been removed from Plaintiff’s credit

reports.

      13.    Relying upon Defendant’s representations regarding the nature and

efficacy of its services, Plaintiff continued making recurring monthly payments with

the hopes of improving his creditworthiness.

      14.    Defendant’s conduct in representing that it could effectively dispute and

remove Plaintiff’s information on his credit reports was inherently misleading and

deceptive.

      15.    Plaintiff continued to work with Defendant on a month to month basis

into 2020 following their initial agreement. However, Plaintiff grew tiresome of

Defendants failure to uphold its promises.



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       16.    Eventually, after making multiple payments to Defendant, Plaintiff

became extremely frustrated and distressed that he had been making payments yet not

seeing any results on the part of Defendant.

       17.    Upon information and belief, Defendant retained fees for services prior

to such services being fully performed, as Defendant’s retention of Plaintiff’s monthly

payment, at least in part, went towards purported legal proceedings that have not, and

may never, come about.

       18.    Even further, the contract between Plaintiff and Defendant fails to

include the information and disclosures Defendant was required to provide to Plaintiff

under federal and state law.

       19.    At no point did Defendant provide Plaintiff any of the disclosures

required by federal and state law.

       20.    Defendant’s failure to provide Plaintiff the relevant information and

disclosures inhibited Plaintiff’s ability to chart an intelligent course of conduct in

connection with his dealings with Defendant.

       21.    Subsequently, on September 22, 2020, Plaintiff terminated its contact

with Defendant due to Plaintiff not seeing any positive changes occur in Defendant’s

debt relief program

       22.    Following Plaintiff’s termination of his relationship with Defendant,

Plaintiff spent months attempting to dig himself out of the hole created by Defendant’s

deficient provision of credit repair services.



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       23.    Frustrated, distressed, and concerned over Defendant’s conduct, Plaintiff

spoke with the undersigned regarding his rights.

                                       DAMAGES

       24.    Defendant’s failure to sufficiently take steps to improve Plaintiff’s

creditworthiness though its debt relief program underscores the generally deceptive

manner in which Defendant held out the efficacy of its services to Plaintiff.

       25.    Furthermore, it was deceptive for Defendant to represent the

effectiveness of its services given that Defendant promised Plaintiff that it would clean

up Plaintiff’s credit, pay off his creditors, and improve his credit score.

       26.    As such, Defendant misrepresented the nature of its services by not

properly engaging with Plaintiff’s creditors to negotiate his obligations and improving

his creditworthiness.

       27.    Plaintiff suffered severe emotional distress, as well as significant out of

pocket expenses and persistently depressed credit scores as a result of Defendant’s

deceptive and misleading conduct.

       28.    Plaintiff has suffered concrete harm as a result of Defendant’s actions,

including but not limited to, emotional distress, aggravation, mental anguish, lost

time, out of pocket expenses, pecuniary loss stemming from the payments made to

Defendant, denial of the benefit of his bargain, making payments to Defendant after

relying on false and deceptive representations, as well as numerous violations of his

federally protected interests to be free from deceptive and misleading conduct on the

part of purported credit repair organizations.
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       COUNT I - VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT
                     Violations of CROA §§ 1679b(a)(3)-(4)

      29.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1679a(1) of the

CROA.

      30.    Defendant is a “credit repair organization” as defined by §1679a(3) of the

CROA, as it is a person who uses any instrumentality of interstate commerce or the

mails to sell, provide, or perform any service, in return for the payment of money or

other valuable consideration, for the express or implied purpose of improving a

consumer’s credit, credit history, or credit rating, or providing assistance to any

consumer with regard to any activity or service for the purpose of improving a

consumer’s credit.

       a. Violations of CROA §§ 1679b(a)(3)-(4)

      31.    The CROA, pursuant to 15 U.S.C. § 1679b(a)(3) prohibits any person

from “mak[ing] or us[ing] any untrue or misleading representation of the services of

the credit repair organization.” Additionally, pursuant to 15 U.S.C. § 1679b(a)(4), any

person is prohibited from “engag[ing], directly or indirectly, in any act, practice, or

course of business that constitutes or results in the commission of, or an attempt to

commit, a fraud or deception on any person in connection with the offer or sale of the

services of the credit repair organization.”

      32.     Defendant violated the above referenced provisions of the CROA

through its misrepresentations and deception as to the nature of the credit repair

services it provided Plaintiff. Defendant represented to Plaintiff that his $278.92

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payment would go towards resolving and eliminating his debt; however, he was

discovered that his payments went solely towards Defendant’s fees and did not go

toward resolving any of his obligations. Plaintiff’s decision to enroll in Defendant’s

services was carefully crafted upon considering his financial means, and upon realizing

that extent to which he was deceived, Plaintiff suffered emotional distress as he lacked

the financial means to both pay Defendant as well as the creditors he sought to avoid

by enrolling in Defendant’s services.

      33.     Defendant further deceptively represented the nature of its services when

it suggested that it would clean up his credit and improve his credit score by paying off

his creditors through Defendant’s reoccurring monthly fees. Despite this

representation Plaintiff saw his credit score depressed and none of his obligations to

his creditors was resolved.

      COUNT II - VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT
                       Violations of CROA § 1679b(b)

      34.    The CROA, pursuant to 15 U.S.C. § 1679b(b), provides that “[n]o credit

repair organization may charge or receive any money or other valuable consideration

for the performance of any service which the credit repair organization has agreed to

perform for any consumer before such service is fully performed.”

      35.    Defendant violated § 1679b(b) through its charging and receiving of

money for services agreed to perform before such services are fully performed.

Included within Defendant’s services was legal representation in the event Plaintiff got

sued, and Plaintiff’s payments went towards these fees. Despite Defendant promising


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to perform such services, it nevertheless charged and accepted payment before such

services were fully performed.

      COUNT III - VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT
                        Violation of CROA § 1679c

      36.     The CROA provides that a credit repair organization must provide

consumers with certain written disclosures in the contract underpinning the provision

of credit repair services to consumer. Pursuant to 15 U.S.C. § 1679c(b), “the written

statement required under this section shall be provided as a document which is

separate from any written contract or other agreement between the credit repair

organization and the consumer or any other written material provided to the

consumer.”

      37.     Defendant violated 15 U.S.C. §§ 1679c(a)-(b) through its failure to

provide the written disclosures required under § 1679c. Defendant never provided such

disclosures, nor did it provide a separate document containing such disclosures.

      COUNT IV - VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT
                  Violation of CROA §§ 1679d(4) & 1679e

      38.     The CROA, pursuant to 15 U.S.C. § 1679d(4), requires credit repair

organization to include, in the contract between them and a consumer, “a conspicuous

statement in bold face type, in immediate proximity to the space reserved for the

consumer’s signature on the contract, which reads as follows: ‘You may cancel this

contract without penalty or obligation at any time before midnight of the 3rd business

day after the date on which you signed the contract. See the attached notice of

cancellation form for an explanation of this right.’” 15 U.S.C. § 1679e further outlines
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the extent of a consumer’s cancellation rights under CROA while requiring such

disclosure to be given to consumers in writing.

       39.      Defendant violated 15 U.S.C. §§ 1679d(4) & 1679e through its complete

failure to provide the above disclosure in immediate proximity to the space reserved

for Plaintiff’s signature on the contract, as well as its failure to provide the notice of

cancellation to Plaintiff.

       WHEREFORE, Plaintiff, ANIBAL COLON JR., respectfully requests that this

Honorable Court enter judgment in his favor as follows:

       a.      Declaring that the practices complained of herein are unlawful and

violate the aforementioned bodies of law;

       b.      Awarding Plaintiff actual damages to be determined at trial, as provided

under 15 U.S.C. § 1679g(a)(1);

       c.      Awarding Plaintiff punitive damages, in an amount to be determined at

trial, as provided under 15 U.S.C. § 1679g(a)(2)(A);

       d.      Awarding Plaintiff costs and reasonable attorney fees as provided under

15 U.S.C. § 1679g(a)(3); and

       e.      Awarding any other relief as this Honorable Court deems just and

appropriate.


             COUNT V - VIOLATIONS OF THE FLORIDA CREDIT SERVICE ACT

       52.     Plaintiff is a “buyer” as defined by Fla. Stat. § 817.7001(1).




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       53.    Defendant is a “credit service organization” as defined by Fla. Stat. §

817.7001(2)(a).

       a. Violation of FCSOA § 817.7005

       54.    The FCSOA, pursuant to Fla. Stat. § 817.7005, provides a list of

prohibited conduct for credit services organizations.

       55.    Pursuant to Fla. Stat. § 817.7005(1), a credit service organization must

not charge or receive any money or other consideration prior to full and complete

performance of its services, unless it has maintained a surety bond with the state, in

which case the sums paid must be retained until full performance of the services are

rendered.

       56.    Defendant violated Fla. Stat. § 817.7005(a) through its charging of

Plaintiff prior to full and complete performance of its services without reimbursing

Plaintiff for its incomplete services.

       57.    Pursuant to Fla. Stat. § 817.7005(4), a credit service organization cannot

“[m]ake or use any false or misleading representations or omit any material fact in the

offer or sale of the services of a credit service organization or engage, directly or

indirectly, in any act, practice, or course of business that operates or would operate as

fraud or deception upon any person in connection with the offer or sale of the services

of a credit service organization, notwithstanding the absence of reliance by the buyer.

       58.    As outlined above, Defendant violated the above referenced provision of

the FCSOA in much the same way it violated 15 U.S.C. §§ 1679b(a)(3)-(4).



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            COUNT VI - VIOLATIONS OF THE FLORIDA CREDIT SERVICE ACT
                          Violation of FCSOA § 817.704

      59.      The FCSOA, pursuant to Fla. Stat. § 817.704(1), outlines what must be

included in a contract between a credit service organization and a consumer, including

“[a] conspicuous statement in boldfaced type, in immediate proximity to space

reserved for the signature of the buyer, as follows: ‘You, the buyer, may cancel this

contract at any time prior to midnight of the fifth day after the date of the transaction.”

Fla. Stat. § 817.704(1)(a) (emphasis added). Further, pursuant to Fla. Stat. §

817.704(2), the contract must be accompanied by a notice of the right to cancel which

similarly outlines the required Florida five day window.

       60.     Defendant violated §§ 817.704(1)(a) & (2) through its failure to properly

provide a conspicuous statement in boldface type and the length of time for

cancellation as required by Florida law.

       WHEREFORE, Plaintiff, ANIBAL COLON JR., respectfully requests that the

Honorable Court enter judgment in his favor as follows:

       a.      Declaring that the practices complained of herein are unlawful and

violate the aforementioned statutes and regulations;

       b.      Awarding Plaintiff actual damages pursuant to Fla. Stat. § 817.706(1);

       c.      Awarding Plaintiff punitive damages pursuant to Fla. Stat. § 817.706(1);

       d.      Awarding Plaintiff’s costs and reasonable attorney fees, pursuant to Fla.

Stat. § 817.706(1); and,

       e.      Awarding any other relief as this Honorable Court deems just and

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appropriate.

   COUNT VII - VIOLATIONS OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE
                             PRACTICES ACT

       61.     The transactions giving rise to these claims constitute “trade or

commerce” defined by Fla. Stat. § 501.203(8).

       62.     Pursuant to the FDUTPA § 501.204(1), “[u]nfair methods of

competition, unconscionable acts or practices, and unfair or deceptive acts or practices

in the conduct of any trade or commerce are hereby declared unlawful.”

       63.     The provisions of the FDUTPA “shall be construed liberally to . . .

protect the consuming public and legitimate business enterprises from those who

engage in unfair methods of competition, or unconscionable, deceptive, or unfair acts

or practices in the conduct of any trade or commerce.” Fla. Stat. § 501.202(2).

       64.     Violations of the FDUTPA further consider the rules promulgated in

connection with the Federal Trade Commission Act, the standards of unfairness and

deception set forth and interpreted by the Federal Trade Commission or the federal

courts, as well as any law, statute, rule, regulation, or ordinance which proscribes

unfair methods of competition, or unfair, deceptive, or unconscionable acts or

practices. See Fla. Stat. § 501.203.

       65.     Defendant violated § 501.204(1) through the nature of the unfair practices

of promising Plaintiff it would improve his credit score and pay of his creditors.

Defendant deceptively engaged Plaintiff through its representation that it will resolving

and eliminate his debt by making recurring monthly payments to Defendant; however,


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his payments went solely towards Defendant’s fees and did not go toward resolving

any of his obligations. As outlined above, Defendant unfairly failed to provide Plaintiff

with its services of improving Plaintiff’s credit and paying off his obligation through

its debt relief program. All of the above conduct falls within the broad protections

afforded Florida consumers under the FDUTPA.

      WHEREFORE, Plaintiff, ANIBAL COLON JR., respectfully requests that this

Honorable Court enter judgment in his favor as follows:

      a.      Enter judgment in Plaintiff’s favor and against Defendant;

      b.      Award Plaintiff his actual damages in an amount to be determined at trial

pursuant to the Fla. Stat. § 501.211(2);

      c.      Enter a declaratory judgment finding that the above referenced conduct

is in violation of the above referenced statutes and regulations, pursuant to Fla. Stat. §

501.211(1);

      d.      Award Plaintiff equitable relief, including enjoining Defendant from

further violations, pursuant to Fla. Stat. §501.211(1);

      e.      Award Plaintiff costs and reasonable attorneys’ fees pursuant to Fla. Stat.

§501.2105;

      f.      Award any other relief this Honorable Court deems equitable and just.



Plaintiff demands trial by jury.




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Dated: December 16, 2022                           Respectfully Submitted,



                                                   /s/ Alexander J. Taylor
                                                   Alexander J. Taylor, Esq.
                                                   Counsel for Plaintiff
                                                   Sulaiman Law Group, Ltd.
                                                   2500 South Highland Avenue,
                                                   Suite 200
                                                   Lombard, IL 60148
                                                   Telephone: (630) 575-8181
                                                   ataylor@sulaimanlaw.com




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                                                                $XWKRULW\ )RU &LYLO &RYHU 6KHHW

7KH -6  FLYLO FRYHU VKHHW DQG WKH LQIRUPDWLRQ FRQWDLQHG KHUHLQ QHLWKHU UHSODFHV QRU VXSSOHPHQWV WKH ILOLQJV DQG VHUYLFH RI SOHDGLQJ RU RWKHU SDSHUV DV
UHTXLUHG E\ ODZ H[FHSW DV SURYLGHG E\ ORFDO UXOHV RI FRXUW 7KLV IRUP DSSURYHG E\ WKH -XGLFLDO &RQIHUHQFH RI WKH 8QLWHG 6WDWHV LQ 6HSWHPEHU  LV
UHTXLUHG IRU WKH XVH RI WKH &OHUN RI &RXUW IRU WKH SXUSRVH RI LQLWLDWLQJ WKH FLYLO GRFNHW VKHHW &RQVHTXHQWO\ D FLYLO FRYHU VKHHW LV VXEPLWWHG WR WKH &OHUN RI
&RXUW IRU HDFK FLYLO FRPSODLQW ILOHG 7KH DWWRUQH\ ILOLQJ D FDVH VKRXOG FRPSOHWH WKH IRUP DV IROORZV

, D      3ODLQWLIIV'HIHQGDQWV (QWHU QDPHV ODVW ILUVW PLGGOH LQLWLDO RI SODLQWLII DQG GHIHQGDQW ,I WKH SODLQWLII RU GHIHQGDQW LV D JRYHUQPHQW DJHQF\ XVH
          RQO\ WKH IXOO QDPH RU VWDQGDUG DEEUHYLDWLRQV ,I WKH SODLQWLII RU GHIHQGDQW LV DQ RIILFLDO ZLWKLQ D JRYHUQPHQW DJHQF\ LGHQWLI\ ILUVW WKH DJHQF\ DQG
          WKHQ WKH RIILFLDO JLYLQJ ERWK QDPH DQG WLWOH
      E   &RXQW\ RI 5HVLGHQFH )RU HDFK FLYLO FDVH ILOHG H[FHSW 86 SODLQWLII FDVHV HQWHU WKH QDPH RI WKH FRXQW\ ZKHUH WKH ILUVW OLVWHG SODLQWLII UHVLGHV DW WKH
          WLPH RI ILOLQJ ,Q 86 SODLQWLII FDVHV HQWHU WKH QDPH RI WKH FRXQW\ LQ ZKLFK WKH ILUVW OLVWHG GHIHQGDQW UHVLGHV DW WKH WLPH RI ILOLQJ 127( ,Q ODQG
          FRQGHPQDWLRQ FDVHV WKH FRXQW\ RI UHVLGHQFH RI WKH GHIHQGDQW LV WKH ORFDWLRQ RI WKH WUDFW RI ODQG LQYROYHG
      F   $WWRUQH\V (QWHU WKH ILUP QDPH DGGUHVV WHOHSKRQH QXPEHU DQG DWWRUQH\ RI UHFRUG ,I WKHUH DUH VHYHUDO DWWRUQH\V OLVW WKHP RQ DQ DWWDFKPHQW QRWLQJ
          LQ WKLV VHFWLRQ  VHH DWWDFKPHQW 

,,       -XULVGLFWLRQ 7KH EDVLV RI MXULVGLFWLRQ LV VHW IRUWK XQGHU 5XOH  D  )5&Y3 ZKLFK UHTXLUHV WKDW MXULVGLFWLRQV EH VKRZQ LQ SOHDGLQJV 3ODFH DQ ;
          LQ RQH RI WKH ER[HV ,I WKHUH LV PRUH WKDQ RQH EDVLV RI MXULVGLFWLRQ SUHFHGHQFH LV JLYHQ LQ WKH RUGHU VKRZQ EHORZ
          8QLWHG 6WDWHV SODLQWLII  -XULVGLFWLRQ EDVHG RQ  86&  DQG  6XLWV E\ DJHQFLHV DQG RIILFHUV RI WKH 8QLWHG 6WDWHV DUH LQFOXGHG KHUH
          8QLWHG 6WDWHV GHIHQGDQW  :KHQ WKH SODLQWLII LV VXLQJ WKH 8QLWHG 6WDWHV LWV RIILFHUV RU DJHQFLHV SODFH DQ ; LQ WKLV ER[
          )HGHUDO TXHVWLRQ  7KLV UHIHUV WR VXLWV XQGHU  86&  ZKHUH MXULVGLFWLRQ DULVHV XQGHU WKH &RQVWLWXWLRQ RI WKH 8QLWHG 6WDWHV DQ DPHQGPHQW
          WR WKH &RQVWLWXWLRQ DQ DFW RI &RQJUHVV RU D WUHDW\ RI WKH 8QLWHG 6WDWHV ,Q FDVHV ZKHUH WKH 86 LV D SDUW\ WKH 86 SODLQWLII RU GHIHQGDQW FRGH WDNHV
          SUHFHGHQFH DQG ER[  RU  VKRXOG EH PDUNHG
          'LYHUVLW\ RI FLWL]HQVKLS  7KLV UHIHUV WR VXLWV XQGHU  86&  ZKHUH SDUWLHV DUH FLWL]HQV RI GLIIHUHQW VWDWHV :KHQ %R[  LV FKHFNHG WKH
          FLWL]HQVKLS RI WKH GLIIHUHQW SDUWLHV PXVW EH FKHFNHG 6HH 6HFWLRQ ,,, EHORZ 127( IHGHUDO TXHVWLRQ DFWLRQV WDNH SUHFHGHQFH RYHU GLYHUVLW\
          FDVHV

,,,      5HVLGHQFH FLWL]HQVKLS RI 3ULQFLSDO 3DUWLHV 7KLV VHFWLRQ RI WKH -6  LV WR EH FRPSOHWHG LI GLYHUVLW\ RI FLWL]HQVKLS ZDV LQGLFDWHG DERYH 0DUN WKLV
          VHFWLRQ IRU HDFK SULQFLSDO SDUW\

,9       1DWXUH RI 6XLW 3ODFH DQ ; LQ WKH DSSURSULDWH ER[ ,I WKHUH DUH PXOWLSOH QDWXUH RI VXLW FRGHV DVVRFLDWHG ZLWK WKH FDVH SLFN WKH QDWXUH RI VXLW FRGH
          WKDW LV PRVW DSSOLFDEOH &OLFN KHUH IRU 1DWXUH RI 6XLW &RGH 'HVFULSWLRQV

9        2ULJLQ 3ODFH DQ ; LQ RQH RI WKH VHYHQ ER[HV
          2ULJLQDO 3URFHHGLQJV  &DVHV ZKLFK RULJLQDWH LQ WKH 8QLWHG 6WDWHV GLVWULFW FRXUWV
          5HPRYHG IURP 6WDWH &RXUW  3URFHHGLQJV LQLWLDWHG LQ VWDWH FRXUWV PD\ EH UHPRYHG WR WKH GLVWULFW FRXUWV XQGHU 7LWOH  86& 6HFWLRQ 
          5HPDQGHG IURP $SSHOODWH &RXUW  &KHFN WKLV ER[ IRU FDVHV UHPDQGHG WR WKH GLVWULFW FRXUW IRU IXUWKHU DFWLRQ 8VH WKH GDWH RI UHPDQG DV WKH ILOLQJ
          GDWH
          5HLQVWDWHG RU 5HRSHQHG  &KHFN WKLV ER[ IRU FDVHV UHLQVWDWHG RU UHRSHQHG LQ WKH GLVWULFW FRXUW 8VH WKH UHRSHQLQJ GDWH DV WKH ILOLQJ GDWH
          7UDQVIHUUHG IURP $QRWKHU 'LVWULFW  )RU FDVHV WUDQVIHUUHG XQGHU 7LWOH  86& 6HFWLRQ  D  'R QRW XVH WKLV IRU ZLWKLQ GLVWULFW WUDQVIHUV RU
          PXOWLGLVWULFW OLWLJDWLRQ WUDQVIHUV
          0XOWLGLVWULFW /LWLJDWLRQ ± 7UDQVIHU  &KHFN WKLV ER[ ZKHQ D PXOWLGLVWULFW FDVH LV WUDQVIHUUHG LQWR WKH GLVWULFW XQGHU DXWKRULW\ RI 7LWOH  86&
          6HFWLRQ 
          0XOWLGLVWULFW /LWLJDWLRQ ± 'LUHFW )LOH  &KHFN WKLV ER[ ZKHQ D PXOWLGLVWULFW FDVH LV ILOHG LQ WKH VDPH GLVWULFW DV WKH 0DVWHU 0'/ GRFNHW
          3/($6( 127( 7+$7 7+(5( ,6 127 $1 25,*,1 &2'(  2ULJLQ &RGH  ZDV XVHG IRU KLVWRULFDO UHFRUGV DQG LV QR ORQJHU UHOHYDQW GXH WR
          FKDQJHV LQ VWDWXH

9,       &DXVH RI $FWLRQ 5HSRUW WKH FLYLO VWDWXWH GLUHFWO\ UHODWHG WR WKH FDXVH RI DFWLRQ DQG JLYH D EULHI GHVFULSWLRQ RI WKH FDXVH 'R QRW FLWH MXULVGLFWLRQDO
          VWDWXWHV XQOHVV GLYHUVLW\ ([DPSOH 86 &LYLO 6WDWXWH  86&  %ULHI 'HVFULSWLRQ 8QDXWKRUL]HG UHFHSWLRQ RI FDEOH VHUYLFH

9,,      5HTXHVWHG LQ &RPSODLQW &ODVV $FWLRQ 3ODFH DQ ; LQ WKLV ER[ LI \RX DUH ILOLQJ D FODVV DFWLRQ XQGHU 5XOH  )5&Y3
          'HPDQG ,Q WKLV VSDFH HQWHU WKH DFWXDO GROODU DPRXQW EHLQJ GHPDQGHG RU LQGLFDWH RWKHU GHPDQG VXFK DV D SUHOLPLQDU\ LQMXQFWLRQ
          -XU\ 'HPDQG &KHFN WKH DSSURSULDWH ER[ WR LQGLFDWH ZKHWKHU RU QRW D MXU\ LV EHLQJ GHPDQGHG

9,,, 5HODWHG &DVHV 7KLV VHFWLRQ RI WKH -6  LV XVHG WR UHIHUHQFH UHODWHG SHQGLQJ FDVHV LI DQ\ ,I WKHUH DUH UHODWHG SHQGLQJ FDVHV LQVHUW WKH GRFNHW
      QXPEHUV DQG WKH FRUUHVSRQGLQJ MXGJH QDPHV IRU VXFK FDVHV

'DWH DQG $WWRUQH\ 6LJQDWXUH 'DWH DQG VLJQ WKH FLYLO FRYHU VKHHW




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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         Middle District of Florida

                                                                     )
                    ANIBAL COLON JR.                                 )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 6:22-cv-02343
                                                                     )
                                                                     )
        THE LITIGATION PRACTICE GROUP PC                             )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) THE LITIGATION PRACTICE GROUP PC
                                           C/O DANIEL S MARCH
                                           17542 E 17TH STREET STE 100
                                           TUSTIN, CA 92780




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Alexander J. Taylor
                                           Sulaiman Law Group, Ltd
                                           2500 S Highland Ave, Suite 200
                                           Lombard, IL 60148



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk




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          Case 6:22-cv-02343-CEM-LHP
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-02343

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




                                                                Exhibit "22"
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                      Exhibit “23”
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 1   SULAIMANLAW GROUP
 2   Alexander J. Taylor
     2500 South Highland Ave
 3   Suite 200
 4   Lombard, Illinois 60148
     Telephone: 331-307-7646
 5   Facsimile: 630-575-8188
 6   Email: ataylor@sulaimanlaw.com
     Attorney for the Plaintiff
 7

 8                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 9                            SOUTHERN DIVISION
10
                                             Case No. 8:23-cv-00184
11    KIMBERLY D. BIRDSONG,
12                                           COMPLAINT FOR DAMAGES
                      Plaintiff,
13                                                1. VIOLATION OF THE CREDIT
14          v.                                       REPAIR ORGANIZATIONS
                                                     ACT, 15 U.S.C. §1679 ET SEQ.
15

16    THE LITIGATION PRACTICE
      GROUP PC,                              JURY TRIAL DEMANDED
17
                      Defendant.
18

19                                     COMPLAINT
20
           NOW COMES KIMBERLY D. BIRDSONG (“Plaintiff”), by and through her
21
     undersigned attorney, complaining as to the conduct of THE LITIGATION
22

23   PRACITCE GROUP PC (“LPG” or “Defendant”) as follows:
24
                                   NATURE OF THE ACTION
25
     1.    Plaintiff brings this action seeking redress for Defendant’s violations of the
26

27   Credit Repair Organizations Act (“CROA”) pursuant to 15 U.S.C. §1679 et seq.
28
                                                  1

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 1                                 JURISDICTION AND VENUE
 2
     2.    Subject matter jurisdiction is conferred upon this Court by the CROA, and 28
 3

 4   U.S.C. §§1331 and 1337, as the action arises under the laws of the United States.

 5   3.    Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant’s
 6
     principal place of business is located in the Central District of California and all of
 7

 8   the events or omissions giving rise to the claims against Defendant occurred in the
 9   Central District of California.
10
                                              PARTIES
11

12   4.    Plaintiff is a consumer, and a natural person over 18-years-of-age who, resides
13   in Fayetteville, North Carolina.
14
     5.    Defendant is a credit repair organization and law corporation that offers its
15

16   customers the ability to eliminate and resolve their debit issues through Defendant’s
17   services. Defendant is a professional corporation organized under the laws of the state
18
     of California with its principal place of business located at 17542 17th Street, Suite
19

20   100, Tustin, California 92780.
21
     6.    Defendant acted through its agents, employees, officers, members, directors,
22
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives
23

24   and insurers at all times relevant to the instant action.
25
                            FACTS SUPPORTING CAUSE OF ACTION
26
     7.    Prior to events giving rise, Plaintiff had been a victim of identity theft and a
27

28   number of debts which were impacting her credit, prompting her to begin looking for
                                                      2

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 1   assistance in removing fraudulent information and improving her creditworthiness.
 2
     8.    Plaintiff happened upon Defendant due to its representations that it could help
 3

 4   consumers improve their creditworthiness and dispute the legal validity of its

 5   enrolled debts.
 6
     9.    As such, Plaintiff spoke with Defendant who advised her that it would be able
 7

 8   to remove erroneous and inaccurate information, as a result of her identify theft, to
 9   improve her overall creditworthiness.
10
     10.   Additionally, Defendant promised to identify Plaintiff’s enrolled debts and to
11

12   dispute any erroneous information reporting by her creditors.
13   11.   In December 2021, Plaintiff entered into an agreement with Defendant for the
14
     service of credit repair.
15

16   12.   As part of agreement, Plaintiff paid Defendant a recurring monthly fee of
17   $499.24 in exchange for Defendant’s services that included removing erroneous or
18
     inaccurate information appearing on Plaintiff’s credit report by contesting debts.
19

20   13.   After months of making payments and informing Defendant of the inaccurate
21
     information which she wanted addressed through Defendant’s dispute process, none
22
     of the inaccurate information had been removed from Plaintiff’s credit reports.
23

24   14.   Relying upon Defendant’s representations regarding the nature and efficacy of
25
     its services, Plaintiff continued making recurring monthly payments with the hopes
26
     of improving her creditworthiness.
27

28   15.   Defendant’s conduct in representing that it could effectively dispute and
                                                  3

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 1   remove Plaintiff’s information on her credit reports was inherently misleading and
 2
     deceptive.
 3

 4   16.   Plaintiff continued to work with Defendant on a month-to-month basis into

 5   2022 following their initial agreement. However, Plaintiff grew tiresome of
 6
     Defendants failure to uphold its promises.
 7

 8   17.   Eventually, after making multiple payments to Defendant, Plaintiff became
 9   extremely frustrated and distressed that she had been making payments yet not seeing
10
     any results on the part of Defendant.
11

12   18.   Upon information and belief, Defendant retained fees for services prior to such
13   services being fully performed, as Defendant’s retention of Plaintiff’s monthly
14
     payment, at least in part, went towards purported legal proceedings that have not, and
15

16   may never, come about.
17   19.   Even further, the contract between Plaintiff and Defendant fails to include the
18
     information and disclosures Defendant was required to provide to Plaintiff under
19

20   federal and state law.
21
     20.   At no point did Defendant provide Plaintiff any of the disclosures required by
22
     federal law.
23

24   21.   Defendant’s failure to provide Plaintiff the relevant information and
25
     disclosures inhibited Plaintiff’s ability to chart an intelligent course of conduct in
26
     connection with her dealings with Defendant.
27

28   22.   Subsequently, in October of 2022, Plaintiff terminated her contract with
                                                  4

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 1   Defendant due to Plaintiff not seeing any positive changes occur in Defendant’s debt
 2
     relief program.
 3

 4   23.   Additionally, upon information and belief, Defendant misled and deceived

 5   Plaintiff to believe that its services will address Plaintiff’s legal outstanding debts in
 6
     a way that will remove Plaintiff’s obligation to such debts. This misrepresentation
 7

 8   makes Defendant appear to be a debt consolidation organization when its contract
 9   does not provide for such service. As a result, Plaintiff enrolled her legal outstanding
10
     debts with Defendant, believing that Defendant will help resolve them, instead of
11

12   focusing on accounts reporting on her credit report that were erroneously reporting
13   due to of her identity theft.
14
     24.   Frustrated, distressed, and concerned over Defendant’s conduct, Plaintiff
15

16   spoke with the undersigned regarding her rights.
17
                                            DAMAGES
18
     25.   Defendant’s failure to sufficiently take steps to improve Plaintiff’s
19

20   creditworthiness though its debt relief program underscores the generally deceptive
21
     manner in which Defendant held out the efficacy of its services to Plaintiff.
22
     26.   Furthermore, it was deceptive for Defendant to represent the effectiveness of
23

24   its services given that Defendant promised Plaintiff that it would remove erroneous
25
     information on her credit reports and improve her credit score.
26
     27.   As such, Defendant misrepresented the nature of its services by not properly
27

28   engaging with Plaintiff’s creditors to negative information that was misleading in her
                                                    5

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 1   credit report.
 2
     28.   Plaintiff suffered severe emotional distress, as well as significant out-of-pocket
 3

 4   expenses and persistently depressed credit scores as a result of Defendant’s deceptive

 5   and misleading conduct.
 6
     29.   Plaintiff has suffered concrete harm as a result of Defendant’s actions,
 7

 8   including but not limited to, emotional distress, aggravation, mental anguish, lost
 9   time, out of pocket expenses, pecuniary loss stemming from the payments made to
10
     Defendant, denial of the benefit of her bargain, making payments to Defendant after
11

12   relying on false and deceptive representations, as well as numerous violations of her
13   federally protected interests to be free from deceptive and misleading conduct on the
14
     part of purported credit repair organizations.
15

16         COUNT I - VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT
17   30.   Plaintiff repeat and reallege paragraphs 1 through 29 as though fully set forth
18
     herein.
19

20   31.   Plaintiff is a “consumer” as defined by 15 U.S.C. §1679a(1) of the CROA.
21
     32.   Defendant is a “credit repair organization” as defined by §1679a(3) of the
22
     CROA, as it is a person who uses any instrumentality of interstate commerce or the
23

24   mails to sell, provide, or perform any service, in return for the payment of money or
25
     other valuable consideration, for the express or implied purpose of improving a
26
     consumer’s credit, credit history, or credit rating, or providing assistance to any
27

28   consumer with regard to any activity or service for the purpose of improving a
                                                   6

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 1   consumer’s credit.
 2
           a. Violations of CROA §1679b(a)
 3

 4   33.       The CROA, pursuant to 15 U.S.C. §1679b(a)(3) prohibits any person from

 5   “mak[ing] or us[ing] any untrue or misleading representation of the services of the
 6
     credit repair organization.” Additionally, pursuant to 15 U.S.C. §1679b(a)(4), any
 7

 8   person is prohibited from “engag[ing], directly or indirectly, in any act, practice, or
 9   course of business that constitutes or results in the commission of, or an attempt to
10
     commit, a fraud or deception on any person in connection with the offer or sale of
11

12   the services of the credit repair organization.”
13   34.       Defendant violated the above referenced provisions of the CROA through its
14
     misrepresentations and deception as to the nature of the credit repair services it could
15

16   provide Plaintiff. In order to get Plaintiff to agree to utilize Defendant’s services,
17   Defendant touted the efficacy of its credit repair services and that Plaintiff could
18
     expect an improved credit score as long as she made payments for its services.
19

20   Plaintiff made her such payments; however, Defendant failed to improve Plaintiff’s
21
     credit.
22
     35.       Additionally, upon information and belief, Defendant is misleading its clients
23

24   to believe that its services will address Plaintiff’s legal outstanding debts in a way
25
     that will remove Plaintiff’s obligation to such debts. This misrepresentation makes
26
     Defendant appear to be a debt consolidation organization when its contract does not
27

28   provide for such service. As a result, Plaintiff enrolled her legal outstanding debts
                                                     7

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   Case
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 1   with Defendant, believing that Defendant will help resolve them, instead of focusing
 2
     on accounts reporting on her credit report that were erroneously reporting due to of
 3

 4   her identity theft.

 5   36.     Further, Defendant violated the CROA when it deceptively represented to
 6
     Plaintiff that its disputes would be responded to by the credit reporting agencies.
 7

 8   Inherent with Defendant’s representations was the notion that there would be an
 9   obligation for an investigation to be triggered by Defendant’s submission of a credit
10
     dispute on Plaintiff’s behalf. However, pursuant to 12 C.F.R. §1022.43(b)(2), the
11

12   credit reporting agencies are under no obligation to respond to disputes submitted by
13   credit repair organizations like Defendant.
14
           b. Violation of CROA §1679b(b)
15

16   37.     The CROA, pursuant to 15 U.S.C. §1679b(b), states that “[n]o credit repair
17   organization may charge or receive any money or other valuable consideration for
18
     the performance of any service which the credit repair organization has agreed to
19

20   perform for any consumer before such service is fully performed.”
21
     38.     Defendant violated §1679b(b) as it charged and received money from Plaintiff
22
     in exchange for the performance of its services before such services were fully
23

24   performed. Defendant has maintained Plaintiff’s payments despite failing to fully
25
     perform the services justifying Defendant’s retention of such fees.
26
           c. Violation of CROA §1679c
27

28   39.     The CROA provides that a credit repair organization must provide consumers
                                                   8

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 1   with certain written disclosures in the contract underpinning the provision of credit
 2
     repair services to consumer. Pursuant to 15 U.S.C. § 1679c(b), “the written statement
 3

 4   required under this section shall be provided as a document which is separate from

 5   any written contract or other agreement between the credit repair organization and
 6
     the consumer or any other written material provided to the consumer.”
 7

 8   40.      Defendant violated 15 U.S.C. §§ 1679c(a)-(b) through its failure to provide
 9   the written disclosures required under § 1679c. Defendant never provided such
10
     disclosures, nor did it provide a separate document containing such disclosures.
11

12         d. Violation of CROA §§ 1679d(4) and 1679e
13   41.     The CROA, pursuant to 15 U.S.C. § 1679d(4), requires credit repair
14
     organization to include, in the contract between them and a consumer, “a conspicuous
15

16   statement in bold face type, in immediate proximity to the space reserved for the
17   consumer’s signature on the contract, which reads as follows: ‘You may cancel this
18
     contract without penalty or obligation at any time before midnight of the 3rd business
19

20   day after the date on which you signed the contract. See the attached notice of
21
     cancellation form for an explanation of this right.’” 15 U.S.C. § 1679e further
22
     outlines the extent of a consumer’s cancellation rights under CROA while requiring
23

24   such disclosure to be given to consumers in writing.
25
     42.      Defendant violated 15 U.S.C. §§ 1679d(4) & 1679e through its complete
26
     failure to provide the above disclosure in immediate proximity to the space reserved
27

28   for Plaintiff’s signature on the contract, as well as its failure to provide the notice of
                                                    9

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 1   cancellation to Plaintiff.
 2
           WHEREFORE Plaintiff, KIMBERLY D. BIRDSONG, respectfully requests
 3

 4   that this Honorable Court:

 5         a.     Declaring that the practices complained of herein are unlawful and
 6                violate the aforementioned bodies of law;
 7         b.     Awarding Plaintiff actual damages to be determined at trial, as provided
 8                under 15 U.S.C. § 1679g(a)(1);
 9         c.     Awarding Plaintiff punitive damages, in an amount to be determined at
10                trial, as provided under 15 U.S.C. § 1679g(a)(2)(A);
11         d.     Awarding Plaintiff costs and reasonable attorney fees as provided under
12                15 U.S.C. §1679g(a)(3); and
13         e.     Awarding any other relief as this Honorable Court deems just and
14                appropriate.
15

16   Plaintiff demands trial by jury.
17

18   Date: January 30, 2023                 Respectfully submitted,
19
                                            KIMBERLY D. BIRDSONG
20                                          By:/s/ Alexander J. Taylor
                                            Alexander J. Taylor, Esq.
21
                                            Atlas Consumer Law
22                                          2500 S. Highland Avenue,
                                            Suite 200
23
                                            Lombard, Illinois 60148
24                                          Telephone: 331-3077646
                                            Facsimile: 630-575-8188
25
                                            Email: ataylor@sulaimanlaw.com
26

27

28
                                                10

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 1   SULAIMANLAW GROUP
 2   Alexander J. Taylor
     2500 South Highland Ave
 3   Suite 200
 4   Lombard, Illinois 60148
     Telephone: 331-307-7646
 5   Facsimile: 630-575-8188
 6   Email: ataylor@sulaimanlaw.com
     Attorney for the Plaintiff
 7

 8                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 9                            SOUTHERN DIVISION
10
                                             Case No. 8:23-cv-00263
11    KEVIN M. CARPENTER,
12                                           COMPLAINT FOR DAMAGES
                      Plaintiff,
13                                                 1. VIOLATION OF THE CREDIT
14          v.                                        REPAIR ORGANIZATIONS
                                                      ACT, 15 U.S.C. §1679 ET SEQ.
15

16    THE LITIGATION PRACTICE
      GROUP PC,                              JURY TRIAL DEMANDED
17
                      Defendant.
18

19                                     COMPLAINT
20
           NOW COMES KEVIN M. CARPENTER (“Plaintiff”), by and through his
21
     undersigned attorney, complaining as to the conduct of THE LITIGATION
22

23   PRACITCE GROUP PC (“LPG” or “Defendant”) as follows:
24
                                   NATURE OF THE ACTION
25
     1.    Plaintiff brings this action seeking redress for Defendant’s violations of the
26

27   Credit Repair Organizations Act (“CROA”) pursuant to 15 U.S.C. §1679 et seq. and
28

                                               1
                                   Exhibit "25"
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 1   Massachusetts General Laws (MA. Gen Laws) 15-93 § 68 et seq.
 2
                                   JURISDICTION AND VENUE
 3

 4   2.    Subject matter jurisdiction is conferred upon this Court by the CROA, and 28

 5   U.S.C. §§1331 and 1337, as the action arises under the laws of the United States.
 6
     3.    Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant’s
 7

 8   principal place of business is located in the Central District of California and all of
 9   the events or omissions giving rise to the claims against Defendant occurred in the
10
     Central District of California.
11

12                                            PARTIES
13   4.    Plaintiff is a consumer, and a natural person over 18-years-of-age who, resides
14
     in Fall River, Massachusetts.
15

16   5.    Defendant is a credit repair organization and law corporation that offers its
17   customers the ability to eliminate and resolve their debit issues through Defendant’s
18
     services. Defendant is a professional corporation organized under the laws of the state
19

20   of California with its principal place of business located at 17542 17th Street, Suite
21
     100, Tustin, California 92780.
22
     6.    Defendant acted through its agents, employees, officers, members, directors,
23

24   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives
25
     and insurers at all times relevant to the instant action.
26
                            FACTS SUPPORTING CAUSE OF ACTION
27

28   7.    Prior to events giving rise, Plaintiff had been a victim of identity theft and a
                                                      2

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 1   number of debts which were impacting his credit, prompting him to begin looking
 2
     for   assistance    in   removing   fraudulent    information   and   improving      his
 3

 4   creditworthiness.

 5   8.    Plaintiff happened upon Defendant due to its representations that it could help
 6
     consumers improve their creditworthiness and dispute the legal validity of its
 7

 8   enrolled debts.
 9   9.    As such, Plaintiff spoke with Defendant who advised him that it would be able
10
     to remove erroneous and inaccurate information, as a result of his identify theft, to
11

12   improve his overall creditworthiness.
13   10.   Additionally, Defendant promised to identify Plaintiff’s enrolled debts and to
14
     dispute any erroneous information reporting by his creditors.
15

16   11.   In January 2022, Plaintiff entered into an agreement with Defendant for the
17   service of credit repair.
18
     12.   As part of agreement, Plaintiff paid Defendant a recurring monthly fee of
19

20   $280.43 in exchange for Defendant’s services that included removing erroneous or
21
     inaccurate information appearing on Plaintiff’s credit report by contesting debts.
22
     13.   After months of making payments and informing Defendant of the inaccurate
23

24   information which he wanted addressed through Defendant’s dispute process, none
25
     of the inaccurate information had been removed from Plaintiff’s credit reports.
26
     14.   Relying upon Defendant’s representations regarding the nature and efficacy of
27

28   its services, Plaintiff continued making recurring monthly payments with the hopes
                                                   3

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 1   of improving his creditworthiness.
 2
     15.   Defendant’s conduct in representing that it could effectively dispute and
 3

 4   remove Plaintiff’s information on his credit reports was inherently misleading and

 5   deceptive.
 6
     16.   Plaintiff continued to work with Defendant on a month-to-month basis into
 7

 8   2023 following their initial agreement. However, Plaintiff grew tiresome of
 9   Defendants failure to uphold its promises.
10
     17.   Eventually, after paying nearly $3,000 to Defendant, Plaintiff became
11

12   extremely frustrated and distressed that he had been making payments yet not seeing
13   any results on the part of Defendant.
14
     18.   Upon information and belief, Defendant retained fees for services prior to such
15

16   services being fully performed, as Defendant’s retention of Plaintiff’s monthly
17   payment, at least in part, went towards purported legal proceedings that have not, and
18
     may never, come about.
19

20   19.   Even further, the contract between Plaintiff and Defendant fails to include the
21
     information and disclosures Defendant was required to provide to Plaintiff under
22
     federal and state law.
23

24   20.   At no point did Defendant provide Plaintiff any of the disclosures required by
25
     federal law.
26
     21.   Defendant’s failure to provide Plaintiff the relevant information and
27

28   disclosures inhibited Plaintiff’s ability to chart an intelligent course of conduct in
                                                  4

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 1   connection with his dealings with Defendant.
 2
     22.    Additionally, upon information and belief, Defendant misled and deceived
 3

 4   Plaintiff to believe that its services will address Plaintiff’s legal outstanding debts in

 5   a way that will remove Plaintiff’s obligation to such debts. This misrepresentation
 6
     makes Defendant appear to be a debt consolidation organization when its contract
 7

 8   does not provide for such service. As a result, Plaintiff enrolled his legal outstanding
 9   debts with Defendant, believing that Defendant will help resolve them, instead of
10
     focusing on accounts reporting on his credit report that were erroneously reporting
11

12   due to of his identity theft.
13   23.    Frustrated, distressed, and concerned over Defendant’s conduct, Plaintiff
14
     spoke with the undersigned regarding his rights.
15

16                                          DAMAGES
17   24.    Defendant’s failure to sufficiently take steps to improve Plaintiff’s
18
     creditworthiness though its debt relief program underscores the generally deceptive
19

20   manner in which Defendant held out the efficacy of its services to Plaintiff.
21
     25.    Furthermore, it was deceptive for Defendant to represent the effectiveness of
22
     its services given that Defendant promised Plaintiff that it would remove erroneous
23

24   information on his credit reports and improve his credit score.
25
     26.    As such, Defendant misrepresented the nature of its services by not properly
26
     engaging with Plaintiff’s creditors to negative information that was misleading in his
27

28   credit report.
                                                    5

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 1   27.   Plaintiff suffered severe emotional distress, as well as significant out-of-pocket
 2
     expenses and persistently depressed credit scores as a result of Defendant’s deceptive
 3

 4   and misleading conduct.

 5   28.   Plaintiff has suffered concrete harm as a result of Defendant’s actions,
 6
     including but not limited to, emotional distress, aggravation, mental anguish, lost
 7

 8   time, out of pocket expenses, pecuniary loss stemming from the payments made to
 9   Defendant, denial of the benefit of his bargain, making payments to Defendant after
10
     relying on false and deceptive representations, as well as numerous violations of his
11

12   federally protected interests to be free from deceptive and misleading conduct on the
13   part of purported credit repair organizations.
14
           COUNT I - VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT
15

16   29.   Plaintiff repeat and reallege paragraphs 1 through 28 as though fully set forth
17   herein.
18
     30.   Plaintiff is a “consumer” as defined by 15 U.S.C. §1679a(1) of the CROA.
19

20   31.   Defendant is a “credit repair organization” as defined by §1679a(3) of the
21
     CROA, as it is a person who uses any instrumentality of interstate commerce or the
22
     mails to sell, provide, or perform any service, in return for the payment of money or
23

24   other valuable consideration, for the express or implied purpose of improving a
25
     consumer’s credit, credit history, or credit rating, or providing assistance to any
26
     consumer with regard to any activity or service for the purpose of improving a
27

28   consumer’s credit.
                                                   6

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 1         a. Violations of CROA §1679b(a)
 2
     32.     The CROA, pursuant to 15 U.S.C. §1679b(a)(3) prohibits any person from
 3

 4   “mak[ing] or us[ing] any untrue or misleading representation of the services of the

 5   credit repair organization.” Additionally, pursuant to 15 U.S.C. §1679b(a)(4), any
 6
     person is prohibited from “engag[ing], directly or indirectly, in any act, practice, or
 7

 8   course of business that constitutes or results in the commission of, or an attempt to
 9   commit, a fraud or deception on any person in connection with the offer or sale of
10
     the services of the credit repair organization.”
11

12   33.      Defendant violated the above referenced provisions of the CROA through its
13   misrepresentations and deception as to the nature of the credit repair services it could
14
     provide Plaintiff. In order to get Plaintiff to agree to utilize Defendant’s services,
15

16   Defendant touted the efficacy of its credit repair services and that Plaintiff could
17   expect an improved credit score as long as he made payments for its services. Plaintiff
18
     made his such payments; however, Defendant failed to improve Plaintiff’s credit.
19

20   34.     Additionally, upon information and belief, Defendant is misleading its clients
21
     to believe that its services will address Plaintiff’s legal outstanding debts in a way
22
     that will remove Plaintiff’s obligation to such debts. This misrepresentation makes
23

24   Defendant appear to be a debt consolidation organization when its contract does not
25
     provide for such service. As a result, Plaintiff enrolled his legal outstanding debts
26
     with Defendant, believing that Defendant will help resolve them, instead of focusing
27

28   on accounts reporting on his credit report that were erroneously reporting due to of
                                                   7

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 1   his identity theft.
 2
     35.     Further, Defendant violated the CROA when it deceptively represented to
 3

 4   Plaintiff that its disputes would be responded to by the credit reporting agencies.

 5   Inherent with Defendant’s representations was the notion that there would be an
 6
     obligation for an investigation to be triggered by Defendant’s submission of a credit
 7

 8   dispute on Plaintiff’s behalf. However, pursuant to 12 C.F.R. §1022.43(b)(2), the
 9   credit reporting agencies are under no obligation to respond to disputes submitted by
10
     credit repair organizations like Defendant.
11

12         b. Violation of CROA §1679b(b)
13   36.     The CROA, pursuant to 15 U.S.C. §1679b(b), states that “[n]o credit repair
14
     organization may charge or receive any money or other valuable consideration for
15

16   the performance of any service which the credit repair organization has agreed to
17   perform for any consumer before such service is fully performed.”
18
     37.     Defendant violated §1679b(b) as it charged and received money from Plaintiff
19

20   in exchange for the performance of its services before such services were fully
21
     performed. Defendant has maintained Plaintiff’s payments despite failing to fully
22
     perform the services justifying Defendant’s retention of such fees.
23

24         c. Violation of CROA §1679c
25
     38.     The CROA provides that a credit repair organization must provide consumers
26
     with certain written disclosures in the contract underpinning the provision of credit
27

28   repair services to consumer. Pursuant to 15 U.S.C. § 1679c(b), “the written statement
                                                   8

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 1   required under this section shall be provided as a document which is separate from
 2
     any written contract or other agreement between the credit repair organization and
 3

 4   the consumer or any other written material provided to the consumer.”

 5   39.      Defendant violated 15 U.S.C. §§ 1679c(a)-(b) through its failure to provide
 6
     the written disclosures required under § 1679c. Defendant never provided such
 7

 8   disclosures, nor did it provide a separate document containing such disclosures.
 9         d. Violation of CROA §§ 1679d(4) and 1679e
10
     40.     The CROA, pursuant to 15 U.S.C. § 1679d(4), requires credit repair
11

12   organization to include, in the contract between them and a consumer, “a conspicuous
13   statement in bold face type, in immediate proximity to the space reserved for the
14
     consumer’s signature on the contract, which reads as follows: ‘You may cancel this
15

16   contract without penalty or obligation at any time before midnight of the 3rd business
17   day after the date on which you signed the contract. See the attached notice of
18
     cancellation form for an explanation of this right.’” 15 U.S.C. § 1679e further
19

20   outlines the extent of a consumer’s cancellation rights under CROA while requiring
21
     such disclosure to be given to consumers in writing.
22
     41.      Defendant violated 15 U.S.C. §§ 1679d(4) & 1679e through its complete
23

24   failure to provide the above disclosure in immediate proximity to the space reserved
25
     for Plaintiff’s signature on the contract, as well as its failure to provide the notice of
26
     cancellation to Plaintiff.
27

28           WHEREFORE Plaintiff, KEVIN M. CARPENTER, respectfully requests
                                                    9

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 1   that this Honorable Court:
 2
             a.    Declaring that the practices complained of herein are unlawful and
 3
                   violate the aforementioned bodies of law;
 4
             b.    Awarding Plaintiff actual damages to be determined at trial, as provided
 5
                   under 15 U.S.C. § 1679g(a)(1);
 6
             c.    Awarding Plaintiff punitive damages, in an amount to be determined at
 7
                   trial, as provided under 15 U.S.C. § 1679g(a)(2)(A);
 8
             d.    Awarding Plaintiff costs and reasonable attorney fees as provided under
 9
                   15 U.S.C. §1679g(a)(3); and
10
             e.    Awarding any other relief as this Honorable Court deems just and
11
                   appropriate.
12
                  COUNT II – VIOLATIONS OF THE MA. GEN. LAWS 15-93 § 68
13

14   42.     Plaintiff restates and realleges paragraphs 1 through 41 as though fully set forth
15   herein.
16
     43.     Plaintiff is a “buyer” as defined by MA. Gen. Laws 15-93 § 68(A).
17

18   44.     Defendant is a “credit services organization” as defined by MA. Gen. Laws
19
     15-93 § 68(A).
20
           a. Violations of MA. Gen. Laws 15-93 § 68(B)
21

22   45.     Pursuant to MA. Gen. Laws 15-93 § 68(B)(1) , provides that “[N]o credit
23
     services organization shall…charge or receive any money or other valuable
24
     consideration prior to full, complete and satisfactory performance of the services the
25

26   credit services organization has agreed to perform for the buyer.”
27
     46.     Defendant violated MA. Gen. Laws 15-93 § 68(B)(1) by accepting Plaintiff’s
28
                                                  10

                                     Exhibit "25"
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 1   monthly payments from Plaintiff and failing to perform its represented services of
 2
     negotiating with Plaintiff’s creditors to settle on a reduced amount. Additionally,
 3

 4   Plaintiff believed that his monthly payments will go toward paying off his

 5   outstanding debt, however, Defendant collected his monthly payments without
 6
     paying any of Plaintiff’s creditors.
 7

 8   47.   Defendant violated MA. Gen. Laws 15-93 § 68(B)(3) provides that “[N]o
 9   credit services organization shall…make, or advise any buyer to make, any statement
10
     that is untrue or misleading, or that should be known by the exercise of reasonable
11

12   care to be untrue or misleading, with respect to a buyer's credit worthiness, credit
13   standing or credit rating to a credit reporting agency or to any person who has
14
     extended credit to a buyer or to whom a buyer has made application for an extension
15

16   of credit.”
17   48.   Defendant violated MA. Gen. Laws 15-93 § 68(B)(3) by advising Plaintiff that
18
     its services would improve his creditworthiness through its debt consolidation
19

20   program. Despite working with Plaintiff for many months, Plaintiff saw no
21
     improvement to his credit score.
22
     49.    Defendant violated MA. Gen. Laws 15-93 § 68(B)(4) provides that “[N]o
23

24   credit services organization shall… make or use any untrue or misleading
25
     representations in the offer or sale of the services of a credit services organization or
26
     engage, directly or indirectly, in any act, practice or course of business intended to
27

28   defraud or deceive a buyer in connection with the offer or sale of such services.”
                                                 11

                                    Exhibit "25"
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 1   50.     Defendant violated MA. Gen. Laws 15-93 § 68(B)(4) by using misleading
 2
     statements in its initial meeting to discuss a plan to address Plaintiff’s outstanding
 3

 4   debt and creditworthiness. Defendant promised Plaintiff that its services would enroll

 5   specific debts and negotiate with Plaintiff’s creditors to reduce the outstanding
 6
     amounts. Additionally, Plaintiff agreement to make monthly payments that would be
 7

 8   used to pay Plaintiff’s creditors in the event of a negotiated settlement. However,
 9   Defendant had no intention of performing its duties as agreement upon in its contract
10
     as Defendant collected monthly payments from Plaintiff, which were to be used to
11

12   pay her creditors, without properly engaging any of Plaintiff’s creditors.
13         b. Violations of MA. Gen. Laws 15-93 § 68(B)
14
     51.     Pursuant to MA. Gen. Laws 15-93 § 68(D)(a) , provides that each contract
15

16   shall include the following; “a conspicuous statement in a minimum size of ten point
17   bold face type, in immediate proximity to the space reserved for the buyer's signature,
18
     which reads: You, the buyer, have the right to cancel this contract or agreement at
19

20   any time prior to midnight of the third business day following the date thereon..”
21
     52.     Defendant violated MA. Gen. Laws 15-93 § 68(D)(a) by failing to include the
22
     required statements in Plaintiff’s contract.
23

24           WHEREFORE, Plaintiff, KEVIN M. CARPENTER, respectfully requests
25
     the Court enter judgment in his favor as follows:
26
             a.    Declaring that the practices complained of herein are unlawful and
27

28                 violate the aforementioned statutes and regulations;
                                                12

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 1         b.     Awarding Plaintiff actual damages pursuant to MA. Gen. Laws 15-93;
 2
           c.     Awarding Plaintiff punitive damages pursuant to MA. Gen. Laws 15-
 3

 4                93;

 5         d.     Awarding Plaintiff’s costs and reasonable attorney fees; and,
 6
           e.     Awarding any other relief the Arbitrator deems just and appropriate.
 7

 8
     Plaintiff demands trial by jury.
 9

10
     Date: February 13, 2023                Respectfully submitted,
11

12                                          KEVIN M. CARPENTER
                                            By:/s/ Alexander J. Taylor
13                                          Alexander J. Taylor, Esq.
14                                          Atlas Consumer Law
                                            2500 S. Highland Avenue,
15                                          Suite 200
16                                          Lombard, Illinois 60148
                                            Telephone: 331-3077646
17                                          Facsimile: 630-575-8188
18                                          Email: ataylor@sulaimanlaw.com
19

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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 KAREN F. SUELL,
                                                                  CIVIL COMPLAINT
       Plaintiff,

 v.                                                            CASE NO. 6:23-cv-00087

 THE LITIGATION PRACTICE GROUP,
 PC,                                                          JURY TRIAL DEMANDED

       Defendants.

                                          COMPLAINT

        NOW comes KAREN F. SUELL (“Plaintiff”), by and through the undersigned, complaining

as to the conduct of THE LITIGATION PRACTICE GROUP, PC (“Defendant”) as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Credit Repair Organizations Act

(“CROA”) under 15 U.S.C. § 1679 et seq., the Texas Credit Services Organizations Act

(“TCSOA”) under Tex. Fin. Code § 393.101 et seq., and the Texas Consumer Debt Management

Services Act (“TCDSMA”) under Tex. Fin. Code § 394.201 et seq., in connection with

Defendant’s unlawful conduct.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the CROA. Subject matter jurisdiction

is conferred upon this Court by 15 U.S.C §1679, as well as 28 U.S.C. §§1331 and 1337, as the

action arises under the laws of the United States. Supplemental jurisdiction exists for the state law

claims pursuant to 28 U.S.C. §1367.




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   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

within the Eastern District of Texas and a substantial portion of the events or omissions giving rise

to the instant claims occurred within the Eastern District of Texas.

                                              PARTIES

   4. Plaintiff is a “person,” as defined by 47 U.S.C. § 153(39), and consumer over 18 years of

age, residing in Tyler, Texas, which lies within the Eastern District of Texas.

   5. Defendant is a credit repair organization, debt settlement provider, and purported law

corporation that offers its customers the ability to eliminate and resolve their debt issues through

Defendant’s myriad services. Defendant is a professional corporation organized under the laws of

the state of California with its principal place of business located at 17542 17th Street, Suite 100,

Tustin, California.

   6. Defendant is a “person” as defined by 47 U.S.C. §153(39).

   7. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

   8.   In approximately May of 2022, Plaintiff had numerous obligations which she wanted to

address and which were on the verge of negatively impacting her credit, and began seeking out the

assistance of various debt relief and credit repair companies.

   9.   Plaintiff subsequently happened upon Defendant and its services.

   10. Defendant advised that its services included disputing inaccurate information that was

appearing on Plaintiff’s credit reports and impacting her credit, and would similarly assist Plaintiff




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in reaching negotiated settlements with her various creditors in order to resolve the obligations for

less than the balance being sought by such creditors.

    11. Defendant represented its services as being for the explicit and implicit purpose of

improving her credit score, history, and/or rating, as Defendant represented that the disputed

information on her credit report would result in the improvement of Plaintiff’s credit since certain

negative information would be removed, and by that engaging in negotiations to reduce the balance

on certain enrolled debts, Plaintiff would be able to address debts that would otherwise be

unresolved and unaffordable, in turn decreasing Plaintiff’s overall debt load, which would further

improve her credit history.

    12. Upon information and belief, Defendant routinely represents to prospective customers

and/or enrolled clients that its services will restore their credit.

    13. Defendant further represented that its services would include setting up a bank account,

into which Plaintiff’s monthly payments would go and from which Defendant would take funds to

perform its services and pay Plaintiff’s creditors when settlements were reached.

    14. Plaintiff found Defendant’s services desirable as she believed Defendant would be able

to get certain information removed from her credit report and would actively resolve her

obligations, and so Plaintiff agreed to utilize Defendant’s services and entered into a contract for

the provision of the same.

    15. After signing up with Defendant, Defendant advised that Plaintiff needed to stop paying

her creditors and instead divert those funds to Defendant for her monthly payments.

    16. Plaintiff subsequently began making her monthly payments of approximately $253.06 per

month to Defendant, and maintained these payments for approximately 6 months.




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   17. However, despite Plaintiff maintaining these payments for months, and there being more

than sufficient funds with which Defendant could begin negotiating Plaintiff’s enrolled debts,

Defendant failed to deliver the results or provide the services in the manner such services were

represented to Plaintiff.

   18. Rather than actually provide the services Defendant represented it would provide,

Defendant instead applied Plaintiff’s payments towards various upfront flat-fees that were

unrelated to any work performed by Defendant.

   19. Defendant explicitly misrepresented the nature of the services it would provide to

Plaintiff, as it suggested that Plaintiff’s monthly payments would go towards resolving enrolled

obligations.

   20. However, Defendant’s contract with Plaintiff contradicted these representations, as

Defendant disclaims the oral representations made to induce consumer assent to its terms by

including a clause that any settlements reached had to be paid separately from the monthly

payments being made by Plaintiff which were going entirely to Respondent’s services before those

services were performed for Plaintiff.

   21. Defendant thus charged Plaintiff for its services before engaging in any performance of

its duties under the agreement, let alone completely performing the services justifying its retention

of the charged fees.

   22. After months of making payments and seeing no results and realizing the deceptive nature

of Defendant’s conduct, Plaintiff cancelled her agreement with Defendant.

   23. Due to Defendant’s complete failure to perform any of the services it represented it would

perform for Plaintiff, Plaintiff requested a refund of her payments made to Defendant.




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   24. Defendant advised that it would look into whether a refund could be provided, but

subsequently failed to contact Plaintiff or otherwise return the money it accepted in connection

with services it never actually performed.

   25. Frustrated, distressed, and confused over Defendant’s conduct, Plaintiff spoke with the

undersigned regarding her rights.

   26. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, emotional distress, aggravation, mental anguish, pecuniary harm stemming from

payments made for deficient credit repair and debt settlement services, out of pocket damages

including paying Defendant for services it did not perform, out of pocket damages stemming from

Defendant’s failure to refund Plaintiff’s payments, out of pocket damages stemming from

Defendant’s charging up front fees instead of using such funds as represented, as well as

numerous violations of her state and federally protected interests – interests which were harmed

put at a material risk of harm stemming from Defendant’s conduct.

            COUNT I – VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT

   27. Plaintiff repeats and realleges paragraphs 1 through 26 as though fully set forth herein.

   28. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1679a(1) of the CROA.

   29. Defendant is a “credit repair organization” as defined by §1679a(3) of the CROA, as it is

a person who uses any instrumentality of interstate commerce or the mails to sell, provide, or

perform any service, in return for the payment of money or other valuable consideration, for the

express or implied purpose of improving a consumer’s credit, credit history, or credit rating, or

providing assistance to any consumer with regard to any activity or service for the purpose of

improving a consumer’s credit.




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   30. Defendant’s represented services in disputing and seeking to remove information from

Plaintiff’s credit report renders it a credit repair organization under the CROA, as does its conduct

in purporting to resolve obligations on behalf of consumers for less than the full balance owed.

        a. Violations of CROA §§ 1679b(a)(3)-(4)

   31. The CROA, pursuant to 15 U.S.C. § 1679b(a)(3) prohibits any person from “mak[ing] or

us[ing] any untrue or misleading representation of the services of the credit repair organization.”

Additionally, pursuant to 15 U.S.C. § 1679b(a)(4), any person is prohibited from “engag[ing],

directly or indirectly, in any act, practice, or course of business that constitutes or results in the

commission of, or an attempt to commit, a fraud or deception on any person in connection with

the offer or sale of the services of the credit repair organization.”

   32. Defendant violated the above referenced provisions of the CROA through its

misrepresentations and deception as to the nature of the credit repair services it could provide

Plaintiff. Defendant represented to Plaintiff that her payments would go towards resolving

enrolled obligations; however, she later found out the nature of Defendant’s deceptive

representations as her monthly payments were going entirely towards Defendant’s fees and that

Plaintiff would need to make payments beyond her monthly payments to settle any debts.

Defendant engaged in these deceptive representations and omission regarding the nature of its

services and the charged fees so as to deprive Plaintiff of information that, had it been clarified,

would have resulted in Plaintiff refusing to use Defendant’s services. Upon information and

belief, Defendant engages in this behavior on a persistent and frequent basis in order to dupe

vulnerable and desperate consumers into making payments under false and deceptive pretenses.

   33. Defendant further violated the above provisions of the CROA through its fraudulent,

deceptive, and misleading conduct in contradicting the oral representations it makes to consumers



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through contractual language. Defendant represents its services one way when inducing consumer

assent, yet subsequently contradicts those representations through contractual language.

  34. Additionally, Defendant violated the above provisions of the CROA through its fraudulent

and deceptive representations that Plaintiff’s best course of action was to stop paying her creditors

and instead divert those funds to Defendant. Defendant’s representations may have been palatable

had Defendant’s services included using those monthly payments to resolve the debts Plaintiff

enrolled in the program; however, given Defendant’s conduct in retaining Plaintiff’s monthly

payments entirely for its own fees and unconnected to any services that it represented would be

performed, Defendant’s advice, coming from a purported law firm, had an extreme detrimental

impact on Plaintiff’s financial situation. Defendant engages in this conduct so as to ensure that its

customers have sufficient funds to pay for Defendant’s useless services, regardless of whether the

advice provided was accurate or beneficial to Plaintiff and consumers.

  35. Defendant further violated the above provisions of the CROA through its deceptive and

misleading failure to refund Plaintiff for services it ultimately failed to perform. Defendant’s

contract outlines a refund policy, and under this policy Defendant should have refunded Plaintiff’s

monthly payments for services it failed to perform. However, Defendant failed to refund Plaintiff

and deceptively refused to respond to Plaintiff’s request for a refund.

       b. Violations of CROA § 1679b(b)

  36. The CROA, pursuant to 15 U.S.C. § 1679b(b), provides that “[n]o credit repair

organization may charge or receive any money or other valuable consideration for the

performance of any service which the credit repair organization has agreed to perform for any

consumer before such service is fully performed.”




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  37. Defendant violated § 1679b(b) through its charging and receiving of money for services

agreed to perform before such services were fully performed. Defendant improperly charged and

retained Plaintiff’s payment despite not performing, let alone completely performing, the services

justifying the retention of such fees and charges.

       c. Violation of CROA § 1679c

  38. The CROA provides that a credit repair organization must provide consumers with certain

written disclosures in the contract underpinning the provision of credit repair services to

consumers. Pursuant to 15 U.S.C. § 1679c(b), “the written statement required under this section

shall be provided as a document which is separate from any written contract or other agreement

between the credit repair organization and the consumer or any other written material provided to

the consumer.”

  39. Defendant violated 15 U.S.C. §§ 1679c(a)-(b) through its failure to provide the written

disclosures required under § 1679c. Defendant never provided such disclosures, nor did it provide

a separate document containing such disclosures.

       d. Violation of CROA §§ 1679d(4) & 1679e

  40. The CROA, pursuant to 15 U.S.C. § 1679d(4), requires credit repair organizations to

include, in the contract between them and a consumer, “a conspicuous statement in bold face type,

in immediate proximity to the space reserved for the consumer’s signature on the contract, which

reads as follows: ‘You may cancel this contract without penalty or obligation at any time before

midnight of the 3rd business day after the date on which you signed the contract. See the attached

notice of cancellation form for an explanation of this right.’” 15 U.S.C. § 1679e further outlines

the extent of a consumer’s cancellation rights under CROA while requiring such disclosure to be

given to consumers in writing.



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   41. Defendant violated 15 U.S.C. §§ 1679d(4) & 1679e through its complete failure to provide

the above disclosure in immediate proximity to the space reserved for Plaintiff’s signature on the

contract, as well as its failure to provide the notice of cancellation to Plaintiff.

        e. Violation of CROA § 1679f(b)

   42. The CROA, pursuant to 15 U.S.C. § 1679f(b) provides that, “[a]ny attempt by any person

to obtain a waiver from any consumer of any protection provided by or any right of the consumer

under [the CROA] shall be treated as a violation of [the CROA].”

   43. Defendant violated 15 U.S.C. § 1679f(b) through its attempt to obtain Plaintiff’s waiver

of the protections afforded her under the CROA. Defendant’s contract contain numerous efforts

to obtain a waiver of Plaintiff’s vital consumer protection rights protected by the CROA,

including but not limited to the protection regarding the time of when Defendant’s fees are

“earned” and when Defendant may properly collect such fees.

   44. The CROA further dictates that any contract found not to be in compliance with the CROA

“shall be treated as void” and “may not be enforced by any Federal or State court or any other

person.” 15 U.S.C. § 1679f(c).

   WHEREFORE, Plaintiff, KAREN F. SUELL, respectfully requests that the Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff actual damages to be determined at trial, as provided under 15 U.S.C.
      § 1679g(a)(1);

   c. Awarding Plaintiff punitive damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. § 1679g(a)(2)(A);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C. §
      1679g(a)(3); and



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   e. Awarding any other relief as the Arbitrator deems just and appropriate.

        COUNT II – VIOLATIONS OF THE TEXAS CREDIT SERVICES ORGANIZATION ACT

   45. Plaintiff restates and realleges paragraphs 1 through 44 as though fully set forth herein.

   46. Plaintiff is a “consumer” as defined by Tex. Fin. Code § 393.001(1).

   47. Defendant is a “credit services organization” as defined by Tex. Fin. Code § 393.001(3).

           a. Violations of Tex. Fin. Code §§ 393.20 & 393.202

   48. The TCSOA, pursuant to Tex. Fin. Code § 393.201, outlines certain requirements of the

contracts entered into between consumers and credit services organizations. § 393.202 discusses

the nature of a consumer’s right to cancel contracts and how such right must be disclosed to

consumers.

   49. Defendant violated §§ 393.201(b)(1)-(4) & 393.202 through their failure to provide the

information required under Texas law in the contract with Plaintiff. Defendant’s contract plainly

fails to contain the requisite information.

           b. Violations of Tex. Fin. Code § 393.302

   50. The TCSOA, pursuant to Tex. Fin. Code § 393.302, prohibits credit service organizations

from receiving money for their services before such services are fully performed.

   51. Defendant violated § 393.302 in much the same way it violated § 1679b(b) of the CROA.

           c. Violations of Tex. Fin. Code §§ 393.304(1) & 393.305

   52. The TCSOA, pursuant to Tex. Fin. Code § 393.304(1), prohibits a credit services

organization from “mak[ing] or us[ing] a false or misleading representation in the offer or sale of

the services of the organization.” Similarly, pursuant to Tex. Fin. Code § 393.305, “[a] credit

services organization or a representative of the organization may not directly or indirectly engage




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in a fraudulent or deceptive act, practice, or course of business relating to the offer or sale of the

services of the organization.”

   53. Defendant violated §§ 393.304(1) & 393.305 in much the same way it violated §§

1679b(a)(3)-(4) of the CROA.

   WHEREFORE, Plaintiff, KAREN F. SUELL, respectfully requests that the Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual damages pursuant to Tex. Fin. Code § 393.503(a)(1);

   c. Awarding Plaintiff punitive damages pursuant to Tex. Fin. Code § 393.503(b);

   d. Enjoin Defendant from further violations of law pursuant to Tex. Fin. Code § 393.502,

   e. Awarding Plaintiff’s costs and reasonable attorney fees, pursuant to Tex. Fin. Code §§
      393.503(a)(2)-(3); and,

   f. Awarding any other relief the Honorable Court deems just and appropriate.


  COUNT III – VIOLATIONS OF THE TEXAS CONSUMER DEBT MANAGEMENT SERVICES ACT

   54. Plaintiff restates and realleges paragraphs 1 through 53 as though fully set forth herein.

   55. Plaintiff is a “consumer” as defined by Tex. Fin. Code § 394.202(4).

   56. Defendant is a “provider” of “debt management service” as defined by Tex. Fin. Code §§

394.202(6) & (10).

           a. Violations of Tex. Fin. Code § 394.207

   57. The TCDMSA, pursuant to Tex. Fin. Code § 394.207, provides that “[a] provider may not

engage in false or deceptive advertising,”

   58. Defendant violated § 394.207 in much the same way its deceptive representations regarding

the nature of, and fees surrounding, its services violated § 1679b(a)(3)-(4) of the CROA.

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              b. Violations of Tex. Fin. Code § 394.209

    59. The TCDMSA, pursuant to Tex. Fin. Code § 394.209, outlines the various requirements of

the contracts entered into between debt management providers and consumers.

    60. Defendant violated § 394.209(b) through its failure to include the required statements,

disclosures, and information in its contract with Plaintiff.

              c. Violations of Tex. Fin. Code § 394.210

    61. The TCDMSA, pursuant to Tex. Fin. Code § 394.210(c), provides that “[a] provider may

not impose fees or other charges upon a consumer or receive payment for debt management

services until the consumer has entered into a debt management service agreement with the

provider that complies with Section 394.209.”

    62. Defendant violated § 394.210(c) through its charging of Plaintiff for its debt management

services without entering into a contract which complies with Texas law.

              d. Violations of Tex. Fin. Code § 394.212

    63. The TCDMSA, pursuant to Tex. Fin. Code § 394.212, outlines a number of prohibited

practices on the part of providers.

    64. Pursuant to § 394.212(a)(9), a provider may not “engage in an unfair, deceptive, or

unconscionable act or practice in connection with a service provided to a consumer.”

    65. Defendant violated § 394.212(a)(9) in much the same way it violated §§ 1679b(a)(3)-(4)

of the CROA.

              e. Violations of Tex. Fin. Code § 394.213

    66. Pursuant to § 394.213, “a provider has a duty to a consumer who receives debt management

services from the provider to ensure that client money held by the provider is managed properly at

all times.”



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   67. Defendant violated § 394.213 through its failure to ensure that Plaintiff’s money was

managed properly. As discussed above, Defendant failed to meaningfully perform the services it

represented, and similarly allowed Plaintiff’s funds to be mismanaged and applied to unnecessary

legal fees which were never actually performed.

   WHEREFORE, Plaintiff, KAREN F. SUELL, respectfully requests that the Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual damages pursuant to Tex. Fin. Code § 394.215(c);

   c. Awarding Plaintiff punitive damages pursuant to Tex. Fin. Code § 394.215(c);

   d. Enjoin Defendant from further violations of law pursuant to Tex. Fin. Code § 394.215(d);

   e. Awarding Plaintiff’s costs and reasonable attorney fees, pursuant to Tex. Fin. Code §
      394.215(c); and,

   f. Awarding any other relief the Honorable Court deems just and appropriate.


Dated: February 15, 2023                             Respectfully submitted,

s/ Nathan C. Volheim (Lead Attorney)                 s/Eric D. Coleman
Nathan C. Volheim, Esq. #6302103                     Eric D. Coleman, Esq. #6326734
Counsel for Plaintiff                                Counsel for Plaintiff
Admitted in the Eastern District of Texas            Admitted in the Eastern District of Texas
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                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                              Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)   Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
        only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
        then the official, giving both name and title.
  (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)".

II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
        in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
        United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
        United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
        to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
        precedence, and box 1 or 2 should be marked.
        Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
        cases.)

III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
        section for each principal party.

IV.     Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        When the petition for removal is granted, check this box.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statue.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN
                                MADISON DIVISION

 PATRICK H. HEIER,
                                                                  CIVIL COMPLAINT
       Plaintiff,

 v.                                                            CASE NO. 3:21-cv-00617

 THE LITIGATION PRACTICE GROUP,
 PC,                                                          JURY TRIAL DEMANDED

       Defendants.

                                          COMPLAINT

        NOW comes PATRICK H. HEIER (“Plaintiff”), by and through the undersigned,

complaining as to the conduct of THE LITIGATION PRACTICE GROUP, PC (“Defendant”) as

follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Credit Repair Organizations Act

(“CROA”) under 15 U.S.C. § 1679 et seq., as well as the Wisconsin Credit Services Organization

Act (“WCSOA”) under Wis. Stat. § 422.501 et seq., for Defendant’s unlawful conduct.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the CROA. Subject matter jurisdiction

is conferred upon this Court by 15 U.S.C §1679, as well as 28 U.S.C. §§1331 and 1337, as the

action arises under the laws of the United States. Supplemental jurisdiction exists for the state law

claim pursuant to 28 U.S.C. §1367.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

within the Western District of Wisconsin and a substantial portion of the events or omissions

giving rise to the instant claims occurred within the Western District of Wisconsin.

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                                              PARTIES

   4. Plaintiff is a 62 year old natural “person,” as defined by 47 U.S.C. § 153(39), residing in

Centuria, Wisconsin, which lies within the Western District of Wisconsin.

   5. Defendant is a credit repair organization and law corporation that offers its customers the

ability to eliminate and resolve their debt issues through Defendant’s services. Defendant is a

professional corporation organized under the laws of the state of California with its principal place

of business located at 17542 17th Street, Suite 100, Tustin, California.

   6. Defendant is a “person” as defined by 47 U.S.C. §153(39).

   7. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

   8.   In approximately August 2021, Plaintiff had numerous debts which he wanted to address,

and so began seeking out the assistance of various debt relief companies.

   9.   Upon searching the internet, Plaintiff came upon Defendant.

   10. Plaintiff was eventually contacted by Defendant, at which point Defendant explained the

nature of its services and that it could help Plaintiff eliminate and resolve his debt issues.

   11. It was represented to Plaintiff that Defendant would be able to pay off his debts within 18

months if Plaintiff made payments of approximately $250 per month to Defendant.

   12. Plaintiff was led to believe his payments would both cover Defendant’s fees as well as go

towards settling his enrolled debts.

   13. Plaintiff subsequently agreed to enroll a number of debts in Defendant’s program, and

entered into a contract with Defendant on or about August 16, 2021 (“Contract”).



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    14. After making his first payment, Plaintiff asked Defendant which of the enrolled debts his

payment would go towards settling.

    15. Defendant then informed Plaintiff that his payment was solely for Defendant’s fees, and

that any additional funds needed to settle any enrolled debts would cost extra.

    16. Plaintiff became distressed and concerned by Defendant’s conduct, as he was initially led

to believe his monthly payments would go towards settling his debts, yet now found out that was

not the case.

    17. Defendant further informed Plaintiff to stop paying off his debts so that he could use such

funds to pay for Defendant’s services.

    18. As such, Plaintiff’s decision to enroll in Defendant’s services was premised upon the

notion that his $250 monthly payments would go towards settling his debts, as he otherwise lacked

additional funds from which he would be able to settle any of the enrolled debts.

    19. Defendant further represented to Plaintiff that, by enrolling in its services, it would contact

Plaintiff’s creditors and get their phone calls to stop; however, Plaintiff has continued to get

contacted by various creditors despite Defendant’s representation as to the scope of its services.

    20. Furthermore, Defendant has attempted to encourage Plaintiff to engage in deceptive and

misleading conduct when dealing with his creditors.

    21. For example, Defendant instructed Plaintiff to, if he continued to receive phone calls from

creditors, to inform such creditors he was considering filing for bankruptcy, despite that not being

an accurate reflection of Plaintiff’s situation.

    22. Additionally, upon information and belief, the fees incurred by Defendant improperly

charged Plaintiff before Defendant’s services were fully performed.




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   23. A portion of Defendant’s services included providing Plaintiff with legal representation

in the event he got sued by any of the creditors associated with the enrolled debts.

   24. Upon information and belief, Defendant retained fees for services prior to such services

being fully performed, as Defendant’s retention of Plaintiff’s monthly payment, at least in part,

went towards purported legal proceedings that have not, and may never, come about.

   25. Even further, the contract between Plaintiff and Defendant fails to include the information

and disclosures Defendant was required to provide to Plaintiff under federal and state law.

   26. At no point did Defendant provide Plaintiff any of the disclosures required by federal and

state law.

   27. Defendant’s failure to provide Plaintiff the relevant information and disclosures inhibited

Plaintiff’s ability to chart an intelligent course of conduct in connection with his dealings with

Defendant.

   28. Upon further information and belief, Defendant is not licensed to practice as a credit repair

organization in the state of Wisconsin.

   29. Frustrated, distressed, and confused over Defendant’s conduct, Plaintiff spoke with the

undersigned regarding his rights.

   30. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, emotional distress, aggravation, mental anguish, pecuniary harm stemming from his

reliance on Defendant’s conduct, deprivation of his substantive right to receive information

regarding Defendant’s services, as well as violations of his state and federally protected interests

– interests which were harmed put at a material risk of harm stemming from Defendant’s conduct.

             COUNT I – VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT

   31. Plaintiff repeats and realleges paragraphs 1 through 30 as though fully set forth herein.



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   32. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1679a(1) of the CROA.

   33. Defendant is a “credit repair organization” as defined by §1679a(3) of the CROA, as it is

a person who uses any instrumentality of interstate commerce or the mails to sell, provide, or

perform any service, in return for the payment of money or other valuable consideration, for the

express or implied purpose of improving a consumer’s credit, credit history, or credit rating, or

providing assistance to any consumer with regard to any activity or service for the purpose of

improving a consumer’s credit.

        a. Violations of CROA § 1679b(a)(1)

   34. The CROA, pursuant to 15 U.S.C. § 1679b(a)(1)(B)(i), states that no person may “make

any statement, or counsel or advise any consumer to make any statement, which is untrue or

misleading . . . with respect to any consumer’s credit worthiness, credit standing, or credit capacity

to – any person – who has extended credit to the consumer.”

   35. Defendant violated § 1679b(a)(1)(B)(i) through its advisement that Plaintiff make

misleading statements to his creditors. Defendant instructed Plaintiff to inform his creditors that

he was considering filing bankruptcy via Defendant, which was misleading and not a true

reflection of Plaintiff’s considerations.

        b. Violations of CROA §§ 1679b(a)(3)-(4)

   36. The CROA, pursuant to 15 U.S.C. § 1679b(a)(3) prohibits any person from “mak[ing] or

us[ing] any untrue or misleading representation of the services of the credit repair organization.”

Additionally, pursuant to 15 U.S.C. § 1679b(a)(4), any person is prohibited from “engag[ing],

directly or indirectly, in any act, practice, or course of business that constitutes or results in the

commission of, or an attempt to commit, a fraud or deception on any person in connection with

the offer or sale of the services of the credit repair organization.”



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  37. Defendant violated the above referenced provisions of the CROA through its

misrepresentations and deception as to the nature of the credit repair services it provided Plaintiff.

Defendant represented to Plaintiff that his $250 payment would go towards resolving and

eliminating his debt; however, he was later informed, after making his first payment, that his

payments went solely towards Defendant’s fees and that he would have to pay extra in order to

truly resolve his debts. Plaintiff’s decision to enroll in Defendant’s services was carefully crafted

upon considering his financial means, and upon realizing that extent to which he was deceived,

Plaintiff suffered emotional distress as he lacked the financial means to both pay Defendant as

well as the creditors he sought to avoid by enrolling in Defendant’s services.

  38. Defendant further deceptively represented the nature of its services when it suggested that

it would get Plaintiff’s creditors to stop contacting him. Despite this representation Plaintiff has

continued to get called by his creditors.

       c. Violations of CROA § 1679b(b)

  39. The CROA, pursuant to 15 U.S.C. § 1679b(b), provides that “[n]o credit repair

organization may charge or receive any money or other valuable consideration for the

performance of any service which the credit repair organization has agreed to perform for any

consumer before such service is fully performed.”

  40. Defendant violated § 1679b(b) through its charging and receiving of money for services

agreed to perform before such services are fully performed. Included within Defendant’s services

was legal representation in the event Plaintiff got sued, and Plaintiff’s payments went towards

these fees. Despite Defendant promising to perform such services, it nevertheless charged and

accepted payment before such services were fully performed.

       d. Violation of CROA § 1679c



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   41. The CROA provides that a credit repair organization must provide consumers with certain

written disclosures in the contract underpinning the provision of credit repair services to

consumer. Pursuant to 15 U.S.C. § 1679c(b), “the written statement required under this section

shall be provided as a document which is separate from any written contract or other agreement

between the credit repair organization and the consumer or any other written material provided to

the consumer.”

   42. Defendant violated 15 U.S.C. §§ 1679c(a)-(b) through its failure to provide the written

disclosures required under § 1679c. Defendant never provided such disclosures, nor did it provide

a separate document containing such disclosures.

        e. Violation of CROA §§ 1679d(4) & 1679e

   43. The CROA, pursuant to 15 U.S.C. § 1679d(4), requires credit repair organization to

include, in the contract between them and a consumer, “a conspicuous statement in bold face type,

in immediate proximity to the space reserved for the consumer’s signature on the contract, which

reads as follows: ‘You may cancel this contract without penalty or obligation at any time before

midnight of the 3rd business day after the date on which you signed the contract. See the attached

notice of cancellation form for an explanation of this right.’” 15 U.S.C. § 1679e further outlines

the extent of a consumer’s cancellation rights under CROA while requiring such disclosure to be

given to consumers in writing.

   44. Defendant violated 15 U.S.C. §§ 1679d(4) & 1679e through its complete failure to provide

the above disclosure in immediate proximity to the space reserved for Plaintiff’s signature on the

contract, as well as its failure to provide the notice of cancellation to Plaintiff.

   WHEREFORE, Plaintiff, PATRICK H. HEIER, respectfully requests that this Honorable

Court enter judgment in his favor as follows:



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    a. Declaring that the practices complained of herein are unlawful and violate the
       aforementioned bodies of law;

    b. Awarding Plaintiff actual damages to be determined at trial, as provided under 15 U.S.C.
       § 1679g(a)(1);

    c. Awarding Plaintiff punitive damages, in an amount to be determined at trial, as provided
       under 15 U.S.C. § 1679g(a)(2)(A);

    d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C. §
       1679g(a)(3); and

    e. Awarding any other relief as this Honorable Court deems just and appropriate.

                      COUNT II – VIOLATIONS OF THE WISCONSIN CREDIT
                                SERVICES ORGANIZATION ACT

    45. Plaintiff restates and realleges paragraphs 1 through 44 as though fully set forth herein.

    46. Plaintiff is a “buyer” as defined by Wis. Stat. § 422.501(1).

    47. Defendant is a “credit services organization” as defined by Wis. Stat. § 422.501.

             a. Violation of WCSOA § 422.502

    48. The WCSOA, pursuant to Wis. Stat. § 332.53(1), provides that “[a] person may not act as

a credit services organization unless the person has been issued a certificate of registration from

the administrator and the person has complied with the bond or letter of credit requirement under

sub. (3).”

    49. Defendant violated § 332.53(1) by operating as a credit services organization in Wisconsin

without the proper licensure.

             b. Violation of WCSOA § 422.503

    50. The WCSOA, under Wis. Stat. § 422.503, outlines a variety of conduct in which credit

services organizations are prohibited from engaging.

    51. Pursuant to § 422.503(1)(b), a credit services organization cannot “make, or counsel or

advise any buyer to make, any statement which is untrue or misleading and which is known, or

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which by the exercise of reasonable care should be known, to be untrue or misleading, to a

consumer reporting agency or to any person who has extended credit to a buyer . . . with respect

to a buyer’s credit worthiness, credit standing or credit capacity.”

   52. Defendant violated § 422.503(1)(b) when it counseled Plaintiff to make misleading

statements to his creditors.

   53. Pursuant to § 422.503(1)(c), a credit services organization cannot “make or use any untrue

or misleading representations in the offer or sale of the services of the credit services organization

or engage, directly or indirectly, in any act, practice, or course of business that operates or would

operate as a fraud or deception upon any person in connection with the offer or sale of the services

of a credit services organization.

   54. Defendant violated § 422.503(1)(c) in much the same way it violated 15 U.S.C. §§

1679b(a)(3)-(4).

           c. Violation of WCSOA § 422.504

   55. The WCSOA, pursuant to Wis. Stat. § 422.504, outlines an information statement that

must be provided by credit service organizations to buyers before buyers enter into any contracts.

   56. Defendant violated § 422.504 by failing to provide the required information statement to

Plaintiff prior to entering into the contract with Plaintiff. prohibits a credit services organization

from “mak[ing] or us[ing] any untrue or misleading representations in the offer or sale of the

services of a credit repair organization or engage, directly or indirectly, in any act, practice, or

course of business that operates or would operate as fraud or deception upon any person in

connection with the offer or sale of the services of a credit services organization.”

           d. Violation of WCSOA § 422.505




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   57. The WCSOA, pursuant to Wis. Stat. § 422.505, has similar contractual disclosure

requirements as the CROA.

   58. Defendant violated § 422.505 by once again failing to adequately notify Plaintiff of his

right to cancel and similar failure to provide the cancellation notice in writing to Plaintiff.

   59. Defendant violated the above portion of the MCSOA through its misrepresentations made

to Plaintiff about the nature and contours of the services it was providing Plaintiff.

   WHEREFORE, Plaintiff, PATRICK H. HEIER, respectfully requests that this Honorable

Court enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual damages pursuant to Wis. Stat. § 425.305;

   c. Awarding Plaintiff’s costs and reasonable attorney fees; and,

   d. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: September 29, 2021                              Respectfully submitted,


s/ Nathan C. Volheim                                   s/Eric D. Coleman
Nathan C. Volheim, Esq. #6302103                       Eric D. Coleman, Esq. #6326734
Counsel for Plaintiff                                  Counsel for Plaintiff
Admitted in the W.D. Wisconsin                         Admitted in the W.D. Wisconsin
Sulaiman Law Group, Ltd.                               Sulaiman Law Group, Ltd.
2500 South Highland Ave, Suite 200                     2500 South Highland Ave, Suite
Lombard, Illinois 60148                                Lombard, Illinois 60148
(630) 568-3056 (phone)                                 (331) 307-7648 (phone)
(630) 575-8188 (fax)                                   (630) 575-8188 (fax)
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                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
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        Section 1407.
        Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statue.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




                                                                       Exhibit "27"
                 Case: 3:21-cv-00617
         Case 8:23-ap-01046-SC    Doc Document     #: 1-2 Filed:
                                       -2 Filed 07/13/23         09/29/21
                                                             Entered       Page
                                                                      07/13/23   1 of 2
                                                                               09:14:48                                Desc
                              Exhibit Exhibits 13 - 27 Page 349 of 350
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Western District of Wisconsin

                                                                    )
                                                                    )
                     PATRICK H. HEIER                               )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 3:21-cv-00617
                                                                    )
                                                                    )
        THE LITIGATION PRACTICE GROUP, PC                           )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) THE LITIGATION PRACTICE GROUP, PC
                                           c/o REGISTERED AGENT
                                           DANIEL S MARCH
                                           17542 17TH STREET, SUITE 100
                                           TUSTIN CA 92780



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Nathan C. Volheim
                                           Sulaiman Law Group, Ltd.
                                           2500 S. Highland Avenue, Suite 200
                                           Lombard, IL 60148
                                           (630) 575-8181


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk




                                                              Exhibit "27"
                  Case: 3:21-cv-00617
          Case 8:23-ap-01046-SC    Doc Document     #: 1-2 Filed:
                                        -2 Filed 07/13/23         09/29/21
                                                              Entered       Page
                                                                       07/13/23   2 of 2
                                                                                09:14:48                                     Desc
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:21-cv-00617

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




                                                                Exhibit "27"
